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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JILL .STEIN, et al.,

                                                          CIVIL ACTION
                                 Plaintiffs,
                         v.
                                                          No. 16-cv-6287(PD)
 KATHY BOOCKVAR, in her official
 capacity as Secretary of the Commonwealth,
 and JONATHAN MARKS, in his official                  '
 capacity as Commissioner of the Bureau of            '
 Commissions, Elections and Legislation,

                                 Defendants.



        DECLARATION OF ROBERT A. WIYGUL IN SUPPORT OF DEFENDANTS'
        OPPOSITION TO PLAINTIFFS' MOTION TO ENFORCE THE SETTLEMENT
                                 AGREEMENT

         I, Robert A. Wiygul, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746

that:

          1.    I am an attorney at the law firm Hangley Aronchick Segal Pudlin &Schiller,

counsel for Defendants in this action. I submit this Declaration in support of Defendants'

Opposition to Plaintiffs' Motion to Enforce the Settlement Agreement.

          2.    Attached as Exhibit' 1 hereto is a true and correct copy of a portion of Jill Stein's

twitter feed dated November 28, 2018, which was downloaded from

https://twitter.com/drj i llstein?lang=en.

          3.    Attached as Exhibit 2 hereto is a true and correct copy of the transcript of the

Hearing that took place in this matter on December 9, 2016.

          4.    Attached as Exhibit 3 hereto is a true and correct copy of excerpts from the

Consensus Study Report of the National Academies of Sciences, Engineering, and Medicine,
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Securing the Vote: Protecting American Democracy (2018), which was downloaded from

https://www.Carnegie.org/media/filer~ubl ic/34/9d/349d3207-d994-4838-8b79-

Sf8d88e0e412/nas report.pdf.

       5.      Attached as Exhibit 4 hereto is a true and correct copy of a portion of Jennifer

Cohn's twitter feed dated November 29, 2018, which was downloaded from

https://twitter.com/jennycohn1 ?lang=en.

       6.      Attached as Exhibit 5 hereto is a true and correct copy of a press release from the

Philadelphia Commissioners Office dated February 20, 2019, which was downloaded from

https://files7.philadelphiavotes.com/announcements/2019-02-20-

Philadelphia_City%20Commissioners Approve.pdf#_ga=2.58593386.1950796126.1576181779-

1264225452.1575516017.

       I declare under penalty of perjury under the law of the United States of America that the

foregoing is true and correct.



Executed on December ra, 2019.


                                             Robert A. Wiygul                 ,
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                    EXHIBIT 1
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                      EXHIBIT 2
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                                                                         1

 1                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2

 3      JILL STEIN AND RANDALL REITZ              :    CIVIL NUMBER

 4
                    V.
 5

 6      PEDRO A. CORTES, IN HIS OFFICIAL
        CAPACITY AS SECRETARY OF THE
 7      COMMONWEALTH AND JONATHAN MARKS
        IN HIS OFFICIAL CAPACITY AS
 8      COMMISSIONER OF THE BUREAU OF
        COMMISSIONS, ELECTIONS,
 9      AND LEGISLATION                            :   16-6287

10
                                     FRIDAY, DECEMBER 9, 2016
11                                   COURTROOM 6B
                                     PHILADELPHIA, PA 19106
12
        ________________________________________________________
13           BEFORE THE HONORABLE PAUL S. DIAMOND, J.
        ________________________________________________________
14
                             HEARING
15      _______________________________________________________

16      APPEARANCES:

17      MONTGOMERY MCCRACKEN WALKER & RHOADS, LLP
        GREGORY M. HARVEY, ESQUIRE
18      123 SOUTH BROAD STREET
        PHILADELPHIA, PA 19109
19
        COUNSEL FOR PLAINTIFFS
20
                            SUZANNE R. WHITE, RPR, FCRR, CM
21                        OFFICIAL COURT REPORTER
                         FIRST FLOOR U. S. COURTHOUSE
22                           601 MARKET STREET
                           PHILADELPHIA, PA 19106
23                            (215)627-1882

24      PROCEEDINGS RECORDED BY STENOTYPE-COMPUTER,
        TRANSCRIPT PRODUCED BY COMPUTER-AIDED TRANSCRIPTION
25
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                                                                         2

 1      CONTINUED APPEARANCES:

 2      EMERY CELLI BRINCKERHOFF & ABADY, LLP
        ILANN M. MAAZEL, ESQUIRE
 3      ANDREW G. CELLI, ESQUIRE
        ALISON E. FRICK, ESQUIRE
 4      DOUGLAS E. LIEB, ESQUIRE
        600 FIFTH AVENUE, 10TH FLOOR
 5      NEW YORK, NY 10020

 6      COUNSEL FOR PLAINTIFFS

 7      LAWRENCE J. TABAS, ESQUIRE
        REBECCA L. WARREN, ESQUIRE
 8      OBERMAYER REBMANN MAXWELL & HIPPEL, LLP
        ONE PENN CENTER, 19TH FLOOR
 9      1617 JFK BLVD
        PHILADELPHIA, PA 19103
10
        FOR THE INTERVENOR DEFENDANTS
11      ALL OF THE PENNSYLVANIA ELECTORS OF PRESIDENT-ELECT
        DONALD TRUMP AND VICE-PRESIDENT ELECT MICHAEL PENCE
12

13      KENNETH L. JOEL, ESQUIRE
        TIMOTHY E. GATES, ESQUIRE
14      OFFICE OF THE ATTORNEY GENERAL
        CIVIL LITIGATION
15      15TH FLOOR, STRAWBERRY SQUARE
        HARRISBURG, PA 17120
16
        COUNSEL FOR THE DEFENDANT, PEDRO CORTES
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        SUE ANN UNGER, ESQUIRE
18      OFFICE OF THE ATTORNEY GENERAL
        LITIGATION SECTION
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        3RD FLOOR
20      PHILADELPHIA, PA 19107

21      COUNSEL FOR THE DEFENDANT, PEDRO CORTES

22

23

24

25
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                                                                         3

 1                        THE CLERK:     PLEASE REMAIN SEATED, COURT

 2      IS NOW IN SESSION.

 3                        THE COURT:     PLEASE BE SEATED, EVERYBODY.

 4                        GOOD AFTERNOON.

 5                        ALL COUNSEL:     GOOD AFTERNOON, YOUR HONOR.

 6                        THE COURT:     WE ARE HERE FOR A HEARING ON

 7      THE PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTIVE

 8      RELIEF.

 9                        MR. MAAZEL.

10                        MR. MAAZEL:     THANK YOU, YOUR HONOR.

11                        THE COURT:     GOOD AFTERNOON.    I ASSUME YOU

12      WILL BE ACTING ON BEHALF OF THE PLAINTIFFS.

13                        MR. MAAZEL:     I WILL, PRIMARILY.    A COUPLE

14      OF MY COLLEAGUES MAY DO A WITNESS, BUT YES, I WILL BE

15      THE PRIMARY PERSON.

16                        THE COURT:     JUST AS LONG AS YOU DON'T

17      ALLOW MR. HARVEY TO SAY ANYTHING.        NICE TO SEE YOU, MR.

18      HARVEY.

19                        MR. HARVEY:     THANK YOU, YOUR HONOR.

20                        MR. MAAZEL:     YOUR HONOR, IF I MAY JUST

21      BRIEFLY INQUIRE AS TO OUR HOUR, FOR CROSS EXAMINATION OF

22      A WITNESS WE CALL, WOULD THAT BE COMING OUT OF OUR TIME

23      OR THE OTHER SIDE, SIR?

24                        THE COURT:     YOUR TIME.   YOU ARE ASSUMING

25      THE OTHER SIDE KNOWS HOW TO CROSS EXAMINE AND WHAT THEY
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                                                                           4

 1      WILL ELICIT WILL BE HARMFUL TO YOU.          MY EXPERIENCE

 2      HERE -- NOT WITH THESE PARTICULAR LAWYERS, BUT GENERALLY

 3      INDICATES THAT SOMETIMES STUFF COMES OUT ON CROSS THAT

 4      IS AS DAMAGING TO THE PERSON ELICITING IT AS IT IS

 5      FAVORABLE.    SO, YES.    AND THE SAME GOES FOR THEIR

 6      WITNESSES.

 7                        MR. MAAZEL:     AND IF I MAY, I THINK I

 8      WOULD LIKE TO RESERVE MAYBE 10 OR 15 MINUTES FOR

 9      REBUTTAL AT THE END.

10                        THE COURT:     ABSOLUTELY.

11                        MR. MAAZEL:     THANK YOU, YOUR HONOR.

12      WOULD YOU PREFER I BE HERE OR --

13                        THE COURT:     YOU DON'T HAVE TO STAND.

14      WHEREVER YOU ARE MOST COMFORTABLE.

15                        MR. JOEL:     I'M SORRY, BEFORE WE -- I JUST

16      HAVE ONE QUESTION.

17                        THE COURT:     IDENTIFY YOURSELF.

18                        MR. JOEL:     I'M SORRY.     KENNETH JOEL FROM

19      THE ATTORNEY GENERAL'S OFFICE ON BEHALF OF THE

20      DEFENDANT.    I'M HERE WITH MY COLLEAGUE SUE ANN UNGER AND

21      ALSO MR. GATES FROM THE DEPARTMENT OF STATE.

22                        THE COURT:     GOOD TO SEE YOU, AGAIN,

23      MS. UNGER.

24                        MS. UNGER:     GOOD AFTERNOON, YOUR HONOR.

25                        MR. JOEL:     I JUST HAVE A QUICK QUESTION.
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                                                                          5

 1       AS I'M SURE YOU'RE AWARE, WE HAVE RAISED SEVERAL

 2       JURISDICTIONAL ISSUES.        I DIDN'T KNOW IF MAYBE YOU WANT

 3       TO HAVE A LITTLE ARGUMENT ON THAT OR MAYBE HAVE THE

 4       PLAINTIFFS PUT FORTH WHATEVER EVIDENCE THEY WANTED ON

 5       THAT FIRST.

 6                         THE COURT:     I'M GOING TO LET THE

 7       PLAINTIFFS PROCEED, AS THEY SEE FIT.           I WILL RULE ON

 8       EVERYTHING.     MY INTENTION IS NOT TO HOLD ANYBODY IN

 9       SUSPENSE.     YOU HAVE GIVEN ME A GREAT DEAL OF MATERIAL,

10       WHICH I HAVE BEEN STUDYING AND HOPE TO CONTINUE TO STUDY

11       OVER THE NEXT TWO DAYS.        I HOPE TO ISSUE A DECISION

12       FIRST THING ON MONDAY MORNING.

13                         MR. JOEL:     THANK YOU, YOUR HONOR.

14                         THE COURT:     MR. MAAZEL.

15                         MR. MAAZEL:     THANK YOU, YOUR HONOR, AND

16       THANK YOU FOR HAVING US HERE AT THIS HEARING TODAY.

17                         AS YOU KNOW, WE REPRESENT MR. REITZ AND

18       JILL STEIN, A CANDIDATE FOR PRESIDENT ON THE GREEN PARTY

19       TICKET.     THIS IS THE SECOND CLOSEST PRESIDENTIAL

20       ELECTION IN THE HISTORY OF PENNSYLVANIA.           THE ONLY

21       CLOSER ELECTION IN THE HISTORY OF PENNSYLVANIA WAS

22       WHEN --

23                         THE COURT:     MR. HARVEY IS AN EXPERIENCED

24       HAND IN THIS COURTHOUSE AND UNDERSTANDS THAT OUR SOUND

25       RECORDING WON'T -- YOU DON'T EXIST IF YOU ARE NOT CLOSER
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                                                                          6

 1       TO THE MICROPHONE.     WHY DON'T YOU REMAIN SEATED.        IT

 2       WILL BE EASIER FOR ALL OF US TO HEAR YOU.

 3                        MR. MAAZEL:     THIS IS THE SECOND CLOSEST

 4       PRESIDENTIAL ELECTION IN THE HISTORY OF PENNSYLVANIA.

 5       THE ONLY CLOSER ELECTION WAS WILLIAM HARRISON, WHEN HE

 6       BEAT MARTIN VAN BUREN IN 1840.       WE HAVE THOUSANDS OF

 7       PEOPLE IN PENNSYLVANIA WHOSE VOTES ALMOST CERTAINLY DID

 8       NOT COUNT.    AND IN THIS PENNSYLVANIA ELECTION REGIME,

 9       THERE IS REALLY NOTHING THEY CAN DO ABOUT IT.          I JUST

10       WANT TO START BRIEFLY BY HIGHLIGHTING A COUPLE OF PEOPLE

11       WHO ARE IN OUR DECLARATIONS BEFORE THE COURT.

12                        EXHIBIT 16 SETS FORTH THE DECLARATION OF

13       ANNA DURBIN, EXHIBIT 21, KIMBERLY KUPKA.         THESE TWO

14       INDIVIDUALS LIVE IN MONTGOMERY COUNTY.        THEY VOTED

15       THERE.   AND AS THEY BOTH CAST THEIR VOTES, A "NO VOTE"

16       BUTTON KEPT APPEARING.      THEY UNSELECTED THEIR

17       CANDIDATES, RESELECTED THE CANDIDATES, AND THIS "NO

18       VOTE" KEPT APPEARING.      AND WHEN BOTH OF THEM CAST THEIR

19       VOTE FOR THEIR CANDIDATES, THE "NO VOTE" BOX WAS LIT UP.

20                        NOW, THIS DRE ELECTRONIC MACHINES THAT

21       THEY USED HAVE NO PAPER TRAIL.       THERE IS NO WAY FOR A

22       VOTER TO VERIFY THAT THEIR VOTE FOR THEIR SELECTED

23       CANDIDATE WAS ACTUALLY SELECTED.       THEY CAN ONLY TRUST

24       THE MACHINE, AND THEY HAD VERY STRONG REASON TO BELIEVE

25       THAT THOSE VOTES DID NOT COUNT.
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                                                                           7

 1                        WE KNOW NOW FROM THE MONTGOMERY BOARD OF

 2       ELECTION'S WEBSITE, WHICH IS EXHIBIT 46, THAT OVER 4,000

 3       PEOPLE IN MONTGOMERY COUNTY WERE REGISTERED A NO VOTES,

 4       DID NOT VOTE FOR ANYBODY.      ALL 4,000 PEOPLE, 4,062

 5       PEOPLE SUPPOSEDLY WENT TO THE POLLS, TOOK THEIR TIME TO

 6       GO TO THE POLLS, FILLED OUT THEIR INFORMATION, PRESSED

 7       THE BUTTON, DID EVERYTHING, AND SUPPOSEDLY DECIDED NOT

 8       TO VOTE FOR A SINGLE CANDIDATE FOR A SINGLE OFFICE.

 9       NOW, EITHER THAT IS THE CASE OR THE DRE MACHINES DID NOT

10       WORK, EITHER BECAUSE THEY WERE HACKED OR BECAUSE THEY

11       JUST DID NOT WORK.

12                        SO WHAT COULD THESE VOTERS DO?        THE ONLY

13       REMEDY THEY'D REALLY HAVE IN PENNSYLVANIA IS TO SEEK A

14       RECOUNT OR A RECANVASS IN THEIR PRECINCT.         AND UNDER

15       PENNSYLVANIA LAW, THE DEADLINES FOR WHEN YOU CAN SEEK

16       RECOUNT DEPEND OR THEY ARE TIED TO HOW QUICKLY THAT

17       PARTICULAR COUNTY IS COUNTING THE VOTE.         NOW EVERY

18       COUNTY IS DIFFERENT, EVERY ELECTION IS DIFFERENT, AND

19       THERE IS NO WAY TO FIND OUT WHEN THE DEADLINE IS.

20       MONTGOMERY DID NOT PUBLISH THIS.       THE DEPARTMENT OF

21       STATE, WHICH IN THEORY SUPERVISES ALL OF THESE BOARDS OF

22       ELECTIONS, THEY HAD ABSOLUTELY NO IDEA WHEN THE DEADLINE

23       WAS TO SEEK A RECOUNT.

24                        IN FACT, IN EXHIBIT 32 A, THEY SENT US A

25       CHART ON NOVEMBER 28TH, AND IN THAT CHART IT WAS
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                                                                          8

 1       SUPPOSED TO SAY WHEN EACH COUNTY'S DEADLINE WAS WHEN

 2       VOTES WERE COMPLETED OR NOT.       AND FOR MONTGOMERY THERE

 3       WERE JUST BLANKS.     THEY HAD NO IDEA.      IN FACT, THE

 4       DEPARTMENT OF STATE DID NOT KNOW FOR AT LEAST 20

 5       COUNTIES WHEN THE COMPUTATIONS OF THE VOTE HAD BEEN

 6       COMPLETED AND THEREFORE WHEN THE DEADLINES WERE.            SO

 7       THESE VOTERS HAD NO IDEA FROM THEIR OWN GOVERNMENT WHEN

 8       THEY SHOULD EVEN SEEK A RECOUNT.        NO ONE IS TELLING

 9       THEM, IT IS NOT PUBLISHED.      EVEN THE DEPARTMENT OF STATE

10       DOES NOT KNOW.

11                        SO WHAT DID THEY DO?       THEY FILL OUT THESE

12       SWORN PETITIONS ASKING FOR A RECOUNT.         THEY GO TO THE

13       TROUBLE OF GETTING THEM NOTARIZED.         THEY DROP THEM OFF

14       AT THE BOARD OF ELECTIONS IN THEIR COUNTY.         AND AT THE

15       BOARD OF ELECTIONS THEY ARE TOLD, AND THIS IS IN THEIR

16       DECLARATIONS, THEY ARE TOLD TOO LATE, THE DEADLINE

17       PASSED.   AND SO WHAT ARE THEY TO DO?        THEY JUST LEFT

18       THEM THERE AND HOPED THAT MAYBE THEY WOULD BE RECOUNTED

19       AND THEIR PETITIONS WOULD BE ACCEPTED.

20                        THE COURT:    MR. MAAZEL, ARE THERE ANY --

21       PRESENTLY, AS YOU AND I SPEAK, ARE THERE ANY RECOUNT

22       PETITIONS BEING CONSIDERED IN ANY OF THE 67 COUNTIES OF

23       PENNSYLVANIA?

24                        MR. MAAZEL:     YES.

25                        THE COURT:    HOW MANY?
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                                                                           9

 1                         MR. MAAZEL:    IN TERMS OF COURT

 2       PROCEEDINGS OR JUST AT ANY STAGE?

 3                         THE COURT:    EVERYTHING.     COURT

 4       PROCEEDINGS, ELECTION COMMISSIONS, WHATEVER THE ENTITY

 5       IS CALLED.

 6                         MR. MAAZEL:    SO IN MONTGOMERY COUNTY,

 7       THERE IS CURRENTLY --

 8                         THE COURT:    YOU DON'T HAVE TO TICK THEM

 9       OFF ONE BY ONE.     COLLECTIVELY, HOW MANY?

10                         MR. MAAZEL:    IT MUST BE APPROXIMATELY SIX

11       OR SEVEN.    I WOULD HAVE TO GO THROUGH EACH ONE.

12                         THE COURT:    THAT IS FINE.     YOU'VE

13       ANSWERED MY QUESTION.

14                         MR. MAAZEL:    AND SO IN THE MONTGOMERY

15       SITUATION, THERE WERE MANY PEOPLE IN THIS POSITION, OVER

16       200 PEOPLE WHO DROPPED OFF PETITIONS, DID NOT KNOW THE

17       DEADLINE.    AND THEN THE COUNTY BOARD -- THEY JUST SAT

18       THERE IN A PILE AT THE COUNTY BOARD.          AND THEN SOMEONE

19       IN THE STEIN CAMPAIGN HAD THE GOOD SENSE TO THEN TAKE

20       THOSE TO THE PROTHONOTARY IN COURT AND SAY, WELL, MAYBE

21       THEY WILL ACCEPT THEM.      AND THE COURT IMPOSED A $269.50

22       FEE PER PETITION, IN TOTAL $21,021, WHICH THE STEIN

23       CAMPAIGN PAID FOR ON BEHALF OF THESE VOTERS JUST SO

24       THEIR PETITIONS COULD BE HEARD SOMEWHERE.

25                         AND THEN THERE WAS A COURT HEARING.        NO
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                                                                          10

 1       NOTICE WAS GIVEN TO ANY OF THE PETITIONERS UNTIL AFTER

 2       THE HEARING WAS OVER.      AT THE HEARING, MY ESTEEMED

 3       ADVERSARY ARGUED THAT YOU COULD NEVER HAVE A

 4       COURT-ORDERED RECOUNT ANYWHERE --

 5                        THE COURT:    MR. TABAS?

 6                        WELCOME, MR. TABAS.      NICE TO SEE YOU

 7       AGAIN.

 8                        MR. TABAS:    GOOD AFTERNOON, YOUR HONOR.

 9                        MR. MAAZEL:     MY ESTEEMED ADVERSARY,

10       MR. TABAS, ARGUED THAT THERE COULD NOT BE A SINGLE

11       COURT-ORDERED RECOUNT IN THIS PRECINCT OR ANY PRECINCT

12       UNLESS THERE WERE COURT-ORDERED RECOUNTS IN 27,000 --

13       I'M SORRY, 9,158 DISTRICTS BROUGHT BY 27,474 PEOPLE.

14                        IN SHORT, UNDER PENNSYLVANIA LAW,

15       ACCORDING TO THEIR ARGUMENT, UNLESS YOU HAVE A RECOUNT

16       PETITION IN EVERY SINGLE PRECINCT IN THE ENTIRE STATE,

17       YOU CAN'T HAVE ONE ANYWHERE.       AND THAT IS AT EXHIBIT 31

18       IN THE TRANSCRIPT AT PAGE 26.

19                        THE COURT THEN DENIED ALL THESE PETITIONS

20       WITHOUT EXPLANATION.     AND THE NET RESULT OF THE

21       EXPERIENCE OF THESE VOTERS IN MONTGOMERY, AND

22       PARTICULARLY THE TWO I JUST MENTIONED, IS THAT THEIR

23       VOTES ALMOST CERTAINLY WILL NOT COUNT AND THEY HAVE NO

24       RECOURSE AT ALL IN PENNSYLVANIA.

25                        THIS WOULD ALL BE EXTREMELY TROUBLING BY
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                                                                          11

 1       ITSELF, BUT IT COMES IN THE CONTEXT OF A BROADER PICTURE

 2       HERE, WHICH IS THAT WE HAVE MACHINES, DRE MACHINES AND

 3       OPTICAL SCAN MACHINES, WHICH TOP COMPUTER EXPERTS ARE

 4       ALL TELLING US, UNDER OATH AND OTHERWISE, ARE

 5       VULNERABLE, THAT THEY ARE EASILY COMPROMISED, THAT THEY

 6       ARE EASY TO HACK.

 7                        AND WITH YOUR HONOR'S PERMISSION, WHAT I

 8       WOULD LIKE TO DO IS TO CALL DR. ALEX HALDERMAN TO THE

 9       STAND, WHO IS ONE OF THE LEADING COMPUTER SURVEY --

10                        THE COURT:     I'VE ORDERED ALL THE

11       WITNESSES SEQUESTERED.      PLEASE PRESENT DR. HALDERMAN.

12                        MR. MAAZEL:     THEN AFTER THAT, WE WILL

13       CONTINUE OUR PRESENTATION, IF THAT IS ACCEPTABLE.

14                        THE COURT:     IT'S YOUR PRESENTATION.

15                        MR. CELLI:     YOUR HONOR, I'M ANDREW CELLI.

16       I WILL BE EXAMINING THE WITNESS.

17                        THE COURT:     EXCELLENT.    YOU ALSO DON'T

18       HAVE TO STAND UP IF YOU DON'T WANT TO.

19                        MR. CELLI:     IF I'M NOT STANDING, I CAN'T

20       SPEAK LOUDLY.    ASK MY WIFE.

21                        THE COURT:     UNDERSTOOD.

22                        DR. HALDERMAN, PLEASE HAVE A SEAT.

23       WELCOME.

24                        DR. HALDERMAN:     THANK YOU.

25                        MR. CELLI:     MAY I PROCEED?
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                                                                          12

 1                        THE COURT:     YOU MAY.

 2                        MR. CELLI:     DR. HALDERMAN, GOOD

 3       AFTERNOON.

 4                        THE COURT:     WHY DON'T WE SWEAR THE

 5       WITNESS, IF YOU WOULDN'T MIND STANDING, DOCTOR.

 6                        J. ALEX HALDERMAN, PLAINTIFF WITNESS,

 7       SWORN.

 8                        THE CLERK:     STATE AND SPELL YOUR FULL

 9       NAME FOR THE RECORD.

10                        THE WITNESS:     MY NAME IS JOHN ALEXANDER

11       HALDERMAN.    J-O-H-N.     A-L-E-X-A-N-D-E-R.

12       H-A-L-D-E-R-M-A-N.       J. ALEX, FOR SHORT.

13                        DIRECT EXAMINATION

14       BY MR. CELLI:

15       Q.       GOOD AFTERNOON, DR. HALDERMAN.

16       A.       GOOD AFTERNOON.

17       Q.       DR. HALDERMAN, COULD YOU BRIEFLY DESCRIBE YOUR

18       PROFESSIONAL AND EDUCATIONAL BACKGROUND TO THE COURT?

19       A.       I AM A PROFESSOR OF COMPUTER SCIENCE AND

20       ENGINEERING AT THE UNIVERSITY OF MICHIGAN.         AND I'M THE

21       DIRECTOR OF SOMETHING CALLED THE UNIVERSITY OF MICHIGAN

22       CENTER FOR COMPUTER SECURITY AND SOCIETY.

23                        I TEACH AND RESEARCH COMPUTER SECURITY,

24       INCLUDING THE SECURITY OF ELECTRONIC VOTING SYSTEMS AND

25       THE IMPLICATIONS OF STATE LEVEL ATTACKS.
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                                                                          13

 1                        I HAVE A PH.D. IN COMPUTER SCIENCE FROM

 2       PRINCETON UNIVERSITY, AND I HAVE AUTHORED APPROXIMATELY

 3       70 SCHOLARLY PUBLICATIONS IN THESE AREAS.

 4                        THE COURT:     I HAVE READ THE DOCTOR'S

 5       AFFIDAVIT AND THE VOLUMINOUS ATTACHMENTS AS WELL AS HIS

 6       CURRICULUM VITAE.     AND I ASSUME WITHOUT OBJECTION I'M

 7       PERFECTLY PREPARED TO QUALIFY HIM AS AN EXPERT IN

 8       FORENSIC COMPUTER SCIENCE.      DOES THAT SOUND RIGHT?

 9                        MR. CELLI:     WE WOULD ASK, YOUR HONOR,

10       THAT HE BE QUALIFIED IN COMPUTER SCIENCE AND IN

11       ELECTRONIC VOTING SYSTEM SECURITY.        HE HAS BEEN

12       PREVIOUSLY QUALIFIED IN THOSE FIELDS.

13                        THE COURT:     THAT'S FINE.    YOU ARE

14       QUALIFIED IN BOTH AREAS, DOCTOR.

15                        THE WITNESS:     THANK YOU, YOUR HONOR.

16                        MR. CELLI:     THANK YOU, YOUR HONOR.

17       BY MR. CELLI:

18       Q.       DR. HALDERMAN, YOU'VE SUBMITTED A DECLARATION IN

19       THIS CASE WHERE YOU DISCUSS THE PHENOMENON OF CYBER

20       ATTACKS OR HACKING, AND I THINK YOU USE THOSE TERMS

21       INTERCHANGEABLY.     DO YOU RECALL THAT?

22       A.       YES.

23       Q.       CAN YOU PLEASE TELL THE COURT WHAT YOU MEANT BY

24       CYBER ATTACKS OR HACKING.

25       A.       WELL, CYBER ATTACKS AND HACKING ARE BOTH WAYS TO
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                                                                          14

 1       DESCRIBE ATTEMPTS BY A MALICIOUS PARTY, THAT IS AN

 2       ATTACKER, TO MANIPULATE THE BEHAVIOR OF A COMPUTER

 3       SYSTEM, SUCH AS AN ELECTRONIC VOTING SYSTEM, IN ORDER TO

 4       GET SOME BEHAVIOR THAT THE ATTACKER DESIRES.

 5       Q.         AND IN YOUR DECLARATION, DR. HALDERMAN, YOU

 6       DESCRIBE THAT IN PENNSYLVANIA THERE ARE TWO DIFFERENT

 7       ELECTRONIC VOTING TECHNOLOGIES THAT ARE USED, IS THAT

 8       CORRECT?

 9       A.         YES.

10       Q.         CAN YOU DESCRIBE FOR THE COURT WHAT THOSE

11       TECHNOLOGIES ARE?

12       A.         THERE ARE OPTICAL SCAN VOTING SYSTEMS IN

13       PENNSYLVANIA WHERE A VOTER FILLS OUT A PAPER BALLOT AND

14       IT GETS SCANNED INTO A MACHINE THAT IS A COMPUTER VOTING

15       MACHINE.     AND THERE ARE WHAT ARE CALLED DRE, OR DIRECT

16       RECORDING ELECTRONIC VOTING MACHINES.        THESE ARE

17       COMPUTERS THAT RECORD THE ONLY RECORD OF THE VOTE IN A

18       COMPUTER MEMORY.

19       Q.         THANK YOU.

20                         HAVE YOU FORMED AN OPINION, DR.

21       HALDERMAN, AS TO WHETHER THE ELECTRONIC VOTING

22       TECHNOLOGIES THAT ARE USED IN THE COMMONWEALTH OF

23       PENNSYLVANIA ARE VULNERABLE TO CYBER ATTACKS OR TO

24       HACKING?

25       A.         YES, I HAVE.
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                                                                          15

 1       Q.       AND WHAT IS YOUR OPINION ON THAT SUBJECT?

 2       A.       I BELIEVE THEY ARE VULNERABLE.       IN FACT, I

 3       BELIEVE THAT PENNSYLVANIA'S VOTING TECHNOLOGY ARE AMONG

 4       THE MOST VULNERABLE VOTING SYSTEMS IN THE COUNTRY.

 5       Q.       WHAT IS THE BASIS FOR THAT OPINION, SIR?

 6       A.       WELL, PENNSYLVANIA USES TOUCH SCREEN VOTING

 7       MACHINES AND OTHER KINDS OF DRE'S THROUGH MUCH OF THE

 8       COMMONWEALTH.    AND THERE ARE SIX KINDS OF THOSE MACHINES

 9       IN USE IN THE STATE, SIX DIFFERENT MODELS.         EVERY ONE OF

10       THESE MODELS HAS BEEN STUDIED EXTENSIVELY BY COMPUTER

11       SECURITY EXPERTS, INCLUDING ME.       AND WE HAVE FOUND

12       VULNERABILITIES IN EVERY MODEL OF MACHINE THAT WOULD

13       ALLOW AN ATTACKER TO SUBVERT THE SECURITY OF THE SYSTEM,

14       TO SPREAD MALICIOUS CODE OR OTHER FORMS OF ATTACK INTO

15       THE VOTING MACHINES AND COMPROMISE THEIR SECURITY,

16       PERHAPS CHANGING VOTES, FOR EXAMPLE, OR EVEN SABOTAGING

17       THE MACHINES IN OTHER WAYS.

18       Q.       COULD YOU TELL THE COURT IN LAY TERMS PRECISELY

19       HOW A CYBER ATTACKER OR HACKER WOULD ACCESS THESE

20       MACHINES AND WHAT THAT PERSON COULD DO?

21       A.       WELL, THERE ARE TWO WAYS THAT -- TWO PRIMARY

22       WAYS AN ATTACKER MIGHT TRY TO COMPROMISE THE VOTING

23       MACHINES.    ONE IS IF AN ATTACKER GETS PHYSICAL ACCESS TO

24       THE MACHINE, THEY CAN TRY TO CHANGE THE PROGRAMMING IN

25       THE MACHINE BY TAMPERING WITH THE STORAGE DEVICE, THE
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 1       COMPUTER CHIPS OR OTHER STORAGE DEVICE IN THE MACHINE.

 2                        BUT I THINK MAYBE MORE RELEVANT TO OUR

 3       PRESENT PURPOSES, THERE ARE POSSIBLE, THERE ARE WAYS

 4       THAT A REMOTE ATTACKER CAN ALSO INJECT MALICIOUS CODE

 5       INTO THE VOTING MACHINES USED IN PENNSYLVANIA, EVEN

 6       THOUGH THE MACHINES THEMSELVES ARE NOT DIRECTLY

 7       CONNECTED TO THE INTERNET.      AND THAT IS BECAUSE THE

 8       MACHINES ARE PROGRAMMED BEFORE ELECTION DAY WITH THE

 9       DESIGN OF THE BALLOT.      THERE ARE FILES THAT ARE COPIED

10       INTO THE MACHINES THAT SAY WHO'S ON THE BALLOT AND WHAT

11       ARE THE RACES AND SO FORTH.       AND THOSE FILES ARE CREATED

12       ON OTHER COMPUTERS, EXTERNAL TO THE POLLING PLACE, THAT

13       ARE OPERATED BY THE COUNTIES OR BY OUTSIDE VENDORS.              IF

14       THOSE OUTSIDE COMPUTERS THAT ARE USED TO PROGRAM THE

15       BALLOT DESIGN ARE ATTACKED, AN ATTACKER CAN MANIPULATE

16       THE FILES THAT ARE COPIED ON TO THE VOTING MACHINES TO

17       DEFINE THE RACES AND THE BALLOT.       THESE FILES ARE COPIED

18       INTO THE MACHINES WITH A REMOVABLE STORAGE DEVICE, LIKE

19       A USB STICK OR A CARD SIMILAR TO THE ONE IN YOUR DIGITAL

20       CAMERA, AND AN ATTACK CAN TRAVEL INTO THE MACHINES,

21       PRIOR TO THE ELECTION, ON THOSE CARDS THAT ARE USED TO

22       PROGRAM THE BALLOT.

23       Q.       SIR, HAVE YOU FORMED AN OPINION AS TO THE

24       LIKELIHOOD THAT ELECTRONIC VOTING SYSTEMS IN

25       PENNSYLVANIA WERE SUBJECTED TO CYBER ATTACKS OR HACKING
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 1       IN THE 2016 ELECTION CYCLE?

 2       A.         YES, I HAVE.

 3       Q.         WHAT IS YOUR OPINION?

 4       A.         I THINK THERE IS A SIGNIFICANT POSSIBILITY THAT

 5       THE MACHINES IN PENNSYLVANIA WERE SUBJECT TO SUCH AN

 6       ATTACK.

 7       Q.         WHAT IS THE BASIS FOR THAT, DR. HALDERMAN?

 8       A.         WELL, LOOK, THIS ELECTION WAS DIFFERENT FROM

 9       PREVIOUS PRESIDENTIAL ELECTIONS IN THAT THERE HAS BEEN

10       AN UNPRECEDENTED LEVEL OF CYBER ATTACK ACTIVITY AIMED

11       QUITE OBVIOUSLY AT INTERFERING WITH THE PRESIDENTIAL

12       ELECTION.    WE HAD OVER THE SUMMER THE ATTACK ON THE

13       DEMOCRATIC NATIONAL COMMITTEE THAT LED TO THE SELECTIVE

14       LEAK OF THEIR E-MAIL.      ATTACK ON JOHN PODESTA, HILLARY

15       CLINTON'S CAMPAIGN MANAGER, TO LEAK HIS E-MAIL AS WELL.

16       ATTACKS AGAINST THE VOTER REGISTRATION SYSTEMS OPERATED

17       BY TWO DIFFERENT STATES, ARIZONA AND ILLINOIS, AND

18       REPORTED ATTACKS AGAINST MANY OTHER STATES' ELECTION

19       SYSTEMS PRIOR TO ELECTION DAY.

20                         THE FEDERAL GOVERNMENT, THE INTELLIGENCE

21       AGENCIES AND DEPARTMENT OF HOMELAND SECURITY HAVE LINKED

22       THESE ATTACKS TO A FOREIGN COUNTRY.        THEY SAY ONLY HIGH

23       RANKING RUSSIAN OFFICIALS COULD HAVE ORDERED SUCH

24       ATTACKS.

25                         NOW, WE ARE LIVING IN A TIME WHEN THESE
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 1       ATTACKS, CYBER ATTACKS LIKE THIS, STATE SPONSORED BY

 2       FOREIGN GOVERNMENTS, ARE MORE AND MORE COMMON.          YOU READ

 3       ABOUT THIS EVERY DAY IN THE PAPER, BUT WE HAVE NEVER

 4       SEEN A PRESIDENTIAL ELECTION THAT HAS BEEN SO AFFECTED

 5       BY THIS.

 6                         COUPLE THAT, THAT WE KNOW A FOREIGN

 7       GOVERNMENT IS TRYING TO INTERFERE WITH THE ELECTION,

 8       WITH THE SURPRISING RESULTS.       AND SO THE RESULTS OF THE

 9       ELECTION, WHICH DID NOT MATCH PREELECTION POLLS THAT WAS

10       SURPRISING TO MANY PEOPLE AND I THINK THERE IS A

11       SIGNIFICANT POSSIBILITY THAT WE WERE ATTACKED.          AND IF I

12       WERE AN ATTACKER, PUTTING MYSELF INTO THE POSITION OF AN

13       ATTACKER, AS I DO IN MY ROLE AS A SECURITY RESEARCHER, I

14       THINK PENNSYLVANIA IS CERTAINLY A STATE I WOULD WANT TO

15       ATTACK IF I WANTED TO CHANGE THE OUTCOME OF A

16       PRESIDENTIAL ELECTION.

17       Q.         WHY IS THAT?

18       A.         BECAUSE PENNSYLVANIA IS -- WAS A STATE WITH VERY

19       CLOSE POLLING DATA.       SO YOU WOULD ONLY NEED TO

20       MANIPULATE A RELATIVELY SMALL FRACTION OF THE RESULT IN

21       ORDER TO CHANGE THE OUTCOME, AND BECAUSE PENNSYLVANIA

22       ALSO USES BADLY INSECURE TECHNOLOGY THAT HAS BEEN SHOWN

23       IN STUDIES TIME AND AGAIN TO BE VULNERABLE.

24       PENNSYLVANIA ALSO HAS A LARGE NUMBER OF ELECTORAL

25       COLLEGE VOTES.     AND SO BY ATTACKING PENNSYLVANIA, I
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                                                                          19

 1       THINK PENNSYLVANIA WOULD SIMULTANEOUSLY BE A RELATIVELY

 2       EASY STATE TO ATTACK AND ONE THAT WOULD GET A LOT OF

 3       VALUE FOR AN ATTACKER WHO WANTED TO SWING THE NATIONAL

 4       OUTCOME.

 5       Q.         DR. HALDERMAN, CAN YOU DESCRIBE FOR THE COURT

 6       THE KINDS OF MISCHIEF THAT COULD BE CAUSED BY A CYBER

 7       ATTACK ON THE ELECTION SYSTEM IN PENNSYLVANIA?

 8       A.         WELL, I THINK THAT AN ATTACKER WHO WANTED TO TRY

 9       TO MANIPULATE THE ELECTION SYSTEM IN PENNSYLVANIA COULD,

10       BY MANIPULATING THE SOFTWARE ON INDIVIDUAL VOTING

11       MACHINES, SPREADING FROM AN INFECTION INTO THESE

12       ELECTION MANAGEMENT SYSTEMS INTO THE INDIVIDUAL VOTING

13       MACHINES, COULD -- REALLY COULD ARBITRARILY CHANGE

14       VOTES.     SO WE ARE TALKING ABOUT COMPUTER SOFTWARE THAT

15       IS CRAFTED BY AN ATTACKER RUNNING INSIDE THE VOTING

16       MACHINES BECAUSE IT'S SPREAD INTO THEM WITH THE BALLOT

17       PROGRAMMING.

18                         NOW, THAT KIND OF ATTACK IS NOT LIMITED

19       TO -- IS VIRTUALLY UNLIMITED IN WHAT IT CAN DO TO THE

20       REPORTED RESULTS.     FOR INSTANCE, I COULD VERY SIMPLY, TO

21       GIVE A SIMPLE EXAMPLE, I COULD PROGRAM IT TO SHIFT 5

22       PERCENT OF VOTES FROM THE REPUBLICAN CANDIDATE TO THE

23       DEMOCRATIC CANDIDATE, AND I COULD FURTHERMORE PROGRAM IT

24       TO TRY TO HIDE FROM PREELECTION TESTING.

25       Q.         DR. HALDERMAN, YOU MENTIONED -- JUST A POINT OF
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 1       CLARITY, YOU MENTIONED THE ELECTION MANAGEMENT SYSTEM,

 2       AND I THINK YOU MENTIONED THE VOTING MACHINES.          COULD

 3       YOU TELL THE COURT WHAT THE DIFFERENCE IS BETWEEN THOSE

 4       TWO TERMS?

 5       A.       THE ELECTION MANAGEMENT SYSTEMS ARE THE

 6       COMPUTERS THAT ARE USED TO CREATE THE BALLOT DESIGN

 7       PROGRAMMING THAT IS GOING TO BE INSTALLED ON ALL THE

 8       VOTING MACHINES ON ELECTION DAY AND ALSO USED TO

 9       TABULATE VOTES FROM MANY DIFFERENT VOTING MACHINES AND

10       ADD THEM UP AFTER THE ELECTION.       SO THIS IS A DISTINCT

11       COMPUTER OFTEN OPERATED BY A COUNTY OR OPERATED BY AN

12       OUTSIDE VENDOR FOR THE COUNTY.

13       Q.       DR. HALDERMAN, YOU UNDERSTAND THAT DECEMBER 13TH

14       IS THE DEADLINE FOR PENNSYLVANIA AND OTHER STATES TO

15       DESIGNATE ELECTORS TO THE ELECTORAL COLLEGE, RIGHT?

16       A.       YES, I DO.

17       Q.       IN YOUR PROFESSIONAL JUDGMENT, WOULD IT BE

18       POSSIBLE TO DETERMINE THAT PENNSYLVANIA'S ELECTRONIC

19       VOTING SYSTEM HAD BEEN HACKED PRIOR TO THAT

20       DECEMBER 13TH DEADLINE?

21       A.       YES, I DO.

22       Q.       AND HOW WOULD YOU GO ABOUT DOING THAT?

23       A.       WELL, IF YOU -- IF I WERE DOING THIS, WHAT I

24       WOULD DO, GIVEN THE LIMITED TIME, IS I WOULD CONCENTRATE

25       EFFORTS ON TWO THINGS.      FIRST, WHERE WE HAVE PAPER
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 1       BALLOTS, I WOULD WANT TO SEE THAT AT LEAST SOME OF THOSE

 2       PAPER BALLOTS ARE RECOUNTED, BECAUSE THE PAPER BALLOTS

 3       REPRESENT SOMETHING THAT THE VOTER TOUCHED DIRECTLY THAT

 4       COULD NOT LATER BE MANIPULATED BY A CYBER ATTACK.          SO

 5       JUST COMPARING IN A SAMPLE OF LOCATIONS WHAT IS ON THE

 6       PAPER BALLOTS TO WHAT THE COMPUTERS REPORTED CAN TELL US

 7       IF THE COMPUTERS WERE MANIPULATED.        BUT BECAUSE MOST OF

 8       PENNSYLVANIA'S VOTES ARE CAST WITHOUT A PAPER BALLOT,

 9       THE DRE VOTING MACHINES THAT I MENTIONED THAT HAVE

10       THESE -- THAT HAVE BEEN SHOWN TO BE VULNERABLE IN

11       RESEARCH, ACCOUNT FOR SOMETHING LIKE 70 PERCENT OF VOTES

12       IN PENNSYLVANIA, WE NEED A DIFFERENT STRATEGY TO DETECT

13       CYBER ATTACKS AGAINST THOSE MACHINES.

14                        AND WHAT I WOULD DO INSTEAD OF -- SINCE

15       THERE IS NOTHING TO RECOUNT, I WOULD TRY TO DO DIGITAL

16       FORENSICS ON THE ELECTION EQUIPMENT ITSELF.         GIVEN THE

17       LIMITED TIME, I THINK THE MOST IMPORTANT PLACE TO DO

18       FORENSICS IS THE ELECTION MANAGEMENT SYSTEM COMPUTERS,

19       BECAUSE THEY ARE AT WHAT WE MIGHT CALL A CHOKE POINT

20       THROUGH WHICH A MALICIOUS ATTACK WOULD SPREAD TO

21       MACHINES AT THE PRECINCTS.

22                        SO I DON'T THINK WE NECESSARILY NEED TO

23       LOOK AT EVERY ELECTION MANAGEMENT SYSTEM COMPUTER IN THE

24       STATE, BUT JUST A SAMPLE OF THEM WOULD BE ENOUGH TO VERY

25       QUICKLY BE ABLE TO DETECT A CYBER ATTACK IF ONE
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 1       OCCURRED.    I MIGHT START WITH SAY THE LARGEST COUNTY

 2       THAT USES EACH KIND OF ELECTION TECHNOLOGY BECAUSE THAT

 3       WOULD BE -- IF I WERE THE ATTACKER, ONCE AGAIN, THAT

 4       WOULD BE WHERE I WOULD TARGET TO GET THE MOST POTENTIAL

 5       VOTES CHANGED FOR A SINGLE INTRUSION.

 6       Q.         APPROXIMATELY HOW LONG WOULD IT TAKE IN YOUR

 7       PROFESSIONAL JUDGMENT TO CONDUCT A SAMPLING REVIEW OF

 8       THE SORT YOU JUST DESCRIBED?

 9       A.         WELL, I THINK WE COULD REACH -- WE COULD

10       POTENTIALLY REACH A CONCLUSION THAT THERE WAS MALICIOUS

11       ACTIVITY IN AS LITTLE AS A DAY OR TWO.        AND THEN IF

12       MALICIOUS ACTIVITY WERE DETECTED, THEN WE WOULD GO -- WE

13       WOULD HAVE TO DETERMINE, BASED ON WHAT IT WAS, WHAT TO

14       DO NEXT.    BUT IF WE FOUND -- BUT WE COULD FIND EVIDENCE

15       OF TAMPERING VERY QUICKLY.

16                         MR. CELLI:    I HAVE NOTHING FURTHER.

17                         THE COURT:    THANK YOU.

18                         MR. CELLI:    THANK YOU, DOCTOR.

19                         THE COURT:    MS. UNGER.

20                         MR. JOEL.

21                         MR. JOEL:    IS IT OKAY IF I SIT HERE?

22                         THE COURT:    ABSOLUTELY.

23                         MR. JOEL:    THANK YOU.

24                         THE COURT:    PLEASE PUT THE MICROPHONE AS

25       CLOSE TO YOU AS POSSIBLE, AND SPEAK UP.
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                                                                          23

 1                        MR. JOEL:    IS THAT OKAY?

 2                        THE COURT:     THAT'S GREAT.

 3                        CROSS EXAMINATION

 4       BY MR. JOEL:

 5       Q.       DR. HALDERMAN, HI.     MY NAME IS KENNETH JOEL.

 6       I'M WITH THE OFFICE OF ATTORNEY GENERAL, AND I'M

 7       REPRESENTING THE DEFENDANTS IN THIS CASE.         I HAVE A FEW

 8       QUESTIONS FOR YOU.

 9                        I LOOKED AT YOUR AFFIDAVIT, AND I DON'T

10       KNOW IF YOU HAVE IT THERE WITH YOU OR NOT BUT --

11                        THE COURT:     DO YOU HAVE IT?

12                        THE WITNESS:     I DON'T HAVE A COPY IN

13       FRONT OF ME.

14                        THE COURT:     I HAPPEN TO HAVE A COPY IN

15       FRONT OF ME.    DO YOU HAVE AN EXTRA, MR. JOEL?

16                        ALL RIGHT.     YOU CAN HAVE MINE, DOCTOR.       I

17       WILL TELL YOU WHAT.     WHY DON'T YOU TAKE -- I WILL GIVE

18       YOU THE PLEASURE OF DEALING WITH THE BOOK I HAVE BEEN

19       DEALING WITH.

20                        THE WITNESS:     THANK YOU, YOUR HONOR.

21                        THE COURT:     YOU ARE QUITE WELCOME.

22       BY MR. JOEL:

23       Q.       DOCTOR, I JUST HAD A FEW QUESTIONS ABOUT THIS

24       AND IT KIND OF RUNS THROUGHOUT.       BUT IF YOU LOOK AT

25       PARAGRAPH 10, I'M SEEING, IF A FOREIGN GOVERNMENT, IS
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                                                                          24

 1       THAT CORRECT?

 2       A.         YES.

 3       Q.         ONE MIGHT EXPECT.   THAT'S CORRECT?

 4       A.         YES.

 5       Q.         ATTACKERS MIGHT PROBE?

 6       A.         YES.

 7       Q.         TO FIND WAYS?

 8       A.         YES.

 9       Q.         MIGHT SPREAD?

10       A.         YES.

11       Q.         SOME STATES?

12       A.         YES.

13       Q.         NO VISIBLE SIGNS?

14       A.         YES.

15       Q.         WOULD EXPECT?

16       A.         YES.

17       Q.         IF YOU LOOK AT PARAGRAPH 12, JUST AS ANOTHER

18       EXAMPLE.     INITIAL COMPUTER IS ALMOST?

19       A.         WHERE ARE YOU READING THAT?     I'M SORRY.

20       Q.         SIX LINES DOWN.

21       A.         YES.

22       Q.         BEGINNING IN THE NEXT SENTENCE, IF?

23       A.         YES.

24       Q.         MIDWAY THROUGH THAT SENTENCE, CAN?

25       A.         YES.
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                                                                          25

 1       Q.       DOCTOR, WITH REGARDS TO -- AND I DIDN'T SEE

 2       ANYTHING IN YOUR AFFIDAVIT OR YOUR DECLARATION ABOUT

 3       THIS, DO YOU HAVE ACTUAL HANDS-ON EXPERIENCE WITH ALL OF

 4       THE DRE'S THAT ARE USED IN PENNSYLVANIA?

 5       A.       I BELIEVE I HAVE TAKEN APART THREE OF THE

 6       DIFFERENT MODELS AND EXAMINED MOST OF THE INTERNAL WIRES

 7       AND COMPONENTS BY HAND MYSELF, YES.

 8       Q.       DOCTOR, AS YOU WERE TESTIFYING, I HEARD SOME

 9       OTHER WORDS SUCH AS PERHAPS, POSSIBILITY.         AM I CORRECT

10       THAT AS YOU SIT HERE TODAY, YOU HAVE NO EVIDENCE THAT

11       ANY MACHINE IN THE COMMONWEALTH OF PENNSYLVANIA WAS

12       COMPROMISED IN SUCH A WAY AS TO ALTER ANY VOTE?

13       A.       THAT IS INDEED WHAT THE FORENSIC EXAMINATION I'M

14       TALKING ABOUT WOULD SEEK TO FIND.

15                        THE COURT:     SIR, PLEASE, DON'T ARGUE WITH

16       THE WITNESS.    IS THAT A YES OR A NO?

17                        THE WITNESS:     I DON'T REMEMBER THE SENSE

18       OF --

19                        THE COURT:     ASK THE QUESTION.

20                        MR. JOEL:    HAPPY TO.

21       BY MR. JOEL:

22       Q.       AS YOU SIT HERE TODAY, IT IS TRUE THAT YOU HAVE

23       NO EVIDENCE THAT ANY MACHINE IN PENNSYLVANIA, VOTING

24       MACHINE OR ELECTRONIC SYSTEM THAT YOU TALKED ABOUT, HAS

25       BEEN COMPROMISED IN SUCH A WAY AS TO ALTER ANY VOTE?
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 1       A.        YES.

 2       Q.        AND I THOUGHT I READ SOMEWHERE IN THE MATERIALS

 3       THAT YOU HAD A RECENT POST WHERE YOU WERE ASKED ABOUT

 4       WHETHER OR NOT THE ELECTION RESULTS WERE HACKED.          IS

 5       THAT ACCURATE?

 6       A.        I DON'T BELIEVE IN WHICH I WAS ASKED.

 7       Q.        DID YOU HAVE A POST IN WHICH YOU SAID THE ANSWER

 8       TO THAT -- WHETHER OR NOT THE ELECTION WAS HACKED, THE

 9       VOTING MACHINES WERE HACKED, YOUR ANSWER WAS PROBABLY

10       NOT.   DO YOU REMEMBER THAT?

11       A.        YES.

12                           MR. JOEL:    I DON'T HAVE ANYTHING ELSE.

13       THANK YOU.       I DON'T KNOW IF MR. TABAS DOES OR NOT.

14                           MR. TABAS:   JUST FOR THE RECORD, LAWRENCE

15       TABAS ON BEHALF OF THE INTERVENORS WHICH INCLUDES THE

16       PRESIDENT ELECT AND THE OTHER INTERVENORS.

17                           CROSS EXAMINATION

18       BY MR. TABAS:

19       Q.        MR. HALDERMAN, FOLLOWING UP ON MR. JOEL'S

20       QUESTION, ISN'T IT TRUE THAT YOU ACTUALLY WROTE AN

21       ARTICLE ON NOVEMBER 23RD, 2016 IN MEDIUM, IN WHICH YOU

22       STATED:   WERE THIS YEAR'S DEVIATIONS FROM PREELECTION

23       POLLS THE RESULT OF A CYBER ATTACK?

24                           PROBABLY NOT.    I BELIEVE THE MOST LIKELY

25       EXPLANATION IS THAT THE POLLS WERE SYSTEMATICALLY WRONG,
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 1       RATHER THAN THE ELECTION WAS HACKED.         END OF QUOTE.

 2       A.       YES, THAT IS WHAT I WROTE.

 3       Q.       SO MR. HALDERMAN, THEN, ISN'T IT TRUE THAT AS OF

 4       TODAY YOU CANNOT STATE TO A REASONABLE DEGREE OF

 5       CERTAINTY THAT THE PENNSYLVANIA VOTING SYSTEMS WERE IN

 6       FACT HACKED FOR THIS 2016 ELECTION?

 7       A.       YES.

 8                        MR. TABAS:     NO FURTHER QUESTIONS, YOUR

 9       HONOR.

10                        THE COURT:     DOCTOR, IS THERE ANYTHING

11       THAT YOU HAVE TESTIFIED TO THIS AFTERNOON, OTHER THAN

12       THE RESULT OF THE VOTE ON NOVEMBER 8TH, ANYTHING AT ALL

13       YOU HAVE TESTIFIED TO TODAY THAT YOU DID NOT KNOW BEFORE

14       NOVEMBER 8TH?

15                        THE WITNESS:     DIDN'T KNOW BEFORE

16       NOVEMBER 8TH?    NO, I DON'T THINK SO.

17                        THE COURT:     ANY FURTHER QUESTIONS?

18                        MR. CELLI:     JUST A QUICK ONE, YOUR HONOR.

19                        THE COURT:     VERY WELL.

20                        REDIRECT EXAMINATION

21       BY MR. CELLI:

22       Q.       DR. HALDERMAN, THE QUESTION ABOUT THE POST THAT

23       YOU WROTE, WHERE YOU SAID, WAS THE ELECTION HACKED,

24       PROBABLY NOT.    COULD YOU EXPLAIN WHAT YOU MEANT WHEN YOU

25       SAID THAT AND WHAT IN FACT THE ARTICLE SAYS.
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 1       A.        YES.   SO THAT ARTICLE WAS TALKING ABOUT NOT THAT

 2       THE -- SO THAT ARTICLE IS COMPARING TWO DIFFERENT

 3       POSSIBILITIES.     RIGHT?   WE HAVE AN ELECTION THIS YEAR

 4       THAT HAD A SURPRISING RESULT TO MANY PEOPLE.           AND IN

 5       FACT THE POLLS BEFORE THE ELECTION WERE WRONG IN A

 6       SIGNIFICANT WAY.     AND ONE OF TWO THINGS IS POSSIBLE.

 7                         EITHER THE POLLS WERE WRONG, RIGHT, AND

 8       THE ELECTION RESULT IS CORRECT, AND I THINK THAT IS

 9       SIGNIFICANTLY LIKELY.       BUT I ALSO THINK A SIGNIFICANT

10       LIKELIHOOD EXISTS THAT THERE WAS A CYBER ATTACK

11       BECAUSE --

12                         THE COURT:     I'M SORRY.     I'M SORRY.   I

13       THINK THE QUESTION WAS, HOW DO YOU EXPLAIN -- WHEN YOU

14       WERE ASKED WAS THE VOTE HACKED, YOU SAID PROBABLY NOT.

15       I'M NOT HEARING AN EXPLANATION FOR THAT.

16                         THE WITNESS:     I'M SORRY.     I AM GETTING TO

17       THAT.    IF I'M BEING UNCLEAR, I APOLOGIZE.

18                         THE COURT:     NOT UNCLEAR PERHAPS, BUT YOU

19       ARE TAKING A LONG TIME TO GET THERE.

20                         THE WITNESS:     I'M SORRY, YOUR HONOR.

21       THERE ARE TWO POSSIBILITIES HERE, THAT THE POLLS WERE

22       WRONG OR THAT THERE WAS A CYBER ATTACK.          AND I DO THINK

23       THAT THE MORE LIKELY OF THOSE TWO IS THAT THE POLLS WERE

24       WRONG.    BUT I DON'T THINK THAT A CYBER ATTACK IS MUCH

25       LESS LIKELY THAN THAT.      AND THAT IS WHY I PUT IT THAT
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 1       WAY.     THE ENTIRE ARTICLE IS ABOUT WHY THE LIKELIHOOD OF

 2       A CYBER ATTACK IS SO SIGNIFICANT THAT WE ABSOLUTELY NEED

 3       TO INVESTIGATE THE AVAILABLE EVIDENCE IN ORDER TO MAKE

 4       SURE THAT ONE DIDN'T OCCUR.

 5                         THE COURT:     SO -- IF I'M WRONG, PLEASE

 6       DON'T HESITATE TO CORRECT ME.       AS I HEAR YOUR TESTIMONY,

 7       YOU ARE SAYING IT'S MORE LIKELY THAN NOT THAT THERE WAS

 8       NO HACK, BUT THAT STILL LEAVES A SIGNIFICANT POSSIBILITY

 9       THAT THERE COULD HAVE BEEN A HACK.

10                         THE WITNESS:     THAT IS WHAT I'M SAYING.

11       YES, YOUR HONOR.

12                         THE COURT:     ANYTHING FURTHER?

13                         CAN I HAVE MY BOOK BACK?      THANK YOU,

14       DOCTOR.    UNLESS YOU PLAN ON CALLING THE DOCTOR AGAIN, HE

15       IS FREE TO STAY IF HE WANTS TO OR HE CAN RETURN TO ANN

16       ARBOR.     IT'S HIS DECISION.

17                         MR. MAAZEL:     THANK YOU, YOUR HONOR.

18                         SO I WOULD LIKE TO CONTINUE WITH WHAT I

19       THINK IS -- ARE THE FUNDAMENTAL LEGAL PRINCIPLES, REALLY

20       FIVE, THAT I THINK GUIDE YOUR HONOR'S DECISION IN THIS

21       PRELIMINARY INJUNCTION.

22                         THE FIRST IS THAT VOTERS DON'T JUST HAVE

23       THE RIGHT TO VOTE.     THEY HAVE THE RIGHT TO VOTE -- THEY

24       HAVE THE RIGHT TO HAVE THEIR VOTE COUNT, WHICH IS THE

25       CLASSIC CASE IN A NUMBER OF OTHER U.S. SUPREME COURT
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 1       CASES.

 2                        THE COURT:    MOVE THE MICROPHONE A LITTLE

 3       CLOSER AND SPEAK INTO IT.      WE JUST GOT ELECTRICITY HERE

 4       IN PHILADELPHIA.

 5                        MR. MAAZEL:     THANK YOU, YOUR HONOR.

 6                        THE SECOND PRINCIPLE IS THAT THE COURT

 7       MUST WEIGH THE BURDENS ON THE RIGHT TO HAVE THE VOTE

 8       COUNT VERSUS THE PRECISE INTERESTS IDENTIFIED BY THE

 9       STATE, AND WHETHER THOSE INTERESTS REQUIRE THOSE RIGHTS

10       TO BE BURDENED, AND THAT IS THE THIRD CIRCUIT HOLDING IN

11       ROGERS.

12                        THE THIRD IS THAT STATE INTERESTS ARE

13       LESS IMPORTANT IN PRESIDENTIAL ELECTIONS.         THAT IS THE

14       ANDERSON CASE.

15                        THE FOURTH IS THAT WE HAVE TO LOOK AT ALL

16       THE BURDENS IN COMBINATION, NOT IN ISOLATION, WHICH IS

17       THE CONSTITUTION PARTY CASE.

18                        AND THE FIFTH AND PERHAPS THE MOST

19       IMPORTANT IS THAT WHEN A STATE PROVIDES A RIGHT TO A

20       RECOUNT AS PENNSYLVANIA DOES, AS THE SIXTH CIRCUIT HELD

21       IN STEIN V THOMAS ABOUT TEN HOURS AFTER OUR BRIEF WAS

22       FILED, IT IS CLEAR THAT THE STATE CANNOT USE ARBITRARY

23       OR UNREASONABLE PROCEDURAL RULES TO MAKE THAT RIGHT A

24       NULLITY.   AND WITH THE COURT'S PERMISSION I WOULD LIKE

25       TO HAND THIS CASE UP TO THE COURT BECAUSE IT JUST CAME
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 1       DOWN.

 2                        THE COURT:    SURE.

 3                        MR. MAAZEL:     THE KEY LANGUAGE, YOUR

 4       HONOR, I THINK IS THE BOTTOM OF PAGE 5 AND THE TOP OF

 5       PAGE 6 WHERE THE SIXTH CIRCUIT HELD THAT ONCE THERE IS A

 6       STATE RIGHT TO A RECOUNT, THE STATE CANNOT USE ARBITRARY

 7       OR UNREASONABLE PROCEDURAL RULES TO MAKE THAT RIGHT A

 8       NULLITY.   AND I WOULD SUBMIT, YOUR HONOR, THAT THAT IS

 9       EXACTLY WHAT HAS HAPPENED AND IS HAPPENING IN

10       PENNSYLVANIA.

11                        THE COURT:    AS I UNDERSTAND, AND AGAIN,

12       AS I SAID TO THE DOCTOR, CORRECT ME IF I'M WRONG, THERE

13       HAS BEEN A LOT OF INFORMATION TO ABSORB IN NOT VERY MUCH

14       TIME.   AS I UNDERSTAND YOUR CONSTITUTIONAL TORT THEORY,

15       IS THE APPLICATION OF THE ELECTION CODE, IN PARTICULAR

16       THE COMMONWEALTH COURT'S DECISION TO REQUIRE A MILLION

17       DOLLAR BOND, WAS EFFECTIVELY A DECISION TO NOT TO ALLOW

18       YOU A RECOUNT IN VIOLATION OF, AND AGAIN, IF I'M WRONG

19       PLEASE TELL ME, EQUAL PROTECTION, SUBSTANTIVE DUE

20       PROCESS AND THE FIRST AMENDMENT.

21                        MR. MAAZEL:     I THINK THAT IS A SMALL

22       PIECE OF IT, YOUR HONOR, BUT THERE REALLY -- THERE ARE

23       SEVEN BURDENS ON THE RIGHT TO HAVE THE VOTE COUNT THAT I

24       WANT TO IDENTIFY AND THEY NEED TO BE LOOKED AT IN

25       COMBINATION.
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 1                        THE FIRST IS THAT WE KNOW AND IT'S NOT

 2       DISPUTED ON THIS RECORD THAT MANY OF THESE DRE MACHINES

 3       DID NOT WORK.    IN MONTGOMERY, IT'S SIMPLY IMPOSSIBLE

 4       THAT 4,062 PEOPLE SHOWED UP AND DECIDED NOT TO VOTE.

 5       AND WE HAVE AFFIDAVITS FROM MULTIPLE PEOPLE SAYING A "NO

 6       VOTE" BUTTON CAME UP WHEN THEY TRIED TO VOTE FOR PEOPLE.

 7       THAT IS NUMBER ONE.

 8                        NUMBER TWO, WE HAD THE EVIDENCE SUCH AS

 9       IT IS THAT THESE MACHINES ARE VULNERABLE, THEY ARE

10       HACKABLE, THEY ARE EASY TO PENETRATE.        AND THAT IS NOT

11       JUST THE OPINION OF DR. HALDERMAN.

12                        IT'S THE OPINION OF HARRI HURSTI.        HIS

13       DECLARATION'S IN THE RECORD, HE SAID THE MACHINES ARE

14       EASILY HACKED.     IT'S ELEMENTARY TO HACK THEM.       AND IN

15       PARAGRAPH 28, YOU DON'T EVEN NEED A BACHELOR'S DEGREE

16       LEVEL OF SKILL TO HACK THEM.

17                        WE HAVE THE OPINION OF DUNCAN BUELL IN

18       HIS DECLARATION.     HE'S THE LEADING EXPERT ON INVOTRONICS

19       WHICH IS USED IN 25 COUNTIES IN THE STATE, WHERE HE SAYS

20       THAT THAT STRUCTURE USES A NAIVE EVEN JUVENILE PASSWORD

21       STRUCTURE.    THAT IS AT PARAGRAPH 13.

22                        DANIEL LOPRESTI, CANDICE HOKE.        I WON'T

23       GO THROUGH ALL THE DECLARATIONS.       BUT THEY ALL SAY MORE

24       OR LESS THE SAME THING.

25                        THE COURT:    I HAVE READ THEM.
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 1                         MR. MAAZEL:    THEY ALL SAY THAT THESE

 2       MACHINES REALLY ARE ANTIQUATED.       THEY USE OLD

 3       TECHNOLOGY.     THEY ARE VERY VULNERABLE.     SO THAT IS

 4       REALLY THE SECOND, I WOULD SAY, OF THE SEVEN BURDENS

 5       THAT I AM IDENTIFYING TODAY FOR YOUR HONOR.

 6                         THE THIRD IS THAT THERE IS NO PAPER TRAIL

 7       AT ALL.     THERE IS NO WAY FOR A VOTER TO VERIFY THAT HIS

 8       OR HER VOTE COUNTED IN THE 50 COUNTIES THAT USE DRE

 9       MACHINES.     YOU GO TO A RITE AID AND YOU BUY TOOTHPASTE,

10       AND YOU GET A RECEIPT TO SHOW THAT YOU BOUGHT IT.          HERE

11       WHEN YOU GO TO A DRE MACHINE TO CAST YOUR VOTE FOR

12       PRESIDENT OF THE UNITED STATES, YOU HAVE NOTHING.          THERE

13       IS JUST NO WAY TO VERIFY THAT THE MACHINE WORKED.

14                         THE FOURTH IS THE IMMENSE DIFFICULTY TO

15       GO THROUGH ANY PROCEDURE IN THE STATE OF PENNSYLVANIA TO

16       SEE IF YOUR VOTE COUNTED.       I BREAK THAT DOWN INTO A FEW

17       DIFFERENT PIECES.

18                         ONE IS THAT THERE IS NO WAY TO KNOW WHEN

19       YOU NEED TO REQUEST THE RECOUNT, THERE IS NO NOTICE OF

20       THE DEADLINES.     AND I TOUCHED ON THIS BRIEFLY BEFORE,

21       BUT I MEAN NOTICE IS JUST A BETTER DUE PROCESS IDEA,

22       FROM MATTHEWS V ELDRIDGE, PRISON CASES, SCHOOL CASES.

23       IF THERE IS MAYBE ONE PROCEDURAL DUE PROCESS IDEA THAT

24       IS COMMON TO EVERY CASE, IT'S NOTICE.        AND IN THIS CASE,

25       THERE IS NO NOTICE.     EVERY COUNTY COUNTS AT DIFFERENT
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 1       RATES.     EVERY COUNTY COUNTS DIFFERENTLY IN DIFFERENT

 2       ELECTIONS.     NOTHING IS PUBLISHED, AND THEN THE COUNTIES

 3       DISAGREE AS TO WHEN THE DEADLINE IS.        IS IT WHEN THE

 4       VOTES ARE COUNTED OR IS IT FIVE DAYS AFTER?

 5                         SO IN LEHIGH THEY ACCEPT RECOUNT REQUESTS

 6       FIVE DAYS AFTER COMPLETION OF THE VOTE.         IN BUCKS IT HAS

 7       TO BE THE COMPLETION OF THE VOTE.        IN ALLEGHENY IT'S

 8       FIVE DAYS AFTER.     IN LANCASTER IT'S COMPLETION OF THE

 9       VOTE.     IT ALL DEPENDS ON THE WHIM OF THE COUNTY AND THE

10       MOMENT.     THIS IS NOT A RATIONAL SYSTEM THAT CAN BE

11       DEFENDED.     AND I THINK IT IS NOTABLE THAT NONE OF THE

12       DEFENDANTS DEFEND IT.

13                         THERE IS NO PRECISE STATE INTEREST THAT

14       CAN JUSTIFY GIVING NO NOTICE WHATSOEVER TO VOTERS AS TO

15       WHEN THEY CAN SEEK A RECOUNT.       AND IT'S THEIR BURDEN TO

16       IDENTIFY A PRECISE STATE INTEREST UNDER THE THIRD

17       CIRCUIT CASE LAW.     THEY DON'T IDENTIFY ANY INTEREST AND

18       THERE CAN BE NONE, THERE CAN BE NO INTEREST IN HIDING

19       THE BALL FROM THE VOTER.      SO THAT IS THE FOURTH BURDEN.

20                         AND JUST BY WAY OF EXAMPLE, IN EXHIBIT 4,

21       WE HAVE THE DECLARATION OF MR. ALMQUIST, AND HE

22       DESCRIBES QUITE A SCENE WHEN HE TRIED TO GET HIS RECOUNT

23       PETITION FILED.     HE FIRST WENT TO -- PARAGRAPH 4, I'M

24       SORRY, PARAGRAPH 5, HE WENT FIRST TO ELECTION SERVICES,

25       WHICH IS THE COUNTY BOARD.      THEY TOLD HIM GO TO THE
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 1       COUNTY CLERK.    HE WENT TO THE COUNTY CLERK.       HE WAS TOLD

 2       TO GO TO THE COUNTY SOLICITOR.       HE WENT TO THE COUNTY

 3       SOLICITOR.    THEY SAID NO, YOU NEED TO GO TO THE COURT TO

 4       THE PROTHONOTARY'S OFFICE.      HE WENT TO THE

 5       PROTHONOTARY'S OFFICE.      THEY SAID NO, YOU NEED TO GO

 6       BACK TO THE COUNTY BOARD.

 7                        THE COURT:    WE'RE PROBABLY THE ONLY STATE

 8       IN THE UNION THAT HAS THE OFFICE OF PROTHONOTARY, WHICH

 9       IS WHY NO ONE KNOWS HOW TO PRONOUNCE IT.

10                        MR. MAAZEL:     I HAVE BEEN HERE FOR TWO

11       WEEKS, AND I STILL CAN'T PRONOUNCE IT.        THANK YOU, YOUR

12       HONOR.   PROTHONOTARY.

13                        AND THEN WHEN HE WAS THERE, FINALLY THE

14       PROTHONOTARY -- I WON'T SAY THE WORD AGAIN.

15                        THE COURT:    MR. HARVEY WILL GIVE YOU

16       ELOCUTION LESSONS AFTER THE HEARING TODAY.

17                        MR. MAAZEL:     HE WAS TOLD TO FILL OUT A

18       COVER SHEET TO MAKE A PROPOSED ORDER TO PAY $324 IN

19       FILING FEES, PAYABLE IN CASH OR CASHIER'S CHECK AND THAT

20       WAS AT 3:30 AND IT WAS DUE AT 4 O'CLOCK.         SO IT'S JUST

21       -- IT'S AN IMPOSSIBLE SYSTEM FOR VOTERS TO ACTUALLY SEEK

22       RECOUNTS.

23                        THE NEXT BURDEN THAT I BELIEVE IS

24       SIGNIFICANT IS NOT JUST THE LACK OF NOTICE, BUT THE

25       BURDEN ITSELF OF HAVING ANYTHING CLOSE TO A STATEWIDE
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 1       RECOUNT, WE NEED TO HAVE OVER 9,000 PETITIONS FILED BY

 2       OVER 27,000 PEOPLE, EQUALLY DIVIDED THROUGHOUT THE STATE

 3       IN A MATTER OF WEEKS.      I MEAN IT'S AN ABSOLUTELY

 4       INSURMOUNTABLE BURDEN.      IT CAN'T BE DONE.     IT HAS NEVER

 5       BEEN DONE, AND NOT ONLY DO THEY NEED TO FILE, THEY NEED

 6       TO GET THEIR NOTARY STAMP.      THEY NEED TO PERHAPS TRAVEL

 7       HUNDREDS OF MILES TO THE NEAREST OFFICE.         THESE BURDENS

 8       ARE FAR LESS SEVERE THAN FOR EXAMPLE THE CONSTITUTION

 9       PARTY CASE IN THE THIRD RD CIRCUIT WHERE FEWER

10       SIGNATURES WERE NEEDED IN A FIVE-MONTH PERIOD, AND THEY

11       WERE NOT REQUIRED EVENLY DIVIDED THROUGHOUT THE STATE.

12       I MEAN, THE BURDEN IS IMPOSSIBLE AND I THINK ACTUALLY

13       IT'S VERY INTERESTING THAT THE PENNSYLVANIA SENATE

14       MAJORITY CAUCUS FILED THEIR AMICUS BRIEF.         I DON'T KNOW

15       IF YOUR HONOR HAS HAD A CHANCE TO READ THAT YET.

16                        THE COURT:    I'VE READ ALL THE BRIEFS.

17                        MR. MAAZEL:     THEIR BRIEFS WERE VERY

18       INTERESTING BECAUSE THEY SAY WE MADE A CHOICE TO MAKE IT

19       IMPOSSIBLE.    THEY DESCRIBED THE RECOUNT PROCESS AS

20       ONEROUS AND THEY SAY THAT IT'S A, QUOTE, INTENTIONAL

21       CHOICE AT PAGE 4.     THEY WANT TO IT BE ALMOST IMPOSSIBLE.

22       IT'S ALMOST AS IF THE SENATE MAJORITY CAUCUS CAME TO

23       COURT AND SAID --

24                        THE COURT:    IF PENNSYLVANIA HAD NO

25       PROVISION AT ALL FOR A RECOUNT, COULD PENNSYLVANIA DO
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 1       THAT?

 2                         MR. MAAZEL:     IT WOULD BE A DIFFERENT

 3       CASE, YOUR HONOR.

 4                         THE COURT:     OH, BELIEVE ME.    I UNDERSTAND

 5       THAT.     BUT COULD PENNSYLVANIA SIMPLY SAY WE ARE NOT

 6       GOING TO PROVIDE FOR A RECOUNT.        WE WILL HAVE AN

 7       ELECTION AND THAT IS IT.        WOULD THAT VIOLATE SOME

 8       PROVISION OF THE FEDERAL CONSTITUTION?

 9                         MR. MAAZEL:     PROBABLY NOT.    AND

10       PENNSYLVANIA COULD ALSO SAY, NO ONE IN PENNSYLVANIA HAS

11       A RIGHT TO VOTE FOR PRESIDENT.        BUT ONCE PENNSYLVANIA

12       HAS --

13                         THE COURT:     I REALLY DON'T THINK THE TWO

14       ARE IN THE LEAST SIMILAR.

15                         MR. MAAZEL:     WELL, IN THE SENSE THAT

16       ONCE --

17                         THE COURT:     IN THE SENSE THAT THEY ARE

18       NOT IN THE LEAST SIMILAR, IT'S NOT A GOOD ANALOGY.

19                         MR. MAAZEL:     I GUESS MY POINT, AND MAYBE

20       I DID NOT MAKE IT WELL, IS THAT THE LEGISLATURE, AS THE

21       SIXTH CIRCUIT HAS SAID AND OTHER COURTS, ONCE THE

22       LEGISLATURE MAKES A DETERMINATION THAT VOTERS IN THAT

23       STATE HAVE A CERTAIN RIGHT, THEN THE CONSTITUTION KICKS

24       IN AND THAT RIGHT HAS TO BE EXERCISED IN A WAY THAT

25       COMPORTS WITH DUE PROCESS AND THE FIRST AMENDMENT AND
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 1       EQUAL PROTECTION.

 2                        IN THIS CASE, THERE IS A RIGHT, AT LEAST

 3       IN THEORY ON PAPER, TO SEEK RECOUNTS, BUT IN PRACTICE

 4       IT'S IMPOSSIBLE.

 5                        THE NEXT BURDEN I IDENTIFY ARE THE FEES.

 6       AT $50 --

 7                        THE COURT:     THAT IS NOT IMPOSSIBLE IN

 8       EVERY CASE.    MR. HARVEY HAS DONE IT.      NOT FOR A WHILE, I

 9       GUESS.   MR. HARVEY HAS DONE IT.      HE MADE A BIT OF -- IN

10       THE VIEW OF SOME OFFICE HOLDERS -- A NUISANCE OF HIMSELF

11       DOING IT.

12                        MR. MAAZEL:     AND LOOK, IN THE STATEWIDE

13       RACE, JUST THE $50 FEE PER PETITION IS ALREADY A HALF

14       MILLION DOLLARS.     THE RECORD ESTABLISHES THAT COURTS ARE

15       REQUIRING THE FILING OF 9,158 LAWSUITS TO BRING THESE

16       COURT-ORDERED RECOUNTS.       AND THEY ARE IMPOSING FILING

17       FEES OF 2 AND $300.     THOSE FEES ARE MORE LIKE

18       TWO-AND-A-HALF OR $3 MILLION.

19                        IN THE 3RD CIRCUIT CASE --

20                        THE COURT:     ARE YOU EQUATING, IF

21       PENNSYLVANIA LAW SAID THAT ONLY CAUCASIANS COULD SEEK A

22       RECOUNT, I COULD SEE HOW YOU WOULD SAY THAT WOULD

23       VIOLATE EQUAL PROTECTION.       YOU ARE EQUATING THAT WITH

24       PENNSYLVANIA SAYING THE 67 COUNTIES ARE GOING TO

25       DETERMINE THEIR OWN RECOUNT PROCEDURES AND ENFORCE THEIR
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 1       OWN RECOUNT PROCEDURES RESULTING IN A PATCHWORK OF 67

 2       DIFFERENT PROCEDURES -- SETS OF PROCEDURES.         ARE YOU

 3       -- THAT IS WHAT I'M HEARING YOU SAY.        YOU ARE SAYING

 4       THAT DISCRIMINATION ON THE BASIS OF RACE OF A RIGHT ONCE

 5       STATUTORILY AFFORDED IS THE SAME AS DISCRIMINATION ON

 6       THE BASIS OF COUNTY OF RESIDENCE?

 7                         MR. MAAZEL:    WELL, IT'S ONLY THE SAME IN

 8       THE SENSE THAT THEY BOTH INVOLVE EQUAL PROTECTION

 9       CLAUSE.   BUT IT'S NOT JUST BASED ON THE COUNTY OF

10       RESIDENCE.    IT'S THE OVERALL BURDEN PLACED ON VOTERS TO

11       BE ABLE TO EXERCISE --

12                         THE COURT:    HAVE YOU EVER DRIVEN THROUGH

13       A SPEED TRAP WHERE YOU GO THROUGH ONE TOWNSHIP AND THE

14       SPEED LIMIT IS 20 MILES AN HOUR, YOU GO THROUGH ANOTHER

15       TOWNSHIP AND IT'S 25 MILES AN HOUR, THEN YOU GO BACK TO

16       ANOTHER TOWNSHIP AND IT'S 20 MILES AN HOUR AGAIN, AND

17       IT'S THAT SECOND -- THIRD TOWNSHIP THAT ALL THE TICKETS

18       ARE HANDED OUT?     IS THAT SOMEHOW IRRATIONAL BECAUSE EACH

19       COUNTY DECIDES THIS IS HOW FAST WE WANT PEOPLE TO DRIVE

20       IN OUR TOWNSHIP?

21                         MR. MAAZEL:    IT'S NOT QUITE MY ARGUMENT,

22       YOUR HONOR.    MY ARGUMENT IS THAT WHEN YOU ADD UP ALL THE

23       BURDENS ON VOTERS IN PENNSYLVANIA, THOSE VOTERS -- THOSE

24       BURDENS COLLECTIVELY SO BURDEN THE RIGHT TO MAKE SURE

25       THAT YOUR VOTE COUNTED THAT IT VIOLATES THESE THREE
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 1       CLAUSES OF THE CONSTITUTION.

 2                        AND I WOULD JUST LOOK AT THE THIRD

 3       CIRCUIT CASE IN BELITSKUS WHERE CANDIDATES WERE CHARGED

 4       A FILING FEE OF BETWEEN 5 AND $100, AND THE THIRD

 5       CIRCUIT SAID, AND I QUOTE, THAT CLEARLY VIOLATES THE

 6       EQUAL PROTECTION CLAUSE.       A FILING FEE OF 5 TO $100.        I

 7       MEAN THAT IS A WALK IN THE PARK COMPARED TO OUR CASE.

 8       THE HOOPS THAT VOTERS HAVE TO GO THROUGH TO JUST ATTEMPT

 9       TO SEE IF THEIR VOTE COUNTED ARE FAR GREATER.          I MEAN,

10       IT'S IN A WHOLLY DIFFERENT CATEGORY FROM EVEN THE

11       BELITSKUS CASE WHERE THE THIRD CIRCUIT SAID IT WAS A

12       CLEAR VIOLATION AND THAT THAT 5 TO $100 FEE WAS A,

13       QUOTE, SEVERE BURDEN.

14                        SO JUST THE LAST WORD I WANT TO ADDRESS

15       AND I DO WANT TO RESERVE A LITTLE BIT OF TIME.

16                        THE COURT:     YOU WANTED TO RESERVE

17       15 MINUTES.    THAT IS WHAT YOU'VE GOT LEFT.

18                        MR. MAAZEL:     I WILL TRY TO WRAP UP HERE,

19       YOUR HONOR.

20                        THE COURT:     IT'S YOUR 15 MINUTES.

21                        MR. MAAZEL:     THE LAST BURDEN REALLY IS

22       UNIQUE TO DRE'S AND THAT IS THAT BECAUSE THERE ARE NO

23       PAPER BALLOTS THERE IS NO WAY TO EXAMINE THEM.          AND THE

24       ONLY WAY TO EXAMINE IF THE MACHINES ARE COMPROMISED IS

25       THROUGH A FORENSIC EXAMINATION.       THE STATE SAYS AT PAGE
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 1       8 OF THEIR BRIEF THAT NO ONE DOES THAT FORENSIC

 2       EXAMINATION, NEITHER THE COUNTY BOARDS AND NOT VOTERS

 3       AND NOT CANDIDATES, THAT NO ONE HAS THAT RIGHT.          AND

 4       THAT REALLY IS THE WAY TO MAKE SURE THAT YOUR VOTE

 5       COUNTED IN A DRE DISTRICT WHERE THERE IS NO PAPER

 6       BALLOT.

 7                         I JUST WANT TO SAY ONE BRIEF THING ABOUT

 8       REMEDY AND THEN I WILL STOP FOR NOW.        AND THAT IS THAT

 9       THE REMEDY WE ARE SEEKING IS REALLY NOT ON THE

10       PRELIMINARY INJUNCTION MOTION WHAT THE DEFENDANTS

11       DESCRIBE.     WE ARE SIMPLY SEEKING TWO THINGS.      ONE IS A

12       FORENSIC EVALUATION OF THE DRE CENTRAL COMPUTER SYSTEM

13       IN SIX COUNTIES, AND WE NAMED THEM IN DR. HALDERMAN'S

14       DECLARATION, ONE COUNTY PER EACH OF THE SIX DRE SYSTEMS

15       USED IN THE STATE.     THAT'S AN EXAMINATION THAT CAN TAKE

16       PLACE IN ONE TO TWO DAYS.      IT'S JUST COPYING A HARD

17       DRIVE.    IT IS DONE IN CIVIL DISCOVERY ALL THE TIME.

18       IT'S FORENSIC IMAGING.      IT CAN BE DONE AT THE EXPENSE OF

19       THE STEIN CAMPAIGN.     IT CAN BE DONE UNDER THE

20       SUPERVISION OF A COUNTY BOARD.       IT CAN BE WRAPPED UP BY

21       MONDAY.     THERE IS NO REASON WHY THIS CAN'T BE DONE BY

22       MONDAY.     SO THERE IS REALLY NO TIMING ISSUE.      AND THEN

23       AS TO -- IT WOULD NOT AFFECT A SINGLE VOTE, BY THE WAY,

24       IN THE SENSE THAT IT WOULD NOT TOUCH A DRE MACHINE.

25                         AND THE OTHER RELIEF, WE'VE ASKED FOR A
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 1       MANUAL RECOUNT IN OPTICAL SCAN COUNTIES.          AND REALLY

 2       WHAT WE WOULD REQUEST, I THINK GIVEN THE EXIGENCIES OF

 3       TIME, IS SIMPLY A RECOUNT OF ONE PRECINCT IN EACH OF THE

 4       19 OPTICAL SCAN COUNTIES THAT HAVE NOT HAD A RECOUNT.

 5       AND THAT CAN BE DONE -- I MEAN, ONE PRECINCT, YOU CAN DO

 6       THAT COUNT IN TWO HOURS.       IF THAT WERE DONE EVEN

 7       TOMORROW, EACH COUNTY SPENDING TWO HOURS DOING THAT SORT

 8       OF A COUNT, WE WOULD HAVE A CROSS CHECK AGAINST THE

 9       MACHINES.    SO WE WOULD HAVE A MUCH BETTER SENSE, DID THE

10       OPTICAL SCAN MACHINES WORK OR NOT?

11                        SO WITH THAT I WILL STOP FOR NOW, AND I

12       THANK YOUR HONOR FOR THE TIME AND LOOK FORWARD TO THE

13       END OF THE PRESENTATION.

14                        THE COURT:     MS. UNGER, MR. JOEL.

15                        MR. JOEL:     YES, YOUR HONOR.     I THINK WHAT

16       I WOULD LIKE TO DO, IF POSSIBLE, IS RESERVE FIVE MINUTES

17       OF MY 45 AT THE END FOR SORT OF A CLOSING AND AN

18       ARGUMENT AND GET RIGHT INTO OUR WITNESSES, IF THAT'S

19       OKAY.

20                        THE COURT:     OKAY.

21                        MR. JOEL:     WE WOULD CALL DR. SHAMOS.

22                        THE COURT:     MR. MAAZEL, I WANT TO BE

23       CLEAR, IF DR. HALDERMAN STAYS IN THE COURTROOM DURING

24       THIS TESTIMONY, I'M NOT GOING TO LET YOU CALL HIM AGAIN.

25                        MR. MAAZEL:     THAT WAS NOT MY INTENTION,
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 1       YOUR HONOR.

 2                         THE COURT:     OKAY.

 3                         PLEASE SWEAR THE WITNESS.

 4                         MICHAEL SHAMOS, DEFENSE WITNESS, SWORN.

 5                         THE CLERK:     STATE AND SPELL YOUR FULL

 6       NAME FOR THE RECORD.

 7                         THE WITNESS:     MICHAEL.     I-M-I-A-N.

 8       S-H-A-M-O-S.

 9                         DIRECT EXAMINATION

10       BY MR. JOEL:

11       Q.       GOOD AFTERNOON, DR. SHAMOS.          WHAT IS YOUR

12       CURRENT POSITION?

13       A.       MY CURRENT POSITION IS -- I HAVE THE TITLE OF

14       DISTINGUISHED CAREER PROFESSOR IN THE SCHOOL OF COMPUTER

15       SCIENCE AT CARNEGIE MELLON UNIVERSITY IN PITTSBURGH.

16       Q.       HOW LONG HAVE YOU DONE THAT?

17       A.       WELL, I HAVE BEEN AFFILIATED WITH CARNEGIE

18       MELLON SINCE 1975.

19       Q.       JUST BRIEFLY TELL US WHAT YOUR EDUCATION IS.

20       A.       WELL, I STARTED OUT IN PHYSICS AT PRINCETON, GOT

21       AN UNDERGRADUATE DEGREE IN PHYSICS.           THEN WENT TO VASSAR

22       COLLEGE WHILE I WAS WORKING FOR IBM, NEAR POUGHKEEPSIE,

23       NEW YORK.     GOT A MASTER'S IN PHYSICS.        THEN DURING

24       VIETNAM I SERVED AS AN OFFICER IN THE UNITED STATES

25       PUBLIC HEALTH SERVICE AT THE NATIONAL INSTITUTES OF
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 1       HEALTH IN BETHESDA, MARYLAND AND GOT A DEGREE IN

 2       TECHNOLOGY OF MANAGEMENT FROM AMERICAN UNIVERSITY.

 3                        THEN I WENT TO YALE UNIVERSITY, WHICH HAD

 4       JUST STARTED A COMPUTER SCIENCE DEPARTMENT.         I WAS THERE

 5       BETWEEN 1972 AND 1975.       I GOT THREE DEGREES DURING THAT

 6       TIME.   AND ULTIMATELY GOT A PH.D. FROM YALE AND WAS

 7       HIRED BY CARNEGIE MELLON UNIVERSITY IN THEIR COMPUTER

 8       SCIENCE DEPARTMENT.     WHILE I WAS TEACHING THERE, I GOT A

 9       J.D. LAW DEGREE FROM DUQUESNE UNIVERSITY IN PITTSBURGH.

10                        MR. JOEL:     MAY I APPROACH, YOUR HONOR?

11                        THE COURT:     BEG YOUR PARDON?

12                        MR. JOEL:     MAY I APPROACH THE WITNESS?

13                        THE COURT:     SURE.

14       BY MR. JOEL:

15       Q.       DR. SHAMOS, IN THE INTEREST OF TIME, TO TRY TO

16       EXPEDITE SOME OF THIS, IS YOUR CV IN THAT PACKET THAT I

17       JUST GAVE YOU, WHICH HAS BEEN MARKED AS D 5?

18                        THE COURT:     I HAVE NOT SEEN THIS BEFORE,

19       BUT I HAVE TAKEN A QUICK LOOK AT IT AND I HAVE HEARD DR.

20       SHAMOS'S TESTIMONY.     IS THERE ANY OBJECTION TO MY

21       QUALIFYING -- JUST TO SAVE TIME, TO MY QUALIFYING THE

22       DOCTOR AS AN EXPERT IN WHAT FIELD, DOCTOR?

23                        THE WITNESS:     THE FIELD IS ELECTRONIC

24       VOTING AND PARTICULARLY THE ELECTRONIC VOTING PROVISIONS

25       OF THE PENNSYLVANIA ELECTION CODE.
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 1                          THE COURT:     ANY OBJECTION?

 2                          MR. TABAS:     NO OBJECTION, YOUR HONOR.

 3                          MS. FRICK:     WE WOULD OBJECT IF HE IS

 4       TRYING TO BE QUALIFIED IN THE FIELDS OF CYBER SECURITY

 5       OR COMPUTER SECURITY BUT....

 6                          THE COURT:     I'M SORRY.   YOUR NAME IS --

 7                          MS. FRICK:     I'M SORRY.   MY NAME IS ALISON

 8       FRICK FOR PLAINTIFFS.

 9                          THE COURT:     MS. FRICK.

10                          DOCTOR, WOULD YOU AGAIN SAY WHAT IT IS,

11       YOU ARE QUALIFIED AS AN EXPERT IN ELECTRONIC VOTING AND

12       IN THE PENNSYLVANIA ELECTION CODE?

13                          THE WITNESS:     IN THE ELECTRONIC VOTING

14       PROVISIONS OF THE PENNSYLVANIA ELECTION CODE.

15                          THE COURT:     THAT IS ALL HE IS BEING

16       QUALIFIED IN.      IS THERE ANY OBJECTION?

17                          MS. FRICK?     THERE IS NO OBJECTION.

18                          THE COURT:     VERY WELL.   HE WILL BE SO

19       QUALIFIED.      PLEASE CONTINUE.

20                          MR. JOEL:    THANK YOU, YOUR HONOR.

21       BY MR. JOEL:

22       Q.       JUST TO HIGHLIGHT ONE ASPECT, DR. SHAMOS, WERE

23       YOU A STATUTORILY ASSIGNED EXAMINER FOR THE COMMONWEALTH

24       OF PENNSYLVANIA AS IT RELATES TO OUR VOTING MACHINES?

25       A.       YES.     BEGINNING IN 1980 WITH THE PASSAGE OF THE
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 1       ELECTRONIC VOTING SECTION OF THE ELECTION CODE, THE

 2       SECRETARY OF THE COMMONWEALTH WAS REQUIRED TO NAME THREE

 3       EXAMINERS PURSUANT TO STATUTE TO EXAMINE VOTING SYSTEMS

 4       SUBMITTED FOR CERTIFICATION IN PENNSYLVANIA.         I WAS ONE

 5       OF THOSE EXAMINERS FOR -- CONTINUOUSLY FOR THE FIRST

 6       20 YEARS, FROM 1980 TO 2000.       AND THEN LATER ON I DID IT

 7       AGAIN FOR FIVE YEARS.

 8       Q.       AND IN CONNECTION WITH YOUR WORK, HAVE YOU HAD

 9       THE OPPORTUNITY TO STUDY AND EXAMINE THE VARIOUS DRE'S

10       THAT ARE IN USE WITHIN THE COMMONWEALTH?

11       A.       YES.    I HAVE EXAMINED ALL OF THE DIFFERENT

12       ELECTRONIC VOTING SYSTEMS THAT ARE USED IN PENNSYLVANIA,

13       INCLUDING BOTH DRE'S AND OPTICAL SCANNERS.

14       Q.       WERE YOU INVOLVED -- ARE YOU FAMILIAR WITH THE

15       CASE, THE BANFIELD CASE.

16       A.       VERY.

17       Q.       WERE YOU INVOLVED IN THAT AS AN EXPERT?

18       A.       YES, I WAS.

19       Q.       JUST BRIEFLY WHAT WAS THE RESULT OF THAT AND

20       WHAT WAS YOUR ROLE?

21       A.       WELL, THE ALLEGATION WAS MADE THAT THE VOTING

22       SYSTEMS USED IN PENNSYLVANIA ARE SO INSECURE THAT THEY

23       DEPRIVE PENNSYLVANIA VOTERS OF THEIR CONSTITUTIONAL

24       RIGHT TO HAVE THEIR VOTES BE COUNTED.        AND I WAS AN

25       EXPERT FOR THE COMMONWEALTH, AND WE SUCCESSFULLY
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 1       RESISTED THAT ACCUSATION.

 2       Q.       AND DID THAT CASE GO ON FOR SOME TIME?

 3       A.       IT WENT ON FOR A VERY LONG TIME, ULTIMATELY MADE

 4       IT TO THE SUPREME COURT OF PENNSYLVANIA.

 5       Q.       IN ADDITION TO THE BANFIELD CASE, AM I CORRECT

 6       THAT YOU TESTIFIED AS AN EXPERT SEVERAL TIMES WITH

 7       REGARDS TO ELECTRONIC VOTING MACHINES?

 8       A.       MULTIPLE TIMES, THAT'S CORRECT.        IN TWO KINDS OF

 9       CASES, SOME PATENT CASES, AND OTHERS SIMILAR TO THIS ONE

10       IN WHICH THE CHALLENGE WAS BEING RAISED AGAINST THE USE

11       OF ELECTRONIC VOTING.

12       Q.       LET'S GET RIGHT TO THAT THEN.       HAVE YOU HAD AN

13       OPPORTUNITY TO REVIEW THE EXPERT DECLARATIONS AND

14       AFFIDAVITS PROVIDED BY THE PLAINTIFFS IN THIS CASE?

15       A.       YES, I REVIEWED ALL OF THEM.

16       Q.       AND HOW ABOUT THE COMPLAINT THAT THEY FILED AND

17       THE FACTUAL ALLEGATIONS AND THAT SORT OF STUFF?

18       A.       I'VE REVIEWED ALL OF THE FILINGS IN THIS CASE

19       EXCEPT THE MOTIONS FOR PRO HAC ADMISSION.

20       Q.       VERY GOOD.

21                        THE COURT:    YOU REALLY DENIED YOURSELF A

22       REAL TREAT.

23                        MR. JOEL:    THERE WERE A LOT OF THOSE.

24       BY MR. JOEL:

25       Q.       ARE YOU AWARE -- BASED ON THAT REVIEW OF THE
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 1       SCENARIOS THAT PLAINTIFFS ARE POSITING AS IT RELATES TO

 2       WHY THEY BELIEVE THAT MALWARE CAN BE PUT ON A MACHINE

 3       AND THAT SORT OF STUFF?

 4       A.       YES, I'M FAMILIAR WITH THEM.         I DON'T KNOW WHAT

 5       WAS TESTIFIED TO TODAY BUT....

 6       Q.       I UNDERSTAND THAT.      SO LET ME TICK THROUGH --

 7       YOU ARE AWARE WHAT THEY PUT FORWARD IN THEIR AFFIDAVITS

 8       BECAUSE YOU READ THOSE?

 9       A.       YES.

10       Q.       SO IS IT YOUR UNDERSTANDING THAT ONE OF THOSE

11       SCENARIOS IS THAT MALWARE COULD BE PUT ON THE VOTING

12       MACHINES AND THEN I GUESS REMAIN AFTER THE FACT?

13       A.       YES, THAT IS ONE OF THE SCENARIOS.

14       Q.       DO YOU HAVE AN OPINION AS TO WHETHER OR NOT

15       THAT, GIVEN YOUR KNOWLEDGE OF THE ELECTRONIC VOTING

16       MACHINES, THE DRE'S IN THE COMMONWEALTH, DO YOU HAVE AN

17       OPINION AS TO WHETHER OR NOT THAT IS LIKELY OR EVEN

18       POSSIBLE?

19                         MS. FRICK:     OBJECTION, YOUR HONOR.    HE

20       HAS NOT BEEN --

21                         THE COURT:     OVERRULED.

22                         THE WITNESS:     YES, I DO.

23       BY MR. JOEL:

24       Q.       DO YOU HOLD THAT OPINION TO A REASONABLE DEGREE

25       OF CERTAINTY IN YOUR FIELD?
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 1       A.       YES.

 2       Q.       WHAT IS THAT OPINION?

 3       A.       OKAY.   SO LET'S BE VERY SPECIFIC ABOUT THIS.

 4                        IF YOU GET A MACHINE OF ANY KIND INTO A

 5       LABORATORY AND YOU ARE ALLOWED UNFETTERED ACCESS TO IT,

 6       YOU CAN PLAY AROUND WITH IT AND HACK IT, YOU CAN BREAK

 7       INTO ANYTHING.    THE QUESTION IS WHETHER THE SAME KINDS

 8       OF MANIPULATIONS WOULD BE POSSIBLE OR PRACTICAL IN A

 9       REAL ELECTION GIVEN THE WAY THE VOTING MACHINES ARE

10       STORED, PREPARED FOR USE, TESTED, AND TABULATIONS DONE

11       AND I DON'T THINK IT'S POSSIBLE.

12       Q.       PLEASE EXPLAIN WHY NOT.

13       A.       OKAY.   SO IF THERE IS MALWARE THAT IS PRESENT ON

14       A MACHINE BEFORE THE ELECTION, THEN WHEN WE TRY TO TEST

15       THE MACHINE TO DETERMINE WHETHER OR NOT IT'S GOING TO

16       COUNT VOTES CORRECTLY, IT SHOULD FAIL.        AFTER THE

17       ELECTION, IT SHOULD ALSO FAIL.       IF IT IS THE TYPE OF

18       MALWARE THAT IS SENSITIVE TO TIME, THAT IS IT LOOKS AT

19       THE CLOCK THAT IS ON THE VOTING MACHINE AND SO THAT IT

20       ONLY BEHAVES IMPROPERLY DURING THE ELECTION, THEN THAT

21       KIND OF BEHAVIOR CAN BE TESTED THROUGH A PROCESS CALLED

22       PARALLEL TESTING AND RULED OUT.

23                        FURTHERMORE, IF THE MALWARE REMAINS ON

24       THE MACHINE AFTER THE ELECTION, THEN IT'S SIMPLICITY

25       ITSELF TO DETERMINE IF THE MALWARE IS STILL THERE BY
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 1       COMPARING WHAT'S REFERRED TO AS THE HASH FUNCTION OF THE

 2       SOFTWARE WITH RECORDED AND STORED HASH FUNCTIONS IN

 3       GOVERNMENTAL LIBRARIES.

 4       Q.       AND AS IT RELATES TO THE ABILITY TO PUT THIS

 5       MALWARE ON THE CENTRALIZED COMPUTER WHERE THE ELECTION

 6       SYSTEM INFORMATION IS STORED?

 7       A.       YES.    BUT LET ME FINISH THE PREVIOUS ANSWER.

 8       Q.       SURE.   I'M SORRY.    GO AHEAD.

 9       A.       BECAUSE WE WERE TALKING ABOUT THE POSSIBILITY OF

10       INFECTING ONE MACHINE.      IT TAKES TIME TO DO THAT.      IT

11       TAKES ACCESS TO THE MACHINE.       ONE HAS TO BREAK SEALS, DO

12       THINGS TO THE MACHINE AND THEN APPLY COUNTERFEIT SEALS

13       BACK TO THE MACHINE IN SUCH A WAY THAT NOBODY NOTICES

14       WHAT IS GOING ON.     AND TO DO THIS TO ANY SIGNIFICANT

15       NUMBER OF MACHINES REQUIRES AN INCREDIBLY LONG TIME.             I

16       DID A CALCULATION EARLIER THIS YEAR AND FOUND THAT IT

17       WOULD TAKE FOUR MONTHS TO DO IT FOR THE DRE MACHINES

18       THAT ARE USED IN MY COUNTY, ALLEGHENY COUNTY.          NOBODY

19       HAS UNFETTERED ACCESS TO THE MACHINE WAREHOUSE FOR FOUR

20       MONTHS WITHOUT BEING OBSERVED.

21                         NOW, THE NEXT QUESTION ABOUT THE

22       CENTRAL -- ABOUT THE CENTRAL COMPUTERS.         SO BY CENTRAL

23       COMPUTER WE MEAN A MACHINE THAT IS OPERATED BY A COUNTY

24       AND IS USED PRIMARILY FOR THE PURP -- ACTUALLY FOR

25       SEVERAL PURPOSES.     ONE IS TO MAINTAIN A DATABASE OF THE
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 1       VARIOUS BALLOT STYLES THAT ARE GOING TO BE USED AT THE

 2       POLLING PLACES IN THAT PRECINCT.       ANOTHER THING THAT IT

 3       DOES IS, IT MAINTAINS TYPICALLY TABULATION SOFTWARE SO

 4       THAT THE RESULTS OF THE ELECTION CAN BE TABULATED IN A

 5       CENTRALIZED PLACE SO OVERALL TOTALS CAN BE OBTAINED.

 6                         THOSE MACHINES, THEY ARE OPERATED UNDER

 7       DIFFERENT PROTOCOLS AND PROCESSES IN THE DIFFERENT

 8       COUNTIES IN THE STATE.      BUT TYPICALLY THE CENTRAL

 9       ELECTION MACHINE IS DEDICATED SOLELY TO THAT PURPOSE AND

10       IS ONLY TURNED ON A FEW TIMES A YEAR.        IT'S NEVER

11       CONNECTED TO THE INTERNET.      AND IT'S NEVER USED FOR ANY

12       OTHER PURPOSE, UNDERSTANDING THAT THE SOFTWARE THAT RUNS

13       ON THE VOTING MACHINES THEMSELVES DOES NOT COME FROM

14       THAT COMPUTER.     AND FURTHERMORE, THE TABULATIONS OF

15       THOSE COMPUTERS DO UNOFFICIAL ONLY, AND THEY ARE USED

16       FOR REPORTING TO THE PRESS ON ELECTION NIGHT.          THEY ARE

17       NOT USED TO DETERMINE WHO THE WINNER OF AN ELECTION IS.

18       Q.        AND WHAT IS A PEB?

19       A.        PEB IS AN ABBREVIATION FOR PORTABLE ELECTRONIC

20       BALLOT.     IT'S A CARTRIDGE ABOUT THE SIZE OF A PACK OF

21       CIGARETTES THAT IS USED WITH THE IVOTRONIC VOTING

22       MACHINES.     WHEN A VOTER PRESENTS THEMSELVES AT THE

23       POLLING PLACE AND ASKS TO VOTE, IF -- AFTER THEY SIGN

24       IN, THEY ARE ESCORTED TO ONE OF THE MACHINES BY A POLL

25       WORKER.     THE POLL WORKER HAS ONE OF THESE PEB'S THAT HAS
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 1       THE APPROPRIATE BALLOT STYLE FOR THAT PARTICULAR

 2       ELECTION THAT THE VOTER IS QUALIFIED TO VOTE IN.           FOR

 3       PRESIDENTIAL ELECTION, EVERYONE GETS THE SAME ONE.            BUT

 4       FOR PRIMARIES, FOR EXAMPLE, YOU CAN ONLY VOTE IN THE

 5       PRIMARY FOR WHICH YOU ARE A REGISTERED VOTER.          SO A

 6       DEMOCRAT WOULD GET A DIFFERENT PEB THAN THE REPUBLICAN

 7       WOULD.   THE VOTER DOES NOT TOUCH THESE.        THEY ARE

 8       INSERTED IN THE MACHINE.      THEY CONTAIN -- IN THAT USAGE

 9       THEY ONLY CONTAIN DATA, TELLING THE NAMES OF THE

10       CANDIDATES, THE PARTIES THEY ARE AFFILIATED WITH AND

11       FUNDAMENTALLY GRAPHIC INFORMATION ABOUT HOW THE BALLOT

12       IS TO APPEAR ON THE SCREEN.

13       Q.       THERE IS NO SOFTWARE ON THOSE?

14       A.       WELL, THEY HAVE SOFTWARE ON THEM BECAUSE THEY

15       HAVE TO INTERACT WITH THE MACHINE BUT THEY DON'T HAVE

16       SOFTWARE THAT IS THEN UPLOADED TO THE MACHINE.

17                        THE COURT:    WHEN I GO TO VOTE IN

18       PHILADELPHIA, FOR INSTANCE, I HAVE NOTICED IN -- WHEN I

19       WAIT ON LINE IN THE PRIMARY, THE PEOPLE AT THE POLL WILL

20       CALL OUT A POLITICAL PARTY OF THE VOTER PRESUMABLY, AND

21       SOMEBODY WILL PULL ALMOST WHAT LOOKS LIKE AN INK

22       CARTRIDGE OUT OF THE MACHINE AND INSERT ANOTHER ONE.

23       THEN WHEN THE PARTY CHANGES, THEY WILL PULL OUT THE INK

24       CARTRIDGE AND INSERT THE FIRST ONE.        IS THAT WHAT YOU

25       ARE TALKING ABOUT?
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 1                         THE WITNESS:     THAT'S RIGHT.   IT'S

 2       DIFFERENT IN PHILADELPHIA THAN IT IS IN PITTSBURGH.

 3                         THE COURT:     ALWAYS.

 4                         THE WITNESS:     THE CONCEPT IS THE SAME.

 5       BY MR. JOEL:

 6       Q.         AND WHEN WE -- WHEN WE ARE TALKING ABOUT THE

 7       CENTRALIZED COMPUTER AND THE PEB'S, WHEN WE ARE ON --

 8       WHEN THE MACHINES ARE OPENED, IS THERE THE ABILITY TO

 9       HAVE THAT MACHINE ACCEPT NEW SOFTWARE?

10       A.         WELL, YOU MEAN OPEN FOR VOTING?

11       Q.         YES.

12       A.         THE POLLS BEING OPEN, NO.

13                         SO THE CENTRAL COMPUTER IS WHERE I SAID

14       EARLIER IS THE DATABASE OF ALL OF THE CANDIDATES AND

15       OFFICES AND QUESTIONS, WHATEVER IS GOING TO BE ON THE

16       BALLOTS IN ANY OF THE POLLING PLACES IN THAT COUNTY,

17       THEY ARE GOING TO BE IN A DATABASE ON THE CENTRAL

18       MACHINE.     THE CENTRAL MACHINE IS THEN USED TO MAKE -- TO

19       PUT THAT DATA ONTO PEB'S WHICH ARE THEN DISTRIBUTED TO

20       THE POLLING PLACES SO THEY HAVE THE APPROPRIATE BALLOT

21       STYLES.    THAT IS ONE USE OF THE PEB'S.

22                         ANOTHER USE OF THE PEB'S IS ALSO TO

23       DISTRIBUTE NEW VERSIONS OF SOFTWARE.        WHEN THERE IS A

24       MAINTENANCE RELEASE, FOR EXAMPLE, THAT HAS BEEN APPROVED

25       BY THE SECRETARY OF THE COMMONWEALTH, THE WAY THAT IS
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 1       INSTALLED IN THE DIFFERENT VOTING MACHINES IS TO OPEN

 2       THEM UP IN A DIFFERENT MODE THAN IS USED DURING THE

 3       ELECTION, THEY ARE OPENED IN MAINTENANCE MODE.          THEN THE

 4       PEB IS INSERTED AND IT OVERWRITES THE SOFTWARE THAT IS

 5       ON THE MACHINE.     THIS CANNOT BE DONE DURING AN ELECTION

 6       BECAUSE WHEN THE POLLS HAVE BEEN OPENED, IT WILL NOT GO

 7       INTO THE MODE THAT ALLOWS NEW SOFTWARE TO BE UPLOADED.

 8       ONE WOULD HAVE TO CLOSE THE POLLS.        AND WHEN YOU CLOSE

 9       THE POLLS, OF COURSE A TOTALS TAPE IS PRODUCED.          I'M

10       IMAGINING A SCENARIO IN WHICH A VOTER WALKS INTO A

11       POLLING PLACE WITH ONE OF THESE -- A FORGED PEB IN HIS

12       POCKET WITH THE INTENTION OF CHANGING THE SOFTWARE ON

13       THE VOTING MACHINE.     IN ORDER TO MAKE THAT WORK, HE

14       WOULD TO HAVE CLOSE THE POLLS AND CAUSE THAT TOTALS TAPE

15       TO BE PRODUCED.     THEN HE WOULD HAVE TO OPEN THE POLLS.

16       AND WHEN HE OPENS THE POLLS, THERE IS ANOTHER TAPE THAT

17       IS PRODUCED CALLED A ZERO TAPE TO PROVE THAT THERE ARE

18       NO VOTES ON THE MACHINE.      THAT TAPE HAS TO BE SIGNED BY

19       THE JUDGES OF ELECTION.      SO THERE IS NO CONCEIVABLE WAY

20       THAT A VOTER HIMSELF COULD DO ANYTHING LIKE THIS BECAUSE

21       HE IS NOT THE JUDGE OF ELECTION.       WE ARE GOING TO NOTICE

22       IF IN THE MIDDLE OF AN ELECTION, THE VOTING MACHINE

23       STARTS PRINTING ITS TOTALS TAPE.

24       Q.       MOVING ON TO ANOTHER SCENARIO, THIS SUPER

25       SOPHISTICATED MALWARE THAT WILL DISAPPEAR AT THE END.
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 1       DO YOU HAVE AN OPINION AS TO WHETHER THE DRE'S AND THE

 2       OTHER VOTING MACHINES IN THE COMMONWEALTH ARE -- WHETHER

 3       THAT IS A LIKELY SCENARIO OR A POSSIBLE SCENARIO TO HAVE

 4       HAPPEN --

 5       A.       YES.

 6       Q.       -- TO ALTER AN ELECTION?

 7       A.       I DO.

 8                        MS. FRICK:    OBJECTION, YOUR HONOR.      THIS

 9       GOES BEYOND THE SCOPE OF HIS EXPERTISE.

10                        THE COURT:    OVERRULED.

11       BY MR. JOEL:

12       Q.       DO YOU HAVE THAT OPINION WITHIN A REASONABLE

13       DEGREE OF CERTAINTY IN YOUR FIELD?

14       A.       YES.

15       Q.       WHAT'S YOUR OPINION?

16       A.       THIS SCENARIO WAS DREAMED UP SOMEWHERE AROUND

17       TEN YEARS AGO.    IT CAME UP FIRST IN -- AT THE OFFICE OF

18       THE SECRETARY OF STATE OF CALIFORNIA.        AND I HAD A

19       CONFERENCE CALL WITH THE EXAMINERS FOR CALIFORNIA OVER

20       THIS VERY SCENARIO.     AND THEY ASKED ME WHETHER THERE WAS

21       ANY WAY OF PREVENTING IT OR AT LEAST DETECTING IT IF IT

22       OCCURRED.    AND THAT IS WHERE I BASICALLY DEVISED THE

23       METHOD NOW CALLED PARALLEL TESTING, IN WHICH A NUMBER OF

24       MACHINES WOULD BE SEQUESTERED DURING THE ELECTION.          THEY

25       WOULD BE OPENED AS NORMAL AS IF THEY WERE GOING TO BE
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 1       VOTED ON BY REAL VOTERS.      BUT INSTEAD OF BEING VOTED ON

 2       BY REAL VOTERS, THEY WOULD BE VOTED ON BY COUNTY

 3       EMPLOYEES FOLLOWING A PARTICULAR SCRIPT OF EXACTLY WHOM

 4       SHOULD BE VOTED FOR.     AND THE IDEA IS WE WOULD KNOW IN

 5       ADVANCE WHAT THE TOTALS WOULD BE IF THOSE BALLOTS WERE

 6       CAST THAT WAY.    AND THEN DURING THE ELECTION, ALL DAY

 7       LONG, UNTIL THE POLLS CLOSE, THE COUNTY EMPLOYEES VOTE

 8       ON THESE MACHINES.     AND AT THE END, WHAT WE'LL DO IS WE

 9       WILL PRINT THE TOTALS TAPE.       NOW LET'S SUPPOSE THERE WAS

10       MALWARE IN THERE THAT ERASED ITSELF AT THE CLOSE OF

11       POLLS SO WE CAN'T DO A FORENSIC EXAMINATION AND

12       DETERMINE WHETHER OR NOT THAT PARTICULAR SOFTWARE IS IN

13       THERE.   UNLESS -- IF THE MALWARE WERE GOING TO BE

14       SWAPPING VOTES, THEN WE WOULD GET THE WRONG TOTALS.

15                        I HAVE ALSO CHALLENGED MY COLLEAGUES WHO

16       HAVE COME UP WITH THIS SCENARIO, TO WRITE DOWN, SHOW ME

17       A SOFTWARE ARCHITECTURE THAT WOULD ACTUALLY PERMIT THIS

18       TO BE DONE.    WHAT THEY SAY IS ESSENTIALLY WE DON'T HAVE

19       TO DO THAT.    ALL WE HAVE TO DO IS HAVE YOU PROVE TO US

20       THAT IT CAN'T BE DONE.      AND ONE OF THE THINGS YOU WOULD

21       HAVE TO DO OF COURSE IS YOU CAN'T WILLY-NILLY MOVE VOTES

22       FROM ONE PARTY OR ONE CANDIDATE TO ANOTHER AT WILL.              THE

23       REASON IS THAT TREMENDOUS SUSPICION WOULD BE RAISED

24       IMMEDIATELY IF THE VOTES WERE SUFFICIENTLY OUT OF WHACK

25       IN A PARTICULAR PRECINCT EVEN, LET ALONE A COUNTY.
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 1       WHICH MEANS THAT THIS SUPER WONDERFUL MALWARE HAS TO

 2       HAVE WITHIN IT A DATABASE OF ALL OF THE PRECINCTS IN

 3       PENNSYLVANIA AND KNOW EXACTLY AS OF ELECTION DAY HOW

 4       MUCH IT'S POSSIBLE TO MOVE THE VOTE WITHOUT PEOPLE

 5       GETTING SUSPICIOUS.     AS WE KNOW FROM POLLING WHETHER OR

 6       NOT SOMEONE IS LIKELY TO WIN THE ELECTION, THE

 7       ASSESSMENT OF THAT CHANGES TREMENDOUSLY DURING THE DAYS

 8       LEADING UP TO THE ELECTION.       SO IF THIS MALWARE IS

 9       SOMEHOW IMPLANTED IN THE MACHINE LONG IN ADVANCE OF THE

10       ELECTION, IT CAN'T POSSIBLY OPERATE PROPERLY.

11                        ANOTHER THING THAT I'VE CHALLENGED THEM

12       WITH, AND NOBODY HAS COME UP WITH AN ANSWER TO IT, IS TO

13       ACTUALLY SHOW ME THIS CODE THAT WE CANNOT DETECT AS

14       PRESENT IN THE MACHINE AFTER THE ELECTION.         WE CAN

15       CERTAINLY DETECT THAT IT IS PRESENT IN THE MACHINE

16       BEFORE THE ELECTION, BECAUSE IT HAS NOT HAD A CHANCE TO

17       ERASE ITSELF.    I CHALLENGED THEM AGAIN TO TELL ME HOW

18       ONE WOULD EVER INTRODUCE THIS MALWARE INTO A SUFFICIENT

19       NUMBER OF VOTING MACHINES TO CAUSE ANY REAL CHANGE IN

20       THE ELECTION.    NOBODY HAS EVER BEEN ABLE TO COME UP WITH

21       THAT.   NO ONE HAS EVER WRITTEN ABOUT IT EVEN.

22       Q.       YOU'VE MENTIONED A COUPLE OF TIMES LOGS AND

23       PRINTOUTS AND THINGS LIKE THAT.       AND I JUST WANT TO MAKE

24       SURE THAT THIS IS COVERED.      DO YOU UNDERSTAND ONE OF THE

25       POSITIONS THE PLAINTIFFS ARE TAKING IS THAT THE DRE'S
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 1       ARE PAPERLESS?

 2       A.       YES.    THE WORD IS USED FREQUENTLY AND

 3       PEJORATIVELY TO DESCRIBE ELECTRONIC VOTING MACHINES.

 4       Q.       ARE THESE ELECTRONIC VOTING MACHINES PAPERLESS?

 5       A.       THERE IS NOT A SINGLE PAPERLESS VOTING MACHINE

 6       IN PENNSYLVANIA, AND I DON'T KNOW OF ANY IN THE REST OF

 7       THE COUNTRY.     IN FACT, IT'S A REQUIREMENT OF THE

 8       PENNSYLVANIA ELECTION CODE THAT EVERY MACHINE BE CAPABLE

 9       OF MAINTAINING A PERMANENT PHYSICAL RECORD OF EVERY VOTE

10       CAST.   AND WE IN THE DEPARTMENT OF STATE, WHEN I WAS

11       DOING EXAMINATIONS, INTERPRETED PERMANENT PHYSICAL

12       RECORD TO MEAN PAPER OR ITS EQUIVALENT, NOT AN

13       ELECTRONIC RECORD IN FIRMWARE.

14       Q.       I WOULD LIKE TO TALK TO YOU ABOUT ANOTHER

15       SCENARIO POSITED, THE RUSSIANS HACKING OF THE DNC IN

16       ARIZONA AND ILLINOIS AND THAT THING.        DO YOU HAVE AN

17       OPINION AS TO THE LIKELIHOOD OF WHETHER THAT WOULD HAVE

18       HAPPENED?

19       A.       WELL, I'M NOT GIVING YOU AN OPINION ON WHETHER

20       THE RUSSIANS HACKED THE DNC OR NOT.        I THINK YOU ARE

21       ASKING ME WHETHER THE RUSSIANS COULD HAVE HACKED THE

22       VOTING SYSTEM OF PENNSYLVANIA.

23       Q.       SURE.

24       A.       AS FAR AS I KNOW, THE DNC DOES NOT RUN

25       PENNSYLVANIA ELECTIONS.      AS FAR AS I KNOW, THE SERVER
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 1       THAT WAS HACKED INTO AT THE DNC WAS AN E-MAIL SERVER.

 2       WE DON'T CONDUCT ELECTIONS IN PENNSYLVANIA VIA E-MAIL.

 3       SO NOBODY HAS TOLD ME IN THIS RUSSIAN HACK SCENARIO

 4       EXACTLY WHAT IT WOULD BE THAT THEY WOULD BE HACKING.

 5       THERE IS NOT A CENTRAL PLACE IN PENNSYLVANIA THAT HAS A

 6       COMPUTER THAT YOU COULD HACK THAT WOULD CHANGE THE

 7       OUTCOME OF AN ELECTION.        THERE ARE CENTRAL COMPUTERS

 8       THAT MAINTAIN RECORDS OF REGISTERED VOTERS.         THAT IS A

 9       DIFFERENT SCENARIO.

10       Q.         WHILE WE ARE TALKING ABOUT IT, IN PENNSYLVANIA,

11       IS IT YOUR UNDERSTANDING THAT THE ELECTION PROCESS IS

12       VERY DECENTRALIZED DOWN TO THE COUNTY AND EVEN PRECINCT

13       LEVEL?

14       A.         WELL, IT IS DECENTRALIZED IN MOST OF THE

15       COUNTRY.    ELECTIONS ARE CONDUCTED COUNTY BY COUNTY IN

16       THE UNITED STATES, AND I THINK THERE ARE ABOUT SOMETHING

17       LIKE 3,150 COUNTIES.

18                         MS. FRICK:     OBJECTION, YOUR HONOR.    THIS

19       GOES BEYOND THE SCOPE OF HIS EXPERTISE.

20                         THE COURT:     OVERRULED.

21                         THE WITNESS:     IN PENNSYLVANIA WE HAVE A

22       NUMBER OF DIFFERENT TYPES OF VOTING SYSTEMS COMING FROM

23       DIFFERENT MANUFACTURERS THAT ARE USED IN GEOGRAPHICALLY

24       DISPARATE PARTS OF THE STATE.

25                         THE COURT:     BEFORE YOU CONTINUE, I
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 1       APOLOGIZE.     JUST IN LIGHT OF MS. FRICK'S OBJECTIONS, I

 2       ASSUME YOU ARE MOVING TO ADMIT THE AFFIDAVIT OF DR.

 3       SHAMOS AND HIS REPORT?

 4                         MR. JOEL:    YES, YOUR HONOR.     I WAS GOING

 5       TO DO IT AT THE CLOSE OF HIS TESTIMONY, BUT, YES.

 6                         THE COURT:     I'M LARGELY OVERRULING YOUR

 7       OBJECTIONS, MS. FRICK, BASED ON WHAT I HAVE SEEN IN

 8       THESE DOCUMENTS.

 9                         GO ON, DOCTOR.     I APOLOGIZE.    THEY WILL

10       BE ADMITTED.

11                         THE WITNESS:     WHERE WERE WE?

12       BY MR. JOEL:

13       Q.       YOU WERE TALKING ABOUT THE DECENTRALIZED

14       NATURE --

15                         THE COURT:     ALL OVER -- LARGELY

16       DECENTRALIZED ALL OVER THE COUNTRY.

17                         THE WITNESS:     AND IT'S DECENTRALIZED ALSO

18       IN PENNSYLVANIA.     THERE IS NO CENTRAL PLACE THAT ONE

19       COULD ATTACK THAT WOULD INFECT THESE VARIOUS COMPLETELY

20       DIFFERENT VOTING SYSTEMS THAT ARE DISTRIBUTED BY TOTALLY

21       DIFFERENT MANUFACTURERS.       ONE WOULD HAVE TO ATTACK, IF

22       ANYTHING, THE INDIVIDUAL COUNTIES.        AS I SAID BEFORE,

23       WHAT YOU WOULD BE ATTACKING THERE, AND I'M NOT SURE HOW

24       YOU WOULD DO IT BECAUSE THEY ARE NOT CONNECTED TO THE

25       INTERNET.    BUT EVEN IF YOU WERE ABLE TO ATTACK THE
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 1       COUNTY CENTRAL COMPUTER, THAT IS NOT AN EFFECTIVE WAY TO

 2       GET MALWARE DOWN TO ANY OF THE VOTING MACHINES.

 3       BY MR. JOEL:

 4       Q.         LET'S TALK ABOUT THE STUXNET.      ARE YOU AWARE

 5       THAT THAT IS ONE OF THE SCENARIOS THAT PLAINTIFFS ARE

 6       POSITING?

 7                          MS. FRICK:     I'M SORRY, YOUR HONOR.     I

 8       HAVE TO OBJECT.

 9                          THE COURT:     WELL IT'S IN ONE OF YOUR

10       AFFIDAVITS SO I'M GOING TO OVERRULE IT.

11                          THE WITNESS:     YES.

12       BY MR. JOEL:

13       Q.         DO YOU HAVE AN OPINION AS TO WHETHER OR NOT THAT

14       IS A POSSIBLE WAY TO AFFECT THE PENNSYLVANIA VOTING

15       MACHINES SUCH THAT VOTES WOULD BE ALTERED?

16       A.         YEAH, I DO HAVE AN OPINION.

17       Q.         IS THAT WITHIN A REASONABLE DEGREE OF CERTAINTY

18       IN YOUR FIELD?

19       A.         YES.

20       Q.         WHAT IS THE OPINION?

21       A.         OKAY.   WELL, LET'S LOOK AT WHAT HAPPENED WITH

22       STUXNET.     SO FOR YEARS THE OPPONENTS OF ELECTRONIC

23       VOTING HAVE BEEN STYMIED BY THE IDEA THAT IF A MACHINE

24       IS NOT CONNECTED TO THE INTERNET, THEN NORMAL HACKING

25       TECHNIQUES WILL NOT GET TO IT.         AFTER STUXNET THEY GOT
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 1       AN IDEA, WHICH IS, AND STUXNET PROVES, THAT YOU CAN

 2       INFECT A MACHINE EVEN IF IT IS NOT CONNECTED TO THE

 3       INTERNET AND NEVER IN ITS LIFE HAS BEEN CONNECTED TO THE

 4       INTERNET.    I AGREE WITH THAT.

 5                        SO WHAT THE STUXNET WORM WAS, IT WAS

 6       MALWARE THAT WAS INSERTED AT THE MANUFACTURER.          IT WAS

 7       SIEMENS, WHO WAS THE MANUFACTURER OF THE IRANIAN

 8       CENTRIFUGES.    BECAUSE IT WAS INFECTED AND NO TESTING WAS

 9       DONE, THE WORM MADE IT INTO IRANIAN CENTRIFUGES.          IT

10       ACTUALLY MADE IT INTO MANY OTHER CENTRIFUGES, TOO, BUT

11       WAS PROGRAMMED TO ONLY ATTACK THE IRANIAN ONES.

12                        NOW, THIS IS NOT FEASIBLE HERE, WITH

13       VOTING SYSTEMS, FOR SEVERAL REASONS.        FIRST OF ALL, WE

14       DID NOT JUST GO BUY THESE SYSTEMS YESTERDAY, AND SO THIS

15       -- IF SUCH A WORM EXISTS IN VOTING SYSTEMS IT IS THERE

16       NOW.   AND IT WOULD BE DISCOVERED DURING THE INDEPENDENT

17       TESTING AUTHORITY TESTING.      AND IF IT HAD BEEN

18       INTRODUCED AFTER THAT, THEN THERE WOULD HAVE TO BE A NEW

19       VERSION OF THE SOFTWARE ACTUALLY PHYSICALLY DELIVERED TO

20       EACH MACHINE.    SO IT'S THE SAME THING AS HAVING TO GO

21       AND MODIFY 4200 MACHINES IN A PARTICULAR COUNTY.          THERE

22       IS NO PRACTICAL WAY IN WHICH IT COULD CAN BE DONE,

23       ALTHOUGH YES, IT'S TRUE, THE IRANIAN CENTRIFUGES WERE

24       NOT CONNECTED TO THE INTERNET.

25       Q.       AND IN REVIEWING THE PLAINTIFFS' MATERIALS, WAS
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 1       THERE SOME ARTICLE IN THERE ABOUT UKRAINE AND THEIR

 2       ELECTION?

 3       A.       YES, THERE WAS.

 4       Q.       DOES THAT HAVE ANY IMPACT IN YOUR CONCLUSIONS

 5       THAT THE VOTING MACHINES HERE IN THE COMMONWEALTH ARE

 6       NOT SUSCEPTIBLE TO HACKING -- AN ALTERATION?

 7       A.       YEAH, I READ THAT ARTICLE.       AND BASICALLY WHAT

 8       IT SAID WAS THAT THERE WERE SUSPICIONS THAT THE RUSSIANS

 9       ATTACKED WHAT'S REFERRED TO IN THE UKRAINE AS THE

10       CENTRAL ELECTION COMMISSION.       SO THE CENTRAL ELECTION

11       COMMISSION IS A PLACE FROM WHICH INFORMATION ABOUT THE

12       ELECTION IS DISTRIBUTED ALL THROUGH THE COUNTRY.          WE

13       DON'T HAVE ANYTHING LIKE THAT.       SO THERE IS NO CENTRAL

14       PLACE THAT ONE COULD GO AND ATTACK IN SUCH A MANNER.

15       IT'S SIMILAR TO THE RUSSIAN DNC HACK SCENARIO.

16       Q.       SO JUST TO SUMMARIZE, I HAVE ONE MORE EXHIBIT TO

17       SHOW YOU.     IS IT YOUR OPINION THAT THESE SCENARIOS

18       POSITED BY PLAINTIFF ARE NOT POSSIBLE AS A WAY OF

19       INFECTING AND AFFECTING THE VOTES HERE IN THE

20       COMMONWEALTH?

21       A.       WELL, IT'S TOUGH TO SAY THAT SOMETHING IS

22       IMPOSSIBLE.

23       Q.       I DID NOT SAY IMPOSSIBLE.       I SAID IS IT

24       POSSIBLE?

25       A.       I THINK THAT IS THE OPPOSITE OF IMPOSSIBLE.             BUT
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 1       I THINK THE IDEA IS THAT -- MY FEELING IS THAT THE

 2       SCENARIOS THAT HAVE BEEN POSITED ARE APPROXIMATELY AS

 3       LIKELY AS THE FACT THAT ANDROIDS FROM OUTER SPACE ARE

 4       LIVING AMONGST US AND PASSING AS HUMANS.         IT MIGHT BE

 5       POSSIBLE, YET THERE IS NOT ANY EVIDENCE THAT IT IS

 6       HAPPENING.

 7       Q.         AND YOU SAID IT WAS YOUR FEELING.      IS THAT ALSO

 8       YOUR EXPERT OPINION?

 9       A.         YES.

10                          MR. JOEL:    MAY I APPROACH ONE MORE TIME,

11       YOUR HONOR?

12                          THE COURT:   YES.

13       BY MR. JOEL:

14       Q.         SHOWING YOU WHAT HAS BEEN MARKED AS D 6.       CAN

15       YOU IDENTIFY FOR US WHAT THOSE ARE AND THE SIGNIFICANCE

16       OF THEM?

17       A.         YES.   SO THESE ARE THE REPORTS THAT THE

18       SECRETARY OF THE COMMONWEALTH IS REQUIRED TO FILE UPON

19       CERTIFYING A VOTING SYSTEM, AND THERE ARE SIX OR SEVEN

20       OF THESE.     ALL OF THE VOTING SYSTEMS IN PENNSYLVANIA,

21       USED IN PENNSYLVANIA WERE SUBJECTED TO RECERTIFICATION

22       IN 2012, I THINK AS A RESULT OF THE BANFIELD CASE, NOT

23       BECAUSE IT WAS ORDERED BUT BECAUSE THE SECRETARY OF THE

24       COMMONWEALTH THOUGHT THAT IT WOULD BE PRUDENT TO DO

25       THAT.   SO THESE ARE THE SECRETARY'S REPORTS FROM ALL OF
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 1       THOSE EXAMINATIONS.

 2       Q.       AND THOSE ARE FOR THE MACHINES, THE DRE'S THAT

 3       ARE -- WERE IN USE IN THIS LAST ELECTION?

 4       A.       YES.

 5       Q.       ALL OF THEM WERE CERTIFIED AS BEING APPROPRIATE

 6       TO USE FOR THE ELECTION?

 7       A.       YES.   IN FACT, VIRTUALLY ALL OF THESE BEGIN WITH

 8       A PARAGRAPH THAT TALKS ABOUT THE EXAMINATION THAT I DID

 9       OF THOSE SYSTEMS SOME YEARS EARLIER, AND THEN DISCUSSION

10       ABOUT WHAT WAS DONE SUBSEQUENTLY DURING THE

11       RE-EXAMINATION EXAMS.

12                        MR. JOEL:    I WOULD MOVE FOR THE ADMISSION

13       OF D 6, AND WITH THAT I HAVE NO MORE QUESTIONS FOR YOU.

14                        THE COURT:    ANY OBJECTION?

15                        MS. FRICK:    NO OBJECTION, YOUR HONOR.

16                        MR. TABAS:    NONE, YOUR HONOR.

17                        THE COURT:    VERY WELL.    IT WILL BE

18       ADMITTED.

19                        (DEFENSE EXHIBIT D 6, ADMITTED INTO

20       EVIDENCE.)

21                        THE COURT:    DO YOU HAVE ANY QUESTIONS FOR

22       THIS WITNESS, MR. TABAS?

23                        MR. TABAS:    NO, I DON'T, YOUR HONOR.

24                        THE COURT:    MS. FRICK.

25                        MS. FRICK:    THANK YOU.
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 1                        THE COURT:    THIS COUNTS AGAINST THEIR

 2       TIME.

 3                        MS. FRICK:    I'M WELL AWARE.

 4                        THE COURT:    SO SPEAK SLOWLY.

 5                        CROSS EXAMINATION

 6       BY MS. FRICK:

 7       Q.       GOOD AFTERNOON, DR. SHAMOS.

 8       A.       GOOD AFTERNOON.

 9       Q.       AM I PRONOUNCING YOUR NAME CORRECTLY?

10       A.       YES, YOU ARE.

11       Q.       MR. SHAMOS, YOU SAID THAT YOU HAVE TESTIFIED IN

12       A NUMBER OF CASES BEFORE, IS THAT RIGHT?

13       A.       YES.

14       Q.       AND IN SOME OF THOSE CASES YOU'VE TESTIFIED AS

15       AN EXPERT FOR SEQUOIA, IS THAT RIGHT?

16       A.       IN PATENT CASES, YES.

17       Q.       AND SEQUOIA IS A MANUFACTURER OF VOTING

18       MACHINES?

19       A.       YES.

20       Q.       THEY MANUFACTURE MACHINES THAT ARE USED IN

21       PENNSYLVANIA, IS THAT RIGHT?

22       A.       YES.

23       Q.       AND YOU HAVE BEEN PAID BY SEQUOIA FOR THAT

24       TESTIMONY, RIGHT?

25       A.       YES, I HAVE.
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 1       Q.       YOU HAVE BEEN PAID HUNDREDS OF THOUSANDS OF

 2       DOLLARS, RIGHT?

 3       A.       ULTIMATELY, YES.

 4       Q.       AND YOU EXPECT TO BE PAID HUNDREDS OF THOUSANDS

 5       OF DOLLARS IN THE FUTURE FOR YOUR WORK WITH SEQUOIA,

 6       RIGHT?

 7       A.       IF I DO ANY.    THERE AREN'T ANY -- I HAVE NO

 8       CURRENT CASES INVOLVING SEQUOIA.

 9       Q.       WERE YOU -- HAD YOU WORKED AS AN EXPERT FOR

10       SEQUOIA IN 2006?

11       A.       NO.

12       Q.       WHEN WAS THE FIRST TIME THAT YOU WORKED AS AN

13       EXPERT FOR SEQUOIA?

14       A.       I THINK I CAN HELP YOU WITH THIS LINE OF

15       QUESTIONING BY TELLING YOU THAT SINCE ACCEPTING ANY

16       MONEY FROM ANY ELECTION SYSTEM VENDOR, I HAVE NOT

17       PERFORMED ANY VOTING SYSTEM EXAMINATIONS EITHER FOR THAT

18       VENDOR OR FOR A DIFFERENT VENDOR.

19       Q.       SO WERE YOU A PAID EXPERT FOR SEQUOIA IN 2006?

20       A.       NO.   THAT IS A CONSEQUENCE OF THE ANSWER I JUST

21       GAVE.

22       Q.       WHEN WAS THE FIRST TIME THAT YOU WERE A PAID

23       EXPERT FOR SEQUOIA?

24       A.       I DON'T RECALL, BUT IT WAS AFTER 2006.

25       Q.       HAVE YOU EVER BEEN DENIED TENURE AS A COMPUTER
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 1       SCIENCE PROFESSOR?

 2       A.       NO.

 3       Q.       AT CARNEGIE MELLON?

 4       A.       NO.

 5                        THE COURT:    I'M SORRY.    IF YOU HAD

 6       QUESTIONS ABOUT HIS EXPERTISE, YOU SHOULD HAVE ASKED

 7       THEM BEFORE I QUALIFIED HIM.       I WOULD ASK YOU TO MOVE ON

 8       TO THE SUBSTANCE OF HIS TESTIMONY.

 9                        MS. FRICK:    YES, I AM MOVING ON, YOUR

10       HONOR.

11       BY MS. FRICK:

12       Q.       IN 2004, YOU TESTIFIED BEFORE CONGRESS, IS THAT

13       RIGHT?

14       A.       YES.

15       Q.       AND YOU SAID THERE:      I'M HERE TODAY TO OFFER MY

16       OPINION THAT THE SYSTEM WE HAVE FOR TESTING AND

17       CERTIFYING VOTING EQUIPMENT IN THIS COUNTRY IS NOT ONLY

18       BROKEN, BUT IT IS VIRTUALLY NONEXISTENT.         IS THAT RIGHT?

19       A.       THAT'S RIGHT.

20       Q.       AND IN 2006 YOU TESTIFIED AGAIN BEFORE CONGRESS,

21       RIGHT?

22       A.       YES.

23       Q.       YOU REPEATED THAT OPINION.       YOU SAID THAT YOU

24       REAFFIRM IT.    IS THAT RIGHT?

25       A.       THAT'S RIGHT.
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 1       Q.       NOW, DO YOU REMEMBER GIVING AN INTERVIEW TO THE

 2       HILL, IT'S A PUBLICATION, IN 2014?

 3       A.       I DON'T RECALL IT, BUT I DON'T DENY THAT I DID

 4       IT.

 5       Q.       YOU WERE ASKED ABOUT POTENTIAL HACKING OF VOTING

 6       MACHINES.    AND YOU SAID -- ISN'T IT TRUE THAT YOU TOLD

 7       THE HILL THAT IT WOULD BE POSSIBLE TO STEAL A COUPLE

 8       HUNDRED VOTES FOR YOUR GUY.       IS THAT RIGHT?

 9       A.       YES.    YES.   THERE ARE MANY WAYS OF DOING THAT,

10       WHETHER THE ELECTION IS AN ELECTRONIC ONE OR A PAPER

11       ONE.

12       Q.       AND ARE YOU AWARE THAT THIS MORNING PRESIDENT

13       OBAMA ORDERED A REVIEW OF ALL EVIDENCE OF HACKING INTO

14       THIS ELECTION?

15       A.       YES, I AM.

16       Q.       AND WOULD YOU SAY THAT HE HAD THE SAME FACTUAL

17       BASIS FOR ORDERING THAT REVIEW AS HE WOULD HAVE HAD HE

18       ORDERED A REVIEW OF WHETHER ALIENS ARE LIVING AMONG US?

19       A.       IF THERE WERE EVIDENCE THAT ALIENS WERE LIVING

20       AMONG US, I WOULD THINK IT INCUMBENT UPON THE PRESIDENT

21       TO HAVE THAT INVESTIGATED.

22       Q.       I TAKE IT BY THAT ANSWER YOU AGREE THAT THERE IS

23       EVIDENCE OF HACKING IN THIS ELECTION?

24       A.       THERE IS EVIDENCE THAT ATTEMPTS HAVE BEEN MADE

25       TO ACCESS VOTING CENTRALIZED COMPUTERS IN THE UNITED
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 1       STATES.

 2       Q.        YOU AGREE THERE IS EVIDENCE THAT THERE HAS BEEN

 3       HACKING IN THIS ELECTION?

 4       A.        NO.     I DON'T AGREE WITH THAT.    I AGREE THERE IS

 5       EVIDENCE THAT ATTEMPTS HAVE BEEN MADE.        IN FACT, THERE

 6       IS NO EVIDENCE THAT ANYTHING WAS HACKED.

 7       Q.        NOW, THE DRE MACHINES THAT ARE USED IN

 8       PENNSYLVANIA USE REMOVABLE MEDIA, IS THAT RIGHT?

 9       A.        AMONG NONREMOVABLE MEDIA ALSO, THEY DO HAVE

10       REMOVABLE MEDIA, THAT IS TRUE.

11       Q.        THAT REMOVABLE MEDIA INCLUDES THINGS LIKE MEMORY

12       CARTRIDGES, RIGHT?

13       A.        YES.

14       Q.        THE CARTRIDGES HAVE THE BALLOT INFORMATION ON

15       THEM?

16       A.        WELL, SO SOME DO, SOME DON'T.       THE PEB'S THAT WE

17       WERE TALKING DO HAVE BALLOT INFORMATION ON THEM, YES.

18       Q.        BUT FOR THE OTHER MACHINES THAT DON'T USE PEB'S,

19       THERE ARE MEMORY CARTRIDGES THAT HAVE THE BALLOT

20       INFORMATION ON THEM, RIGHT?

21       A.        THERE ARE MEMORY CARTRIDGES.       THE QUESTION IS

22       WHETHER THOSE ARE INSERTED FOR INDIVIDUAL VOTERS OR

23       WHETHER THEY ARE INSERTED AT THE BEGINNING OF THE

24       ELECTION.       BUT THERE CERTAINLY ARE MEMORY CARTRIDGES

25       THAT HAVE BALLOT INFORMATION, YES.
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 1       Q.       THAT BALLOT INFORMATION, WHETHER IT IS FROM

 2       MEMORY CARTRIDGES OR FOR PEB'S, AS YOU TESTIFIED, IS

 3       PROGRAMMED AT A CENTRAL ELECTION MANAGEMENT COMPUTER,

 4       RIGHT?

 5       A.       YES, BUT THAT BALLOT INFORMATION IS DATA.         IT'S

 6       NOT CODE.

 7       Q.       I UNDERSTAND.     MY QUESTION IS, AND THAT -- WHERE

 8       IT IS PROGRAMMED CAN BE THE COUNTY'S CENTRAL ELECTION

 9       MANAGEMENT COMPUTER, RIGHT?

10       A.       IT USUALLY IS.

11       Q.       AND AFTER THE ELECTION, THE PEB'S AND THE --

12       AND/OR THE MEMORY CARTRIDGES, DEPENDING ON THE TYPE OF

13       MACHINE, CARRY THE VOTE TALLIES BACK TO THE CENTRAL

14       COMPUTER MACHINE.

15       A.       FOR UNOFFICIAL PURPOSES ONLY.

16       Q.       THOSE CARTRIDGES CAN SPREAD A VIRUS, CAN'T THEY?

17       A.       NO.

18       Q.       WELL, YOU KNOW WHAT A FLASH DRIVE IS, RIGHT?

19       A.       YES.

20       Q.       YOU KNOW THAT IF YOU PUT A FLASH DRIVE INTO A

21       COMPUTER WITH A VIRUS, THAT VIRUS CAN INFECT THE FLASH

22       DRIVE, RIGHT?

23       A.       IT CERTAINLY DEPENDS ON THE OPERATING SYSTEM,

24       THE ARCHITECTURE AND THE CONFIGURATION OF THE MACHINE.

25       IT CAN'T HAPPEN WITH PEB'S.
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 1       Q.       MY QUESTION IS, ON FLASH DRIVES, WHETHER WHEN

 2       YOU PUT A FLASH DRIVE INTO A MACHINE, IT CAN INFECT THE

 3       FLASH DRIVE?

 4       A.       IN A HYPOTHETICAL CONTEXT OUTSIDE OF

 5       PENNSYLVANIA'S VOTING SYSTEMS, YES, IT CAN.

 6       Q.       WHEN YOU THEN TAKE THAT FLASH DRIVE TO A NEW

 7       COMPUTER, YOU CAN INFECT THAT NEW COMPUTER WITH THE

 8       VIRUS FROM THE FIRST COMPUTER.       RIGHT?

 9       A.       AGAIN IN A CONTEXT TOTALLY OUTSIDE OF

10       PENNSYLVANIA'S VOTING SYSTEMS, YES, THAT IS POSSIBLE.

11       Q.       AND SO LET ME GO BACK TO YOUR EXPERTISE HERE.

12       YOU ARE NOT AN EXPERT IN COMPUTER SCIENCE, IS THAT

13       RIGHT?

14       A.       WELL, I WAS NOT QUALIFIED HERE TODAY AS ONE, BUT

15       I CERTAINLY AM ONE.

16       Q.       FOR PURPOSES OF TODAY'S HEARING YOU ARE NOT ONE,

17       AS WE HAVE AGREED?

18       A.       MAYBE YOU SHOULD NOT ASK ME QUESTIONS ABOUT IT

19       THEN.

20                        THE COURT:    ALL RIGHT.     ALL RIGHT.   ALL

21       RIGHT.   ASK ANOTHER QUESTION, PLEASE.

22                        MS. FRICK:    I'M GETTING TO MY QUESTION,

23       YOUR HONOR.

24       BY MS. FRICK:

25       Q.       THE QUESTION IS WHETHER IT'S POSSIBLE FOR MEMORY
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 1       CARTRIDGES, JUST LIKE OTHER REMOVABLE MEDIA, TO SPREAD A

 2       VIRUS FROM A MACHINE TO MACHINE.

 3       A.       AND I ANSWERED YES, TOTALLY OUTSIDE THE CONTEXT

 4       OF PENNSYLVANIA'S VOTING SYSTEMS.

 5                        THE COURT:    I HAVE REVIEWED THE DOCTOR'S

 6       CV AND I'M PERFECTLY PREPARED TO QUALIFY HIM AS AN

 7       EXPERT IN COMPUTER SCIENCE, AND I DO SO.         YOU CAN ASK

 8       HIM ANYTHING YOU WANT, MS. FRICK.

 9       BY MS. FRICK:

10       Q.       OKAY.

11                        NOW SPREADING A VIRUS IN THE METHOD THAT

12       WE JUST TALKED ABOUT THAT YOU AGREED WAS POSSIBLE DOES

13       NOT REQUIRE AN INTERNET CONNECTION, RIGHT?

14       A.       TOTALLY OUTSIDE THE CONTEXT OF PENNSYLVANIA'S

15       VOTING SYSTEMS, YES, IT DOESN'T.

16       Q.       THANK YOU.    I WOULD APPRECIATE IT IF YOU JUST

17       ANSWER MY QUESTIONS.

18                        THAT IS WHY WE WENT -- THAT IS WHAT WE

19       HAVE ALREADY ESTABLISHED THROUGH THE STUXNET VIRUS,

20       RIGHT?   THERE WAS NO INTERNET CONNECTION WITH THE

21       CENTRIFUGES, CORRECT?

22       A.       YES, I TESTIFIED TO THAT.

23       Q.       EXACTLY.

24                        NOW THE SOFTWARE ON THE ELECTRONIC VOTING

25       MACHINES GETS UPDATED FROM TIME TO TIME.         I BELIEVE YOU
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 1       TESTIFIED TO THAT?

 2       A.       THAT IS TRUE.

 3       Q.       AND THAT UPDATE COMES FROM THE MANUFACTURER?

 4       A.       WELL, ULTIMATELY IT DOES COME FROM THE

 5       MANUFACTURER, ALTHOUGH IT IS TESTED BY THE INDEPENDENT

 6       TESTING AUTHORITY, AND IN GENERAL, THE DISTRIBUTION OF

 7       THE SOFTWARE COMES FROM THEM.       OTHERWISE IT WOULD BE

 8       POSSIBLE TO DO A BAIT AND SWITCH.        THE VENDOR COULD SEND

 9       GOOD SOFTWARE TO THE INDEPENDENT TESTING AUTHORITY.

10       UPON GETTING A CERTIFICATION FROM THEM, IT COULD THEN

11       SEND BAD SOFTWARE TO THE JURISDICTIONS.         SO TO PREVENT

12       THAT, IT'S THE ITA THAT DISTRIBUTES THE SOFTWARE.

13       Q.       THE ITA, YOU SAID, RUNS TESTS ON THESE UPDATES,

14       RIGHT?

15       A.       YES.

16       Q.       AND DOES IT DO A FORENSIC EXAMINATION OF THE

17       CODE?

18       A.       YES.

19       Q.       AND THEN THAT -- AND THEN HAVE YOU EVER BEEN

20       PRESENT FOR WHEN THOSE UPDATES ARE DISTRIBUTED?

21       A.       I'M TRYING TO RECALL.      I DON'T THINK SO.     I

22       MEAN, IF YOU MEAN DISTRIBUTED FOR ACTUAL USE IN A

23       COUNTY, NO.     I HAVE DONE IT AT THE SECRETARY OF THE

24       COMMONWEALTH'S OFFICE DURING OUR EXAMINATIONS, BUT NOT

25       IN AN ACTUAL PRECINCT, NO.
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 1       Q.       HAVE YOU BEEN PRESENT FOR THE TESTING OF THOSE

 2       SOFTWARE UPDATES?

 3       A.       YES.

 4       Q.       AND CAN YOU DESCRIBE WHAT THAT TESTING IS?

 5       A.       YES.   I'M NOT -- I DON'T DO IT COMMONLY, BUT WE

 6       DID A COMPLETE FORENSIC REVIEW IN SARASOTA COUNTY,

 7       FLORIDA IN WHICH SIX COMPUTER SCIENTISTS SAT IN A ROOM

 8       FOR FIVE DAYS EXAMINING CODE, COMPILING PORTIONS OF

 9       CODE, TESTING CODE, COMPUTING HASH FUNCTIONS, ET CETERA.

10       Q.       THAT WAS IN SARASOTA, FLORIDA, IS THAT RIGHT?

11       A.       YES.

12       Q.       NOW THE OPERATING SYSTEMS ON THE CENTRAL

13       ELECTION MANAGEMENT COMPUTERS, THEY NEED TO GET UPDATED

14       FROM TIME TO TIME AS WELL, RIGHT?

15       A.       YES.

16       Q.       AND THOSE UPDATES TO THE OPERATING SYSTEMS ARE

17       DOWNLOADED FROM THE INTERNET?

18       A.       I THINK THEY ARE OFTEN ARE.       THAT CAN'T BE DONE

19       ON THE CENTRAL COMPUTER THAT IS USED IN THE COUNTY

20       BECAUSE IT'S NOT ALLOWED TO BE CONNECTED TO THE

21       INTERNET.    SO IT HAS TO BE THROUGH REMOVABLE MEDIA.

22       Q.       SO IT WOULD BE DOWNLOADED FROM THE INTERNET ON

23       TO SOME OTHER COMPUTER, IS THAT RIGHT?

24       A.       NOT NECESSARILY.     A DVD MIGHT BE OBTAINED FROM

25       THE DISTRIBUTOR OF THE OPERATING SYSTEM.
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 1       Q.         BUT YOU ALSO SAID IT COULD BE DOWNLOADED FROM

 2       THE INTERNET AND TRANSFERRED BY REMOVABLE MEDIA,

 3       CORRECT?

 4       A.         NO.     WHAT I SAID WAS, OUTSIDE THE CONTEXT OF THE

 5       PENNSYLVANIA SYSTEMS.           IF YOU MEAN CAN YOU HAVE A NEW

 6       VERSION OF AN OPERATING SYSTEM DOWNLOADED OVER THE

 7       INTERNET?        YES.     BUT THAT IS NOT PERMITTED IN

 8       PENNSYLVANIA.           IT'S EXPRESSLY AGAINST THE -- I CAN READ

 9       YOU THE STATEMENTS IN THE CERTIFICATION -- CERTIFICATION

10       DOCUMENTS.        IT'S FORBIDDEN BY THE SECRETARY OF THE

11       COMMONWEALTH.

12       Q.         SO THE UPDATES TO THE OPERATING SYSTEMS ON THE

13       CENTRAL MANAGEMENT COMPUTERS COME ONLY FROM THE

14       MANUFACTURER.           IS THAT YOUR TESTIMONY?

15       A.         NO.     THERE ARE DIFFERENT MANUFACTURERS.      THERE

16       IS A MANUFACTURER OF THE OPERATING SYSTEM AND THERE IS A

17       MANUFACTURER OF THE ELECTION MANAGEMENT SYSTEM.            I

18       THOUGHT YOU WERE REFERRING TO THE OPERATING SYSTEM, LIKE

19       FOR EXAMPLE, WINDOWS 10, SOMETHING LIKE THAT.            THAT

20       COMES FROM MICROSOFT.

21       Q.         RIGHT.        AND THAT UPDATE IS DOWNLOADED FROM THE

22       INTERNET, RIGHT?           THAT IS WHAT YOU TESTIFIED?

23       A.         NO.     IT CAN BE.     THAT IS WHAT -- I DO IT AT HOME

24       THAT WAY.        BUT THAT IS NOT THE WAY PEOPLE WHO RUN THE

25       CENTRAL COMPUTERS IN COUNTIES IN PENNSYLVANIA DO IT
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 1       BECAUSE --

 2                        THE COURT:     WE HAVE GONE THROUGH THIS --

 3                        THE WITNESS:     -- THEY ARE FORBIDDEN TO DO

 4       IT.

 5                        THE COURT:     WE HAVE GONE THROUGH THIS

 6       SEVERAL TIMES.    PLEASE MOVE ON.

 7                        MS. FRICK:     YOUR HONOR, I DON'T BELIEVE I

 8       HAVE AN ACTUAL ANSWER FOR HOW THE --

 9                        THE COURT:     I BELIEVE YOU HAVE YOUR

10       ANSWER.   I'M DIRECTING YOU TO MOVE ON.

11       BY MS. FRICK:

12       Q.        NOW, HAVE YOU PERSONALLY PARTICIPATED IN THE

13       UPDATE OF OPERATING SYSTEMS ON THE CENTRAL MANAGEMENT

14       COMPUTERS?

15       A.        I DON'T RECALL HAVING DONE SO.

16       Q.        WHAT ABOUT THE UPDATES TO THE ELECTION

17       MANAGEMENT SOFTWARE ITSELF?

18       A.        I HAVE SEEN IT DONE.     AGAIN, WE DID IT IN THE

19       SECRETARY OF THE COMMONWEALTH'S OFFICE.         I DIDN'T DO IT

20       AT A COUNTY ELECTION BOARD.

21       Q.        AND WHEN THE OPERATING -- I'M SORRY, NOT THE

22       OPERATING SYSTEMS.     WHEN THE ELECTION MANAGEMENT SYSTEMS

23       ARE UPDATED, THOSE COME FROM -- THOSE UPDATES COME FROM

24       THE MANUFACTURER.     IS THAT WHAT YOU TESTIFIED?

25       A.        NO, THEY COME FROM THE ITA.
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 1       Q.       WHICH GETS THEM FROM THE MANUFACTURER, RIGHT?

 2       A.       WELL --

 3                          THE COURT:   YOU REALLY ARE REPEATING

 4       OURSELVES.

 5                          MS. FRICK:   I'M SORRY, YOUR HONOR.     I

 6       BELIEVE MY FIRST LINE OF QUESTIONS WAS ABOUT THE

 7       OPERATING SYSTEM.     AND I'M TRYING TO UNDERSTAND THE

 8       CENTRAL MANAGEMENT --

 9                          THE COURT:   I BELIEVE WE ARE REPEATING

10       OURSELVES.

11                          MS. FRICK:   I'LL MOVE ON, YOUR HONOR.

12                          THE COURT:   IF YOU DON'T STOP, I'M GOING

13       TO END YOUR CROSS EXAMINATION.

14                          MS. FRICK:   I WILL MOVE ON, YOUR HONOR.

15       BY MS. FRICK:

16       Q.       NOW, I BELIEVE YOU TESTIFIED, OR IT'S IN THE

17       PAPERS THAT WERE SUBMITTED ALONG WITH YOUR TESTIMONY,

18       THAT YOU ANALYZED THE FIRMWARE IN THE PENNSYLVANIA

19       MACHINES IN 2006, IS THAT RIGHT?

20       A.       I DON'T THINK IT SAYS THAT IN THE MOVING PAPERS.

21       I DID AN EXAMINATION OF THE VOTING SYSTEMS THAT WERE

22       THEN CURRENTLY UNDER CERTIFICATION IN PENNSYLVANIA IN

23       2006.   I DIDN'T DO PERSONALLY A FORENSIC EXAMINATION OF

24       THE FIRMWARE.

25       Q.       HAVE YOU EVER DONE A PERSONAL FORENSIC
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 1       EXAMINATION OF THE FIRMWARE?

 2       A.       YES, IN SARASOTA COUNTY.

 3       Q.       BUT FOR VOTING SYSTEMS USED IN PENNSYLVANIA, YOU

 4       HAVE NEVER DONE THAT?

 5       A.       NO, I HAVEN'T.     I RELIED ON THE ITA REPORTS.

 6       Q.       AND SINCE 2006 HAVE YOU EVER EXAMINED THE VOTING

 7       SYSTEMS USED IN PENNSYLVANIA?

 8       A.       I DON'T RECALL WHETHER I DID ANY IN 2007, BUT I

 9       HAVEN'T -- I CERTAINLY HAVE NOT DONE ANY SINCE 2007.

10       Q.       SO WOULD YOU AGREE THAT IN GENERAL, TECHNOLOGY

11       HAS CHANGED SINCE 2007?

12       A.       THAT IS A REALLY GENERAL STATEMENT.        WHAT KIND

13       OF TECHNOLOGY ARE YOU TALKING ABOUT?

14       Q.       WELL, WOULD YOU AGREE WITH THE GENERAL STATEMENT

15       THAT TECHNOLOGY HAS CHANGED?

16                        THE COURT:    I WILL ACCEPT THAT TECHNOLOGY

17       HAS CHANGED SIGNIFICANTLY IN THE LAST TEN YEARS.

18       BY MS. FRICK:

19       Q.       SO WE CAN AGREE THAT IT HAS CHANGED

20       SIGNIFICANTLY.    WOULD YOU AGREE THAT CYBER SECURITY

21       THREATS HAVE CHANGED SIGNIFICANTLY SINCE 2007.

22       A.       YES, I THINK PEOPLE HAVE DEVISED CLEVERER

23       MECHANISMS FOR INFECTING COMPUTERS.

24       Q.       YOU WOULD AGREE THAT BEFORE THIS YEAR THERE HAD

25       NEVER BEEN WIDESPREAD REPORTS OF CYBER ATTACKS OR
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 1       HACKING DURING A PRESIDENTIAL ELECTION BEFORE?

 2       A.       I'M NOT AWARE OF SUCH REPORTS PREVIOUSLY, NO.

 3       Q.       NOW, YOU TESTIFIED AT THE BEGINNING OF YOUR

 4       TESTIMONY THAT IF YOU TOOK A MACHINE INTO A LAB UNDER

 5       PERFECT CONDITIONS, YOU COULD ALWAYS BREAK INTO THESE

 6       MACHINES, RIGHT?

 7       A.       YES.

 8       Q.       HAVE YOU EVER PERSONALLY HACKED INTO THESE

 9       MACHINES?

10       A.       YES.

11       Q.       WHEN DID YOU DO THAT?

12       A.       OH, I WOULD TYPICALLY DO IT DURING LUNCHTIME

13       AT -- WHEN WE DID OUR EXAMINATIONS AND THE VENDOR WAS

14       NOT PRESENT SO THEY COULD NOT SEE WHAT I WAS DOING.

15       Q.       AND YOU COULD HACK THESE MACHINES DURING YOUR

16       LUNCH HOUR, RIGHT?

17       A.       WELL, I WAS AN EXAMINER.      I WAS ALLOWED TO OPEN

18       THE MACHINES.    I COULD DO ANYTHING I WANTED TO THEM.

19       NOBODY WAS OBSERVING ME, BECAUSE I WAS TRYING TO TEST

20       WHETHER THEY WERE SECURE OR NOT.

21       Q.       AND YOU TESTIFIED BEFORE THAT IT WOULD TAKE TOO

22       LONG FOR SOMEBODY ELSE WHO WAS NOT A SECURITY EXAMINER

23       TO HACK INTO THE MACHINES, RIGHT?

24       A.       I DON'T THINK I MADE ANY COMMENT ABOUT WHETHER

25       THE PERSON WAS AN EXAMINER OR NOT.        WHAT I THINK I SAID
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 1       WAS THAT MACHINES IN ACTUAL USE ARE NOT SITTING ON A

 2       TABLE THE WAY THEY ARE AT THE SECRETARY'S OFFICE WHEN WE

 3       DO AN EXAM.       THEY ARE CLOSED UP, THEY ARE SEALED UP,

 4       THEY ARE LOCKED.       SO THE PROCESS OF GAINING ACCESS TO

 5       SUCH A MACHINE AND INSERTING NEW SOFTWARE IN IT UNDER

 6       THOSE CONDITIONS IS MUCH MORE DIFFICULT.         IT INVOLVES

 7       THE BREAKING OF SEALS, DOING THINGS, YOU HAVE TO KNOW

 8       WHAT YOU ARE DOING, AND THEN APPLYING A COUNTERFEIT SEAL

 9       AT THE END SO NOBODY IS ANY THE WISER.        IT TAKES TIME TO

10       DO THAT.

11       Q.         UNDERSTOOD.     NOW THE MACHINES ARE STORED --

12       BETWEEN ELECTIONS ARE STORED IN SOME SECURE WAREHOUSE,

13       IS THAT RIGHT?

14       A.         THEY ARE STORED IN A WAREHOUSE.      I KNOW SOME OF

15       THE SECURITY MECHANISMS THAT ARE USED TO PROTECT THE

16       WAREHOUSE, BUT I DON'T KNOW ALL OF THEM.

17       Q.         AT SOME POINT THE MACHINES ARE TAKEN TO THE

18       POLLING PLACES, RIGHT?

19       A.         THAT'S RIGHT.

20       Q.         THEY HAVE TO BE DELIVERED THERE?

21       A.         YES.

22       Q.         AND THE LOCATION OF THE POLLING PLACES ARE

23       WIDELY PUBLICIZED, RIGHT?

24       A.         NO.    IN MANY CASES DECADES IN ADVANCE, YES.

25       Q.         THAT'S RIGHT.     AND THE VOTING MACHINES ARE NOT
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 1       DELIVERED TO EACH POLLING PLACE ON THE MORNING OF THE

 2       ELECTION, ARE THEY?

 3       A.        NO, THAT IS OBVIOUSLY NOT FEASIBLE.

 4       Q.        SO THEY ARE DELIVERED A WEEK AHEAD OF TIME?

 5       A.        IT DEPENDS ON THE COUNTY.      IT DEPENDS ON LOTS OF

 6       THINGS.

 7       Q.        THEY ARE DELIVERED AT LEAST A FEW DAYS AHEAD OF

 8       TIME?

 9       A.        THAT'S RIGHT.

10       Q.        THE POLLING PLACES ARE PLACES LIKE SCHOOLS,

11       CHURCHES, LIBRARIES, BUILDINGS LIKE THAT, RIGHT?

12       A.        YES.   IN CALIFORNIA THEY ARE PEOPLE'S PRIVATE

13       HOMES EVEN.

14       Q.        AND MOST OF THOSE PLACES DON'T HAVE 24-HOUR

15       SECURITY, DO THEY?

16       A.        THAT'S CORRECT.

17       Q.        AND THEY DON'T HAVE ARMED GUARDS STANDING OUT

18       FRONT, DO THEY?

19       A.        NO.

20                         THE COURT:   YOU ARE MAKING ARGUMENT.

21       BY MS. FRICK:

22       Q.        YOU HAVE HEARD OF CALIFORNIA'S TOP TO BOTTOM

23       REVIEW OF ELECTRONIC VOTING MACHINES, RIGHT?

24       A.        YES.

25       Q.        AND THAT REVIEW WAS LED BY THE CALIFORNIA
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 1       SECRETARY OF STATE?

 2       A.       YES.

 3       Q.       AND IT WAS CONDUCTED BY -- IT WAS A REVIEW

 4       CONDUCTED BY COMPUTER SCIENTISTS?

 5       A.       THERE WERE CERTAINLY COMPUTER SCIENTISTS ON THE

 6       PANEL, YES.

 7       Q.       FOLLOWING THE REVIEW, CALIFORNIA DECERTIFIED

 8       CERTAIN ELECTRONIC VOTING SYSTEMS, RIGHT?

 9       A.       YES.    WE CAN TALK ABOUT THE POLITICS OF THAT IF

10       YOU WOULD LIKE, BUT THE ANSWER IS YES.

11       Q.       NOW, THE STATE BANNED THE USE OF THOSE MACHINES

12       IN ELECTIONS BECAUSE THE STATE DETERMINED AFTER ITS

13       REVIEW THAT THESE MACHINES WERE TOO UNRELIABLE, RIGHT?

14       A.       NO.    BECAUSE THE SECRETARY OF STATE IS AN

15       ELECTED OFFICE IN CALIFORNIA, AND SHE RAN ON THE

16       PLATFORM THAT SHE WAS GOING TO GET RID OF THE CURRENT

17       VOTING MACHINES.      THAT IS WHY IT WAS DONE.

18       Q.       THE SECRETARY OF STATE'S REPORT AUTHORED BY THE

19       COMPUTER SCIENTISTS FOUND THAT THESE MACHINES WERE

20       UNRELIABLE, RIGHT?

21       A.       YES, BUT SHE WAS NOT OBLIGED TO ACCEPT THOSE.

22       Q.       THANK YOU.

23                         PENNSYLVANIA VOTERS USE MACHINES THAT

24       CALIFORNIA HAS BANNED, CORRECT?

25       A.       YES.
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 1       Q.       LEHIGH COUNTY, FOR EXAMPLE, USES A MACHINE

 2       BANNED BY CALIFORNIA, RIGHT?

 3       A.       YES.

 4       Q.       AND WASHINGTON COUNTY DOES?

 5                          THE COURT:     YOU ARE NOT GOING THROUGH ALL

 6       67 COUNTIES.

 7                          MS. FRICK:     I'M NOT, YOUR HONOR.     I'M

 8       JUST GIVING A COUPLE OF EXAMPLES.

 9                          THE WITNESS:     I DON'T ACTUALLY KNOW WHICH

10       SYSTEM WASHINGTON COUNTY USES, BUT I CAN'T DISPUTE IT.

11       BY MS. FRICK:

12       Q.       IN FACT, ABOUT A MILLION PENNSYLVANIA VOTERS ARE

13       REGISTERED IN COUNTIES THAT RELY ON MACHINES THAT

14       CALIFORNIA HAS DECERTIFIED, RIGHT?

15       A.       YES.     WE DON'T LIVE IN CALIFORNIA.

16                          THE COURT:     YOU HAVE NOW USED UP ALL THE

17       COMMONWEALTH'S TIME.      NO.     NO.   GO AHEAD.

18       BY MS. FRICK:

19       Q.       YOU TESTIFIED THAT -- I BELIEVE YOU USED THE

20       WORD "TYPICALLY" THE CENTRAL COMPUTERS IN THE COUNTY

21       OFFICES ARE DEDICATED SOLELY TO THE PURPOSE OF

22       ELECTIONS, AND THEY ARE NOT CONNECTED TO THE INTERNET,

23       RIGHT?

24       A.       RIGHT.

25       Q.       BUT THAT DOES NOT MEAN ALWAYS, RIGHT?           TYPICALLY
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 1       DOES NOT MEAN ALWAYS?

 2       A.       THAT'S RIGHT.     IT MEANS THAT THEY ARE SUPPOSED

 3       TO NOT DO IT, BUT IT'S POSSIBLE THAT THEY MAY BREAK THE

 4       RULES ESTABLISHED BY THE SECRETARY.

 5       Q.       NOW, YOU SAID THAT YOU AGREED WITH -- IN

 6       TESTIMONY THAT PEB'S DISTRIBUTE NEW SOFTWARE, RIGHT?

 7       A.       UNDER THE CONDITIONS THAT I TESTIFIED ABOUT,

 8       YES.

 9       Q.       AND SO THE PEB'S CAN OVERRIDE THE SOFTWARE ON

10       THE MACHINE, RIGHT?

11       A.       UNDER THE CONDITIONS I DISCUSSED, YES.

12       Q.       YOU TALKED ABOUT PARALLEL TESTING.        DO YOU

13       RECALL THAT TESTIMONY?

14       A.       YES.

15       Q.       DID PARALLEL TESTING TAKE PLACE IN ANY COUNTIES

16       THIS YEAR AFTER THE ELECTION?

17       A.       I ONLY KNOW ABOUT PENNSYLVANIA.        I DON'T KNOW

18       ABOUT OTHER STATES.

19       Q.       MY QUESTION IS ABOUT PENNSYLVANIA.

20       A.       YES.   IT TOOK PLACE IN ALLEGHENY COUNTY.

21       Q.       WHAT OTHER COUNTIES?

22       A.       I DON'T KNOW OF ANY OTHERS.

23       Q.       IS IT REQUIRED TO TAKE PLACE STATE-WIDE?

24       A.       NO.

25       Q.       WAS IT REQUIRED TO TAKE PLACE IN ALLEGHENY
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 1       COUNTY?

 2       A.        WELL, IT DEPENDS ON WHAT YOU MEAN BY REQUIRED.

 3       Q.        IS THERE A STATE LAW REQUIRING THAT IT TAKE

 4       PLACE?

 5       A.        YOU MEAN SEPARATELY IN ALLEGHENY COUNTY FROM THE

 6       OTHER COUNTIES IN THE STATE?

 7       Q.        CORRECT.

 8       A.        NO.

 9       Q.        SO THERE IS NO STATE LAW REQUIRING PARALLEL

10       TESTING TO TAKE PLACE?

11       A.        THAT'S RIGHT.

12       Q.        SO ISN'T IT TRUE THAT NOBODY THIS YEAR HAS DONE

13       A POST-ELECTION INSPECTION OF THE DATA AND THE CODE ON

14       THE MACHINES USED IN THIS ELECTION?

15       A.        I DON'T KNOW THAT.

16       Q.        IN PENNSYLVANIA?

17       A.        I DON'T KNOW THAT.    I WOULD NOT KNOW THAT.

18       Q.        YOU WOULD NOT KNOW THAT BECAUSE IT'S NOT

19       SOMETHING THAT YOU PARTICIPATED IN, RIGHT?

20       A.        I HAVEN'T, NO.

21       Q.        YOU HAVE NOT HEARD OF ANYONE ELSE PARTICIPATING

22       IN SUCH -- IN SUCH A REVIEW?

23       A.        NO.

24                        MS. FRICK:    THANK YOU.    THAT IS ALL I

25       HAVE.
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 1                         THE COURT:     I WILL GIVE YOU, MR. MAAZEL,

 2       AN EXTRA FIVE MINUTES.

 3                         MR. JOEL:    I HAVE NO REDIRECT, YOUR

 4       HONOR.     I WAS UNDER THE IMPRESSION THAT THE CROSS WAS

 5       COUNTING AGAINST THEIR TIME.

 6                         THE COURT:     NO, NO.   BUT I WILL GIVE YOU

 7       -- YOU ASKED FOR FIVE MINUTES FOR REBUTTAL.

 8                         MR. JOEL:    I HAVE NO REDIRECT.

 9                         THE COURT:     DID YOU HAVE ANY OTHER

10       WITNESSES YOU WANTED TO CALL?

11                         MR. JOEL:    NO, NO.

12                         THE COURT:     VERY WELL.   THANK YOU.

13                         THE WITNESS:     YOU ARE WELCOME, YOUR

14       HONOR.

15                         THE COURT:     BUT I WILL GIVE -- SO YOU ARE

16       OUT OF TIME AND I WILL GIVE MR. MAAZEL 20 MINUTES

17       INSTEAD OF 15, BECAUSE I'M GOING TO GIVE HIM AN EXTRA

18       FIVE MINUTES.

19                         MR. TABAS.

20                         THE WITNESS:     YOUR HONOR, ARE THERE MORE

21       FACT WITNESSES, OR DO I HAVE TO GO OUTSIDE?

22                         THE COURT:     DO YOU INTEND TO RECALL THIS

23       WITNESS?

24                         MR. JOEL:    NO, I DON'T, YOUR HONOR.

25                         THE COURT:     YOU DON'T HAVE TO GO OUTSIDE.
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 1                         MR. TABAS:     GOOD AFTERNOON, YOUR HONOR.

 2                         THE COURT:     GOOD AFTERNOON.

 3                         MR. TABAS:     I'M HERE ON BEHALF OF THE

 4       INTERVENORS WHICH INCLUDE THE PRESIDENT ELECT, THE

 5       VICE-PRESIDENT ELECT OF THE UNITED STATES AND THE

 6       ELECTORS THAT WERE PLEDGED TO THEM AS PART OF THE

 7       ELECTION THAT WAS HELD ON NOVEMBER 8TH.

 8                         YOUR HONOR, I WILL, IN MY ARGUMENT, BE

 9       REFERRING TO SOME CASES THAT WE DID NOT CITE IN OUR

10       BRIEF BECAUSE OF A DECISION THAT CAME DOWN YESTERDAY IN

11       THE MICHIGAN FEDERAL COURT RELATING TO A CASE BROUGHT

12       ALSO BY PLAINTIFF STEIN THAT IS RELEVANT TO TODAY.           SO I

13       HAVE GIVEN COPIES OF THOSE CASES TO COUNSEL FOR MS.

14       STEIN AND TO THE STATE.        I HAVE A PACKAGE OF THEM FOR

15       THE COURT AS WELL, IF I CAN GIVE THEM TO THE COURT

16       REPORTER.

17                         THE COURT:     ACTUALLY JUST GIVE THEM TO MY

18       DEPUTY, PLEASE.     THANK YOU.

19                         MR. TABAS:     YOUR HONOR, JUST ALSO BEFORE

20       I GET INTO MY ARGUMENT, I HAVE A COUPLE OF HOUSEKEEPING

21       MATTERS IN RESPONSE TO THE ISSUES THAT WERE MENTIONED BY

22       MR. MAAZEL DURING HIS PRESENTATION.        HE REFERRED TO THE

23       SITUATION IN MONTGOMERY COUNTY AND MADE REFERENCE TO A

24       FACT THAT THERE WERE 4,000 PLUS VOTERS WHO DID NOT VOTE

25       AT ALL.     OF COURSE, HE HAD NO WITNESSES OR ANYTHING TO
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 1       ESTABLISH THAT.     I DID NOT CHALLENGE IT AT THE TIME

 2       BECAUSE I DIDN'T THINK IT WAS NECESSARY TO, BUT THE

 3       REASON I DID NOT, YOUR HONOR, IS BECAUSE MR. MAAZEL HAS

 4       NOT FURTHER PURSUED WHAT HE SHOULD HAVE AND INQUIRED AS

 5       TO WHAT THAT TERM NO VOTES MEANS IN MONTGOMERY COUNTY

 6       AND THE OTHER 66 COUNTIES IN PENNSYLVANIA.         THAT IS

 7       SIMPLY THE REFERENCE TO THE NUMBER OF UNDER VOTES THAT

 8       WERE CAST ON A MACHINE.        IT MAY SAY NO VOTES, BUT IF HE

 9       HAD INQUIRED, HE WOULD HAVE FOUND OUT THAT IT'S UNDER

10       VOTES.

11                         THE COURT:     I'M SORRY.   IT HAS BEEN A

12       LONG TIME SINCE 2000.      WHAT IS AN UNDER VOTE?

13                         MR. TABAS:     AN UNDER VOTE IS LET'S SAY

14       YOU CAN VOTE FOR FIVE PEOPLE --

15                         THE COURT:     IF SOMEBODY DOES NOT CAST A

16       VOTE FOR EVERY OFFICE, EVERY OFFICE FOR WHICH A PERSON

17       MAY VOTE.     SO IF THERE ARE FIVE ROW OFFICES, AND THE

18       PERSON VOTES FOR ONLY FOUR, THAT IS AN UNDER VOTE?

19                         MR. TABAS:     THAT WOULD BE AN UNDER VOTE,

20       THE SAME AS IF, LET'S SAY YOU DID NOT CAST A VOTE FOR

21       THE ATTORNEY GENERAL'S OFFICE AT ALL, THAT WOULD BE AN

22       UNDER VOTE.     AND THEN THERE IS SUCH A THING AS AN OVER

23       VOTE BUT THAT IS WHEN YOU VOTE FOR TOO MANY PEOPLE.              BUT

24       THAT IS A DIFFERENT ISSUE.

25                         THE COURT:     OKAY.
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 1                        MR. TABAS:    IN ADDITION, MR. MAAZEL SAID

 2       THAT THERE WERE SEVERAL, MAYBE AS MANY AS SIX RECOUNTS

 3       STILL PENDING IN PENNSYLVANIA.       FROM PERSONAL KNOWLEDGE,

 4       BECAUSE THAT IS ALL I HAVE BEEN INVOLVED WITH SINCE

 5       NOVEMBER 8TH, THERE IS ONLY ONE THAT IS CURRENTLY

 6       PENDING.   64 OF OUR COUNTIES HAVE CERTIFIED THE RESULTS,

 7       I HAVE CONFIRMED WITH THE DEPARTMENT OF STATE YESTERDAY.

 8       ONE WILL CERTIFY TOMORROW AT 11:00 AM.        THE REMAINING

 9       TWO WILL CERTIFY ON MONDAY.

10                        THE COURT:    I DON'T THINK WHAT THE TWO OF

11       YOU ARE SAYING IS AT ALL INCONSISTENT.        WHY DON'T YOU GO

12       ON?

13                        MR. TABAS:    THANKS.

14                        THEN I WOULD LIKE TO ADDRESS ONE OF THE

15       POINTS THAT MR. MAAZEL HAS MADE AS PART OF HIS ARGUMENT,

16       PART OF HIS SEVEN REASONS FOR WHY THIS COURT SHOULD

17       GRANT THE EXTRAORDINARY RELIEF REQUESTED.

18                        AND HE TALKS ABOUT THE FACT THAT THE

19       RULES FOR RECOUNTS, ELECTION CONTESTS ARE CONFUSING,

20       THEY'RE UNKNOWN, THEY'RE ARBITRARY HE SAID TODAY.          HE

21       REFERRED TO ACTUALLY INTERESTINGLY ENOUGH PROBLEMS WITH

22       THE PROTHONOTARY, WHICH IS NOT ONLY DIFFICULT TO

23       PRONOUNCE, BUT SOMETIMES VERY DIFFICULT TO SPELL AS

24       WELL.   BUT MR. MAAZEL SHOULD BECOME FAMILIAR AND I WOULD

25       ASK THE COURT TO TAKE -- TO REVIEW THE DECISION OF IN
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 1       RE:   PHILADELPHIA DEMOCRATIC MAYORALTY PRIMARY ELECTION

 2       CONTEST FROM BACK IN 1979.      IT'S IN THE PACKAGE THAT I

 3       PROVIDED TO THE COURT.      INTERESTINGLY ENOUGH, MR. HARVEY

 4       WAS COUNSEL FOR ONE OF THE PARTIES IN THAT CASE AND

 5       ACTUALLY IN THE SAME ROLE THAT I AM TODAY, OPPOSING

 6       EFFORTS IN AN ELECTION CONTEST MATTER.        IN THAT DECISION

 7       -- IT WAS A COMMON PLEAS COURT DECISION BUT IT CITED A

 8       VERY WELL-KNOWN, A VERY HIGHLY REGARDED STATE SUPREME

 9       COURT DECISION, MADIGAN APPEAL DEALING WITH SUCH ISSUES

10       AS RECOUNTS IN ELECTION CONTESTS.        IN THAT CASE, IN THE

11       DEMOCRATIC MAYORAL CASE, THE PARTIES SEEKING TO

12       CHALLENGE THE ELECTION GOT MISINFORMATION FROM A

13       PROTHONOTARY AND MADE MISTAKES AND FILED INCORRECTLY THE

14       CHALLENGES TO THE ELECTION CONTEST.

15                        THE COURT SAID THAT COUNSEL FOR

16       PETITIONERS CANNOT BE PERMITTED TO RELY ON

17       MISINFORMATION FROM THE PROTHONOTARY'S OFFICE WHEN A

18       READING OF THE STATUTE WOULD HAVE SUPPLIED COUNSEL WITH

19       THE CORRECT INFORMATION.      THE COURT WENT ON TO SAY THAT

20       WHERE THERE IS A STATUTE WHICH DOES SET FORTH IN CLEAR

21       AND CONCISE TERMS THE REQUIREMENTS FOR PROCEEDING,

22       COUNSEL'S RELIANCE UPON MISINFORMATION FROM THE

23       PROTHONOTARY CANNOT JUSTIFY HER FAILURE TO PROPERLY FILE

24       HER CHALLENGE.    AND IF COUNSEL HAD DONE THE RESEARCH AND

25       HAD REVIEWED THE CASE LAW AND HAD ACTUALLY REVIEWED THE
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 1       VARIOUS STATUTORY PROVISIONS, THEY WOULD HAVE SEEN THAT

 2       THERE WAS A VERY CLEAR PROCESS IN PENNSYLVANIA FOR DOING

 3       RECOUNTS, RECANVASSES AND ELECTION CONTESTS.         IT'S NOT

 4       REALLY 67 SEPARATE ONES.       THE PROVISIONS IN THE ELECTION

 5       CODE APPLY TO ALL 67 OF THE COUNTIES.

 6                         SO NOW, YOUR HONOR, I GO INTO A FEW

 7       BROADER POINTS.     JILL STEIN, WHO IS ONE OF THE TWO

 8       PLAINTIFFS HERE TODAY, WHO GARNERED LESS THAN 1 PERCENT

 9       OF THE VOTES CAST OF ABOUT 6 MILLION IN PENNSYLVANIA, IS

10       SEEKING, AS THEY HAVE SAID TODAY, NOT ONLY A RECOUNT IN

11       MANY COUNTIES, BUT THEY ARE ALSO SEEKING THIS FORENSIC

12       EXAMINATION.    TO BE HONEST, YOUR HONOR, WE BELIEVE THE

13       HEART OF THE PLAINTIFF'S MOTIVE IN REALLY BRINGING THIS

14       CASE, AND ALL THE POST-ELECTION CASES THAT THEY BROUGHT

15       THESE LAST FEW WEEKS, IS A COMMENT THEY MADE ON PAGE 2

16       OF THEIR MEMORANDUM OF LAW, QUOTE:        A MAJORITY OF THE

17       MACHINES VOTED FOR DONALD TRUMP IN PENNSYLVANIA, END OF

18       QUOTE.

19                         THEIR DISAPPOINTMENT IN THAT REALITY IS

20       WHAT IS DRIVING THEIR UNSUBSTANTIATED CLAIMS IN AN

21       EFFORT TO DELAY THE ELECTORAL COLLEGE WHICH MUST MEET ON

22       DECEMBER 19TH OF THIS YEAR TO CAST ITS BALLOTS.

23                         THE COURT:    IF PENNSYLVANIA'S VOTE IS NOT

24       CERTIFIED BY DECEMBER 13TH, WHAT HAPPENS?

25                         MR. TABAS:    IF IT IS NOT, THERE IS A
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 1       GREAT RISK THAT THE MATTER WILL THEN FLOW EITHER TO THE

 2       LEGISLATURE OF PENNSYLVANIA, WHO MAY HAVE TO SELECT

 3       ELECTORS FOR THE STATE OF PENNSYLVANIA.         BUT ALL OF THE

 4       PEOPLE IN PENNSYLVANIA, THE MILLIONS OF VOTERS WHO DID

 5       VOTE FOR THE 20 ELECTORS FOR THE PRESIDENT ELECT AND

 6       VICE-PRESIDENT ELECT WILL HAVE BEEN COMPLETELY

 7       DISENFRANCHISED BY THAT.       THAT IS WHAT BUSH VERSUS GORE

 8       RECOGNIZED.     THAT IS WHERE AT LEAST FIVE OF THE JUSTICES

 9       STATED THAT ALL STATE PROCEDURES DEALING WITH CHALLENGES

10       TO AN ELECTION FOR A STATE THAT HAS OPTED INTO THE

11       FEDERAL SAFE HARBOR UNDER 3 U.S.C. SECTION 5, AND

12       PENNSYLVANIA HAS OPTED IN, MUST CEASE.        IN THAT YEAR, IT

13       WAS DECEMBER 12TH.     THIS YEAR IT'S DECEMBER 13TH.       IT

14       MUST CEASE.     THAT IS BINDING PRECEDENT OF THE UNITED

15       STATES SUPREME COURT.

16                         THE COURT:    IF -- HOW LONG WOULD A

17       STATEWIDE RECOUNT TAKE, 67 COUNTIES TAKE?

18                         MR. TABAS:    WELL, HAVING BEEN INVOLVED IN

19       ONE FOR THE CURRENT PRESIDENT JUDGE OF THE SUPERIOR

20       COURT, WHICH WE WON, IT TOOK -- IT WAS DECEMBER 30TH, I

21       BELIEVE.     MR. HARVEY WAS ALSO IN THAT MATTER.       HE RAN

22       INTO FEDERAL COURT ALSO ON I THINK IT WAS THE 29TH --

23                         THE COURT:    HE KEEPS TURNING UP LIKE A

24       BAD PENNY.

25                         MR. TABAS:    HE WAS KEEPING ME BUSY RIGHT
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 1       THROUGH THE END OF THE YEAR.

 2                        THE COURT:    I UNDERSTAND.

 3                        YET THE PLAINTIFFS ARE SAYING WHAT THEY

 4       REALLY WANT IS A MUCH NARROWER SLICE THAN THAT.          IT

 5       WOULD TAKE ONLY A DAY.

 6                        MR. TABAS:    YOUR HONOR, I HAVE DONE THIS.

 7       I HAVE NOT DONE IT AS LONG AS MR. HARVEY, WHO'S PROBABLY

 8       HAS BEEN DOING ELECTION LAW SINCE THE DAYS OF WILLIAM

 9       PENN PROBABLY, BUT I HAVE DONE THIS FOR QUITE SOME TIME.

10       AND I'LL TELL YOU SOMETHING.       THERE IS ONE THING THAT IS

11       CERTAIN, IT WILL NOT TAKE A DAY.       AND FOR THEM TO EVEN

12       COME IN NOW, THEY HAVE HAD SO MANY SHIFTING CLAIMS AND

13       ARGUMENTS.    THEY CREATED THE DELAY THAT PUT US HERE

14       TODAY.   THIS ELECTION ENDED ON THE 8TH.

15                        THE COURT:    I HAVE NOT ASKED PLAINTIFFS

16       ABOUT THAT.    I INTEND TO.    WHY THEY WAITED UNTIL THE

17       LAST DAY UNDER THE LAW TO RAISE THEIR CHALLENGE, BUT GO

18       AHEAD.

19                        MR. TABAS:    THERE WERE MANY OPPORTUNITIES

20       FOR THEM TO DO OTHER THINGS PRIOR TO THE DATE THEY DID

21       FILE IT AND THE DATE THAT THEY GOT HERE.

22                        JUST -- BRIEFLY, THE OTHER THING THAT I

23       WANT TO POINT OUT TO THE COURT IS, AFTER THEY FILED THE

24       COMPLAINT IN THIS COURT THIS MONDAY, THE PLAINTIFFS

25       THROUGH THE PARTIES THAT THEY HAVE CONTROLLED,
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 1       SUPERVISED, FINANCED, CORRALLED AND ENCOURAGED AND WITH

 2       THE SAME ATTORNEYS THAT ARE SITTING HERE TODAY AND WITH

 3       SIMILAR EXPERT WITNESSES, ALSO HAVE RAISED THE VERY SAME

 4       ISSUES THAT ARE BEFORE YOUR HONOR IN THE PHILADELPHIA

 5       COUNTY COURT OF COMMON PLEAS, ALLEGHENY COUNTY COURT OF

 6       COMMON PLEAS, PREVIOUSLY ALSO IN MONTGOMERY COUNTY AS

 7       WELL.   IN THE DAYS BETWEEN MONDAY AND TODAY, THE

 8       PHILADELPHIA COURT OF COMMON PLEAS JUST YESTERDAY TURNED

 9       DOWN THEIR REQUEST FOR A FORENSIC EXAMINATION.

10                         THE COURT:    I READ JUDGE FLETMAN'S

11       OPINION.

12                         MR. TABAS:    THAT WAS TWO DAYS AGO.      THAT

13       WAS MY FAULT.     TWO DAYS AGO.    YESTERDAY JUDGE JAMES IN

14       ALLEGHENY COUNTY, THE SAME THING, ISSUED AN ORDER

15       TURNING THEM DOWN, BOTH SAYING THERE IS NO RIGHT.           THE

16       STATUTE, THE LEGISLATURE HAS PROVIDED FOR NO RIGHT OF A

17       FORENSIC EXAMINATION AS REQUESTED.        SO EVEN WHILE THEY

18       ARE ASKING YOU FOR THAT, THEY ARE ALSO SIMULTANEOUSLY

19       ASKING THESE OTHER COURTS, THAT THE MONTGOMERY COUNTY

20       COURT TURNED THEM DOWN AS WELL, AND THEY RECENTLY

21       APPEALED THAT I BELIEVE YESTERDAY.

22                         SO THEY ARE NOT ONLY FORUM SHOPPING.

23       THEY ARE FORUM AVOIDANCE.

24                         THE COURT:    ANY DECISION BY THE MICHIGAN

25       SUPREME COURT?     CAN ANYBODY TELL ME?
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 1                         MR. TABAS:    YES.   AND I DID -- WE GOT IT

 2       IN TIME YESTERDAY THAT I COULD PUT IT INTO OUR BRIEF.

 3       WHAT HAPPENED IS THE MICHIGAN COURT OF APPEALS, FEDERAL

 4       COURT OF APPEALS.

 5                         THE COURT:    I'M AWARE OF WHAT THE SIXTH

 6       CIRCUIT HAS DONE.     I'M AWARE OF WHAT THE MICHIGAN COURT

 7       OF APPEALS HAS DONE.      MY UNDERSTANDING WAS THERE WAS

 8       REVIEW BEING SOUGHT IN THE MICHIGAN SUPREME COURT.

 9       MR. MAAZEL IS NODDING.      HAS THE MICHIGAN SUPREME COURT

10       ACTED YET?

11                         MR. TABAS:    TO THE BEST OF MY KNOWLEDGE,

12       NO.   THE DISTRICT COURT THOUGH --

13                         THE COURT:    I UNDERSTAND WHAT THE

14       DISTRICT COURT DID.

15                         MR. TABAS:    YOU KNOW WHAT THEY DID.

16                         THE COURT:    I KNOW.   I KNOW WHAT JUDGE

17       GOLDSMITH, I GUESS, DID.

18                         I'M LOOKING AT PLAINTIFFS COUNSEL TABLE,

19       NO DECISION YET OUT OF MICHIGAN?

20                         MR. MAAZEL:    NOT THAT I'VE HEARD.      AS OF

21       THE MOMENT I WALKED INTO THIS COURTROOM.

22                         THE COURT:    IF YOU GUYS DON'T KNOW, I'M

23       SATISFIED THAT THERE IS NO DECISION YET.

24                         GO ON, MR. TABAS.

25                         MR. TABAS:    THANK YOU, YOUR HONOR.
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 1                         CLEARLY, I THINK THAT IT GOES WITHOUT

 2       QUESTION AND THE SECRETARY WHO UNFORTUNATELY DID NOT

 3       HAVE A CHANCE TO DO MUCH OF AN ARGUMENT UNTIL THE END,

 4       STATED ALSO CLEARLY IN HIS BRIEF, AS WE DID, THAT THERE

 5       HAS BEEN A COMPLETE FAILURE TO ALLEGE ANY FACTS WHICH IF

 6       PROVEN WOULD HAVE CHANGED THE OUTCOME OF THE ELECTION

 7       CERTAINLY AS TO MS. STEIN, AND SHE CERTAINLY COULD HAVE

 8       NO INTEREST IN CHANGING THE RESULTS FOR MS. CLINTON

 9       BECAUSE SHE WAS RUNNING AGAINST MS. CLINTON.

10                         BUT I WANT TO REFER -- THE MICHIGAN

11       FEDERAL COURT DECISION THAT DID COME DOWN RELEASING THE

12       TRO IS IMPORTANT BECAUSE THAT LEADS ME TO GO INTO A

13       BRIEF DESCRIPTION OF THE PENNSYLVANIA STATUTORY PROCESS

14       FOR THESE CHALLENGES THAT WERE AVAILABLE TO THE

15       PLAINTIFFS HERE IN THIS CASE.       THE FACT OF THE MATTER IS

16       SHE CANNOT POINT TO ANY ACTS OF FRAUD, AS WE HAVE BEEN

17       SAYING THROUGHOUT THIS.      BUT THE ENTIRE CLAIM THAT SHE

18       IS MAKING FOR RELIEF IN ALL OF HER PLEADINGS INCLUDING

19       THE PLEADINGS HERE, EVEN THOUGH THEY CITE THE

20       CONSTITUTIONAL PROVISION IS -- BASICALLY ONLY EMANATES

21       FROM STATE LAW.     THERE IS NO CLAIM BY THE PLAINTIFFS,

22       ANYWHERE OTHER THAN THOSE PROVISIONS, THAT THERE IS ANY

23       STATUTORY FEDERAL RIGHT TO THE RELIEF THAT THEY ARE

24       SEEKING.    AND THE MICHIGAN U.S. DISTRICT COURT IN THE

25       EASTERN DISTRICT YESTERDAY CONCLUDED THAT AS WELL.
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 1                         BUT MORE IMPORTANTLY, THAT COURT IN THE

 2       DECISION YESTERDAY WENT THROUGH THE ANALYSIS OF THE ROLE

 3       OF THE STATE IN POST ELECTION CHALLENGES.         IN CITING

 4       BUSH VERSUS GORE, NUMBER ONE, THEY WENT THROUGH AND

 5       ACKNOWLEDGED THAT THE SUPREME COURT STATED THAT THE

 6       FEDERAL COURTS WILL NOT INTERFERE WITH THE PROCESS BY

 7       WHICH THE CONSTITUTION HAS GIVEN TO THE LEGISLATURES OF

 8       THE STATE THE POWER TO HANDLE THE ELECTION OF ELECTORS

 9       TO THE ELECTORAL COLLEGE.       THAT IS A CONSTITUTIONAL

10       RIGHT DELEGATED TO THE LEGISLATURE.        OUR LEGISLATURE HAS

11       GONE THROUGH AND IN OUR STATUTE WE HAVE THE PROVISIONS

12       OF HOW THE ELECTORS ARE TO BE ELECTED TO THE ELECTORAL

13       COLLEGE.     IN BUSH ONE, THE SUPREME COURT SAID THAT IS

14       NOT A PROCESS TO BE INTERFERED WITH BY THE FEDERAL

15       COURTS.

16                         AND OUR PROCESS HAS BEEN IN PLACE FOR

17       QUITE SOME TIME, AND THERE IS A BASIC HISTORY OF CASE

18       LAW THAT SUPPORTS AND SETS FORTH CLEARLY WHAT MUST BE

19       DONE.     I CITE IT IN REFERENCE TODAY THE MADIGAN CASE,

20       THE SUPREME COURT OF PENNSYLVANIA AND ALSO THE

21       PHILADELPHIA MAYORALTY ONE AND THEY CITE NUMEROUS CASES

22       AS WELL.     THERE IS A QUITE CLEAR PROCESS THAT ANYONE CAN

23       FOLLOW IN ORDER TO GET POST ELECTION RELIEF.

24                         AND IMPORTANTLY, ONE OF THE CASES THAT WE

25       CITED OF THE SUPREME COURT OF PENNSYLVANIA IN THE CASE
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 1       OF IN RE:    JONES, THE REASON FOR ALL THIS IS, YOUR

 2       HONOR, IS BECAUSE THERE IS A MAJOR PUBLIC POLICY REASON

 3       WHY ELECTION CONTESTS HAVE TO BE DECIDED EXPEDITIOUSLY

 4       BECAUSE OF THE ABILITY TO HAVE TRANSFER OF POWER, HAVE

 5       GOVERNMENT CONTINUE AND TO BE EFFECTIVE IN THIS

 6       PARTICULAR WAY.

 7                         I WANT TO ALSO MOVE ON BRIEFLY TO THE

 8       ISSUE OF STANDING, YOUR HONOR.        WE BELIEVE -- THE

 9       INTERVENORS BELIEVE THAT THIS COURT LACKS JURISDICTION

10       OVER THIS CASE ENTIRELY BECAUSE THE PLAINTIFFS HAVE NO

11       STANDING.    NOW I HAVE ARGUED SOME OTHER POINTS FIRST

12       BEFORE I GOT TO YOUR JURISDICTIONAL ONE, I APOLOGIZE,

13       BUT I THOUGHT THE BACKGROUND WOULD BE HELPFUL.          STEIN

14       HERSELF HAS NOT BEEN ABLE TO ASSERT, NOR CAN YOU FIND IT

15       IN ANY ONE OF HER PLEADINGS ANYWHERE, ANY ACTUAL INJURY

16       OR EVEN AN IDENTIFIABLE POTENTIAL HARM.         SHE HAS TO,

17       UNDER THE STANDARD OF WITTMAN -- AND I'M GOING TO HAVE

18       TROUBLE PRONOUNCING THE DEFENDANT IN WITTMAN,

19       PERSONHUBALLAH, WHATEVER, BUT WE HAVE CITED IT.

20                         UNDER THAT DECISION OF THE U.S. SUPREME

21       COURT, SHE HAS TO BE ABLE TO PROVE THAT SHE HAS AN

22       INJURY TRACEABLE TO THE CONDUCT LIKELY TO BE ADDRESSED

23       BY A FAVORABLE OUTCOME.      SHE HAS NONE.     SHE HAS NOT

24       ASSERTED ONE.     THEREFORE SHE HAS NO INJURY FOR WHICH SHE

25       CAN HAVE STANDING.      AND NOTABLY NOWHERE IN ANY OF HER
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 1       PLEADINGS DID STEIN SAY SHE WILL WIN OR MIGHT WIN.          IN

 2       FACT, SHE HAS THIS GENERAL ALLEGATION OF MAYBE DOING

 3       GOOD TO FIND OUT WHO DID THE VOTERS REALLY VOTE FOR.

 4       AND ALSO AS THE SUPREME COURT OF THE UNITED STATES HELD

 5       IN LUJAN VERSUS THE DEFENDERS OF WILDLIFE CASE, WHICH WE

 6       CITED, THAT YOU CANNOT SIMPLY COME IN AND HAVE STANDING

 7       BECAUSE YOU HAVE A GENERALLY AVAILABLE GRIEVANCE ABOUT

 8       GOVERNMENT.    I THINK IT'S PROBABLY COMMON THAT MANY

 9       PEOPLE HAVE SUCH A GRIEVANCE.       BUT YOU HAVE TO SHOW HARM

10       TO YOURSELF OR THE LIKELIHOOD OF THAT.

11                         NOW WRIGHTS, HE HAS ABSOLUTELY NO

12       STANDING BECAUSE HE HAS PLEADED NO FACTS WHATSOEVER THAT

13       WOULD SHOW THAT HIS VOTE WAS NOT COUNTED.

14                         SO ON THAT BASIS, YOUR HONOR, THE LACK OF

15       STANDING I WOULD SUGGEST TO THIS COURT DEPRIVES THIS

16       COURT OF JURISDICTION OVER THIS MATTER, AND IT SHOULD BE

17       -- PRELIMINARY INJUNCTION SHOULD BE CERTAINLY DENIED FOR

18       THAT BASIS AND I WOULD ALSO ASK THAT THE CASE BE

19       DISMISSED AS WELL.

20                         THE PLAINTIFFS CLEARLY, YOUR HONOR, DO

21       NOT MEET THE STANDARDS FOR A PRELIMINARY INJUNCTION.

22       AND I'M NOT HERE ON THE MOTION BY THE WAY FOR -- TO

23       DISMISS.    I'M ONLY IN A RESPONSE TO THE PI.       THERE IS NO

24       LIKELIHOOD OF SUCCESS ON THE MERITS.        I THINK THEIR

25       STRONGEST ARGUMENT THEY BELIEVE THEY COULD HAVE MADE WAS
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 1       THROUGH THE EXPERTS TODAY, AND I THINK THAT WAS

 2       COMPLETELY SHOWN TO HAVE NO MERIT AND NO VALUE,

 3       CERTAINLY NO ALLEGATIONS OF ANYTHING IN PENNSYLVANIA

 4       REGARDING THE MACHINES, NONE WHATSOEVER FROM THEIR OWN

 5       EXPERT.

 6                         STEIN HERSELF, IN AN ARTICLE THAT SHE

 7       RECENTLY WAS INTERVIEWED FOR IN COSMOPOLITAN MAGAZINE,

 8       NOT SOMETHING I USUALLY READ, BUT WE DID CITE IT AND I

 9       GAVE YOU THE LINK.

10                         THE COURT:     AT LEAST AS INTERESTING AS

11       THE PRO HAC MOTION.

12                         MR. TABAS:     I BETTER NOT COMMENT THERE.

13       I WILL GET IN TROUBLE.      SHE QUOTED.    THIS IS STEIN

14       HERSELF, REGARDING THE -- WHY DID SHE WITHDRAW THE

15       PENNSYLVANIA ELECTION CONTEST?        QUOTE:    WELL, THE

16       PROBLEM WAS NOT THAT IT WAS TOO EXPENSIVE, BUT IT WAS A

17       DEAD END COURSE OF ACTION, END QUOTE.          SHE WENT ON TO

18       SAY:   THEN THERE IS THE OTHER ISSUE OF THE POLITICAL

19       ENTRENCHED COURT SYSTEM WHERE THEY PUT THE RECOUNT

20       CAMPAIGN IN AN IMPOSSIBLE SITUATION BY CALLING FOR A

21       COURT DATE THAT WOULD REQUIRE EVIDENCE ABOUT THE

22       PROBLEMS WITH THE VOTING SYSTEM BEFORE WE WOULD HAVE THE

23       EVIDENCE, END OF QUOTE.        SO SHE IS ADMITTING SHE HAD NO

24       EVIDENCE TO EVEN BRING THE CLAIM.

25                         THEN IN THE COMMONWEALTH COURT CASE, SHE
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 1       ASKS FOR A CONTINUANCE AND IN THE CONTINUANCE FURTHER

 2       ADMITTED THAT THERE WAS NO EVIDENCE FOR THE CLAIM.          THAT

 3       IS WHY THEY NEEDED IT.

 4                         NOW LET ME GET QUICKLY TO THE TIMELINE

 5       BECAUSE I BELIEVE THAT THERE HAS BEEN COMPLETELY

 6       UNREASONABLE DELAY HERE, WHICH WOULD BE GROUNDS TO DENY

 7       THE PRELIMINARY INJUNCTION.       I MENTIONED THAT ON

 8       NOVEMBER 8TH WAS THE ELECTION.       BETWEEN NOVEMBER 9TH AND

 9       THE 13TH THEY TOOK NO STEPS WHATSOEVER TO ASSERT ANY

10       CLAIMS THAT THEY COULD HAVE HAD UNDER THE ELECTION CODE.

11       IN FACT THEY TOOK NO STEPS THAT THEY COULD HAVE TAKEN

12       PRIOR TO THE ELECTION.      THERE ARE AT LEAST THREE

13       PROVISIONS UNDER THE ELECTION CODE FOR STEPS THAT A

14       CANDIDATE AND POLITICAL PARTIES CAN TAKE TO EXAMINE

15       VOTING MACHINES AND TO RAISE ALL OF THESE ISSUES.          THEY

16       HAVE NEVER DONE ANY OF THAT.

17                         THEIR EXPERT AND THEY ADMIT THAT THEY

18       HAVE KNOWN ABOUT THESE PROBLEMS FOR YEARS, BUT THEY

19       WAITED UNTIL THIS LAST MINUTE NOW TO DO IT.         ON

20       NOVEMBER 14TH BY LAW IN PENNSYLVANIA, THE OFFICIAL

21       COMPUTATION OF THE BALLOTS AND THE VOTES TAKE PLACE, IN

22       ALL 67 COUNTIES.     DID NOT RAISE ANY CONCERNS THROUGHOUT

23       THAT WHOLE PROCESS THAT IS OPEN TO THE PUBLIC, TO WHICH

24       THEY ARE ALLOWED TO HAVE WATCHERS PRESENT.         EVEN

25       LAWYERS, THEY COULD EVEN -- IT'S A GOOD THING FOR
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 1       LAWYERS.     THEY CAN MAKE A LIVING.     THEY COULD GO DOWN

 2       AND WATCH IT.     DID NONE OF THAT.

 3                         THEN, ON NOVEMBER 28TH, THE LAST POSSIBLE

 4       DAY TO FILE ELECTION CONTEST, THEY FILED ONE.           IT'S TWO

 5       PAGES.     TWO PAGES.   THERE WAS A THIRD PAGE.     IT WAS

 6       BASICALLY A SIGNATURE LINE AND SO FORTH OF LEARNED

 7       COUNSEL.     THE ELECTION CONTEST DID NOT EVEN RAISE ANY

 8       CONSTITUTIONAL CLAIM WHATSOEVER.        IT CONTAINED NO

 9       EVIDENCE OF ACTING.      IN FACT, THEY WENT ON AND BASICALLY

10       ADMITTED IN THE ELECTION CONTEST THAT IT WAS A PLACE

11       HOLDER.     THEY SAID HERE WE ARE JUST FILING BECAUSE OF

12       THE DEADLINE AND WE ARE IN SEARCH OF EVIDENCE, A FISHING

13       EXPEDITION, AS THE STATE HAD SAID.        BUT THAT IS

14       COMPLETELY IN VIOLATION OF THE STATUTORY REQUIREMENTS OF

15       THE ELECTION CODE UNDER 3456, 3457, 3458.

16                         NOVEMBER 29TH, THE COMMONWEALTH COURT

17       PROMPTLY SCHEDULED HEARINGS IN THAT MATTER.         NEXT TWO

18       DAYS LATER THEY ASKED FOR A CONTINUANCE OF THREE DAYS.

19       THE COURT EVEN GAVE THEM A PARTIAL CONTINUANCE AND SAID,

20       FINE, ON DECEMBER 5TH, MONDAY THE 5TH, YOU WILL HAVE

21       ORAL ARGUMENT.     HERE ARE SOME ISSUES I WANT YOU TO

22       ADDRESS.     I WILL GIVE YOU TO THE 8TH OF DECEMBER TO PUT

23       ON YOUR EVIDENCE, WHICH WOULD HAVE BEEN TODAY, YOUR

24       HONOR.

25                         WHAT DID THEY DO?     BY THE WAY, THE COURT
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 1       EVEN WENT A COUPLE OF STEPS FURTHER.          THEY ALSO SET THE

 2       BOND AT A MILLION DOLLARS, THAT'S CORRECT.          BUT THE

 3       COURT MADE IT CLEAR IN THE ORDER.          ANY OF THE PARTIES

 4       CAN GO INTO THE COURT AND SEEK THE RIGHT TO MODIFY IT

 5       UPON GOOD CAUSE SHOWN.      THEY DID NOT DO THAT, BUT THE

 6       COURT DID SOMETHING UNUSUAL.       THEY KEPT THE COMMONWEALTH

 7       COURT E-FILE SYSTEM OPEN THROUGH THE WEEKEND, DIRECTED

 8       THE CHIEF CLERK TO GIVE US HIS E-MAIL AND PHONE NUMBER

 9       SO THAT IF WE WANTED TO FILE PLEADINGS ON THOSE ISSUES

10       OVER THE WEEKEND, THEY COULD BE ACCEPTED AND DISTRIBUTED

11       TO THE PARTIES.     NOW, I WILL TELL YOU THEY DID FILE

12       SOMETHING.    ON SATURDAY NIGHT AT 5 PM THEY FILED TO

13       WITHDRAW, AND THE COURT CLOSED THE CASE.

14                         THEY HAD A PRESS CONFERENCE ON SUNDAY THE

15       6TH SAYING THEY WERE GOING TO COME IN AND VISIT YOUR

16       HONOR AND FILE A COMPLAINT, WHICH THEY DID THIS PAST

17       MONDAY.

18                         THE COURT:    SUNDAY WAS NOT THE 6TH.       THE

19       4TH.

20                         MR. TABAS:    THE 4TH.     THE DAYS HAVE BEEN

21       FLYING BY, YOUR HONOR.

22                         SO NOW WE HAVE GOTTEN TO THIS WHOLE

23       PROCESS, AND HERE WE ARE TODAY, ON THE EVE OF THE

24       FEDERAL SAFE HARBOR DEADLINE.       THE BUSH VERSUS GORE, THE

25       MAJORITY CLEARLY SAID ALL PROCESSES HAVE TO END, AND
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 1       THEY ARE ABOUT TO END; AS THEY SAID THERE IS ONE LEFT,

 2       IT WILL FINISH THIS WEEKEND, ALL CERTIFICATIONS WILL BE

 3       IN.

 4                         THIS IS A VERY CLEAR AND SEVERE DELAY

 5       WHICH FEDERAL COURTS HAVE ROUTINELY RECOGNIZED IS THE

 6       BASIS FOR DENYING PRELIMINARY INJUNCTIONS.         IN FACT,

 7       THIS VERY COURT SAID NOT TOO LONG AGO THAT IN THE CASE

 8       OF THE PENNSYLVANIA DEMOCRATIC PARTY VERSUS THE

 9       REPUBLICAN PARTY AND MR. TRUMP, ET AL:         DILATORY CONDUCT

10       WEIGHS DECIDEDLY AGAINST GRANTING THE EXTRAORDINARY

11       RELIEF IT SEEKS ESPECIALLY WHERE HERE THERE IS AN

12       ELECTION LOOMING.     THAT WAS THE DAY BEFORE.

13                         THIS COURT SAID THAT AN UNREASONABLE

14       DELAY IS BASIS FOR DENYING INJUNCTIVE RELIEF, DELAY

15       KNOCKS THE BOTTOM OUT OF ANY CLAIM OF THE IMMEDIATE AND

16       IRREPARABLE INJURY.      YOUR HONOR, I THOUGHT THAT WAS WELL

17       PUT.

18                         THE COURT:    THANK YOU.

19                         MR. TABAS:    THAT IS WHERE WE ARE HERE

20       TODAY.   THEN FINALLY, YOUR HONOR, I WILL CONCLUDE, THE

21       SAFE HARBOR, I JUST WANT TO GO BACK TO THAT AGAIN.            THIS

22       IS THE MOST CRITICAL PART.

23                         PENNSYLVANIA MUST CERTIFY THE ELECTORS BY

24       DECEMBER 13TH.     IN FACT, IT WOULD BE BEST IF THEY WERE

25       ALL CERTIFIED ON THE 12TH TO THE SECRETARY OF THE
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 1       COMMONWEALTH WHO HAS TO PRESENT THE RESULTS TO THE

 2       GOVERNOR.    THE GOVERNOR ACTUALLY IS IN CHARGE OF

 3       CERTIFYING THE ELECTORS.      THIS IS UNDER 3 U.S.C. SECTION

 4       5.   THE ELECTORS MUST MEET BY LAW, BY FEDERAL LAW BY

 5       DECEMBER 19TH TO CAST THEIR BALLOT.        PENNSYLVANIA AS I

 6       SAID PARTICIPATES IN THE SAFE HARBOR.        JUST A QUICK

 7       REVIEW OF EVEN TITLE 25 SECTION 3191 TO 3194.          IT'S BEEN

 8       IN PLACE FOR YEARS.      SO HERE WE ARE, ONE BUSINESS DAY,

 9       TWO BUSINESS DAYS BEFORE THE DEADLINE, THE HARM TO THE

10       INTERVENORS IS IRREPARABLE BECAUSE THE FAILURE TO

11       CERTIFY WILL DISENFRANCHISE ALL OF THOSE VOTERS IN

12       PENNSYLVANIA WHO HAVE VOTED FOR THOSE ELECTORS.

13                         THERE HAVE BEEN NO PERCEPTIBLE CHANGE IN

14       THOSE FEW COUNTIES WHERE THERE HAVE BEEN SOME RECOUNTS

15       AND RECANVASSES.     BUSH VERSUS GORE, AND I WILL END ON

16       THIS, HAS SAID QUITE CLEARLY, THAT ANY CONTROVERSY

17       LEADING TO CONCLUSIVE SELECTION OF ELECTORS MUST END,

18       AND THAT YEAR IT WAS DECEMBER 12TH.        THE SUPREME COURT

19       SAID, AND THIS WAS THE MAJORITY, THIS WAS BUSH TWO, THAT

20       STATUTE, REFERRING TO 3 U.S.C. SECTION 5, IN TURN

21       REQUIRES THAT ANY CONTROVERSY OR CONTEST THAT IS

22       DESIGNED TO LEAD TO A CONCLUSIVE SELECTION OF ELECTORS

23       TO BE COMPLETED BY DECEMBER 12TH, WHICH THIS YEAR WOULD

24       BE THE 13TH.

25                         SO FOR THOSE REASONS WE WOULD ASK THAT
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 1       THE COURT DENY THE REQUEST FOR PRELIMINARY INJUNCTION IN

 2       THIS MATTER.    THANK YOU, YOUR HONOR.

 3                         THE COURT:     THANK YOU.

 4                         MR. MAAZEL.

 5                         MR. MAAZEL:     YOUR HONOR, I THINK I MAY

 6       STAND AT THE PODIUM.

 7                         THE COURT:     THAT IS FINE.

 8                         MR. MAAZEL:     I THINK ONE THING THAT IS

 9       INTERESTING ABOUT TODAY'S ARGUMENT IS ACTUALLY HOW

10       LITTLE IS IN DISPUTE.

11                         IF WE GO TO THE SEVEN BURDENS THAT WE

12       HAVE DISCUSSED EARLIER.        THE FIRST QUESTION OF --

13                         THE COURT:     IF YOU DON'T MIND.    WHY DON'T

14       YOU ADDRESS TIMELINESS FIRST.

15                         WHY DID YOU WAIT UNTIL NOVEMBER 28TH?

16                         MR. MAAZEL:     SURE.   SO THERE ARE A NUMBER

17       OF REASONS, YOUR HONOR.

18                         THE FIRST IS THAT FOR VOTERS TO GO

19       THROUGH THIS PENNSYLVANIA PROCESS THE VOTERS HAVE TO DO

20       IT.   IT'S A HUGE GRASSROOTS MOVEMENT.        I MEAN THERE ARE

21       OVER 1300 PEOPLE WHO MOBILIZED AND WHO WENT TO SEEK

22       THESE PETITIONS.     THAT HAD TO HAPPEN FIRST REALLY BEFORE

23       JILL STEIN COULD COME TO FEDERAL COURT BECAUSE WE HAD TO

24       DO OUR BEST TO WORK THROUGH THE STATE --

25                         THE COURT:     I DID NOT ASK YOU WHY YOU
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 1       FILED HERE ON DECEMBER 5TH, I ASKED WHY, IF INDEED YOU

 2       FILED A PLACEHOLDER ON NOVEMBER 28TH, WHY DIDN'T YOU

 3       FILE A PLACEHOLDER ON NOVEMBER 9TH?

 4                         MR. MAAZEL:    WELL, I MEAN, THE PROBLEM

 5       WITH THE WHOLE PLACEHOLDER ISSUE IS THAT THE STATES

 6       ACTUALLY REQUIRES US TO FILE AS SOON AS WE DID.          WE

 7       FILED ON THE LAST DAY BECAUSE WE HAD TO.

 8                         THE COURT:    I UNDERSTAND THAT BUT YOU ARE

 9       NOT ONLY ASKING FOR AN EMERGENCY INJUNCTION, ALTHOUGH NO

10       ONE HAS POINTED IT OUT, YOU ARE ASKING FOR A MANDATORY

11       INJUNCTION, WHICH IS EVEN HARDER TO GET, AND ONE COULD

12       SAY THAT YOU, NOT YOU PERSONALLY BUT YOU, SAT ON YOUR

13       RIGHTS FOR SOME THREE WEEKS NECESSITATING WHAT JUDGE

14       PAPPERT CALLS, IN RULING AGAINST A SIMILAR TACTIC BY THE

15       STATE REPUBLICAN PARTY, A JUDICIAL FIRE DRILL.

16                         I HAVE WORKED ON NOTHING ELSE SINCE I GOT

17       THIS ON DECEMBER 5TH, AND I WILL BE LUCKY TO GET MY

18       OPINION OUT AND GIVE EVERYBODY THE CHANCE TO BE HEARD ON

19       DECEMBER 12TH.     HAD YOU FILED TWO OR THREE WEEKS

20       EARLIER, NONE OF THAT WOULD HAVE BEEN NECESSARY AND IT

21       WOULD ALSO SUGGEST, CONFIRM THE IDEA OF A REAL EMERGENCY

22       WARRANTING THE ISSUANCE OF A MANDATORY INJUNCTION.

23                         MR. MAAZEL:    HERE I THINK, YOUR HONOR, IS

24       THE KEY DIFFERENCE.      I BELIEVE IT WOULD HAVE BEEN

25       IRRESPONSIBLE THE DAY AFTER THE ELECTION TO FILE A
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 1       CONTEST BECAUSE USUALLY YOU ARE SUPPOSED TO FILE A

 2       CONTEST OF A CERTIFIED ELECTION.        THERE HAS TO BE

 3       SOMETHING --

 4                         THE COURT:     WHY DID YOU WAIT TWO WEEKS

 5       AFTER THE CERTIFICATION?        THE ELECTION WAS CERTIFIED ON

 6       NOVEMBER 14TH.

 7                         MR. MAAZEL:     IT WAS -- IT SHOULD HAVE

 8       BEEN BUT IT HAS NOT BEEN.        TO THIS DAY, THE ELECTION HAS

 9       NOT BEEN CERTIFIED BECAUSE COUNTIES HAVE BEEN COUNTING A

10       LOT SLOWER THAN THEY ARE REQUIRED TO UNDER PENNSYLVANIA

11       LAW SO WE WERE PUT IN THIS VERY ODD POSITION OF HAVING

12       TO FILE A CONTEST EVEN ON THE LAST DAY.         WHEN I SAY "WE"

13       I MEAN THE VOTERS OF PENNSYLVANIA.        EVEN BEFORE THERE

14       REALLY WAS AN ELECTION TO CONTEST AND THAT IS PART OF

15       OUR ARGUMENT TODAY, IS THAT THIS STATUTE PUTS VOTERS AND

16       CANDIDATES IN AN IMPOSSIBLE SITUATION.

17                         THE COURT:     WOULD YOU AGREE WITH ME THAT

18       PRECLUDING PENNSYLVANIA FROM COMPLYING WITH THE

19       DECEMBER 13TH CERTIFICATION WOULD DISENFRANCHISE ALL OF

20       PENNSYLVANIA'S VOTERS?

21                         MR. MAAZEL:     AND THAT IS CERTAINLY NOT

22       OUR INTENT.

23                         THE COURT:     BUT ISN'T THAT SOMETHING THAT

24       I HAVE TO THINK ABOUT IN BALANCING THE EQUITIES?

25                         MR. MAAZEL:     WE CERTAINLY HAVE TO
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 1       CONSIDER TIMING, I APPRECIATE THAT POINT, YOUR HONOR.

 2                         THE COURT:    HERE IT'S DISENFRANCHISEMENT?

 3                         MR. MAAZEL:    WHICH IS RELATED TO TIMING,

 4       I AGREE WITH YOUR HONOR.

 5                         THE COURT:    HAD YOU FILED A WEEK OR TWO

 6       EARLIER, NONE OF THIS WOULD HAVE BEEN NECESSARY.          MY

 7       CLERKS WOULD REMEMBER WHAT THEIR APARTMENTS LOOK LIKE

 8       AND WHAT IT IS LIKE TO SLEEP.       ALL OF THIS COULD HAVE

 9       BEEN DONE AT A MUCH SANER PACE.

10                         MR. MAAZEL:    WELL, I CERTAINLY HAVE

11       SOMETHING IN COMMON WITH YOUR CLERKS, YOUR HONOR.          I'M

12       AFRAID TO SAY AS DO ALL MY COLLEAGUES HERE, INCLUDING

13       MR. HARVEY.

14                         THE COURT:    ESPECIALLY MR. HARVEY.

15                         MR. MAAZEL:    LOOK, TO COME TO FEDERAL

16       COURT I THINK WAS VERY IMPORTANT FOR US TO HAVE A RECORD

17       OF WHAT HAPPENED IN THE STATE COURT, AND VOTERS DID

18       THEIR ABSOLUTE BEST TO WORK WITHIN THE STATE SYSTEM.

19       THEY WORKED WITHIN THE ELECTION CODE.        THEY TRIED TO

20       FILE THESE PETITIONS.      THEY -- YOU KNOW, IN 16 COUNTIES,

21       OVER 1300 PEOPLE.     I THINK OVER 375 PETITIONS.       THIS WAS

22       AN INCREDIBLE AMOUNT OF WORK AND WHEN IT BECAME CLEAR

23       THAT THERE IS ABSOLUTELY NOTHING THAT VOTERS --

24                         THE COURT:    THIS IS NOT THE FIRST

25       CHALLENGE TO AN ELECTION THAT HAS EVER BEEN FILED IN
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 1       PENNSYLVANIA.     AND THEY ARE GENERALLY FILED BEFORE THE

 2       LAST DAY, EVEN IN STATEWIDE ELECTIONS, EVEN IN STATEWIDE

 3       ELECTIONS WHERE, IN YOUR VIEW, ALL 67 COUNTIES DO THINGS

 4       DIFFERENTLY.    BUT HERE WHERE WE HAVE A COLD, HARD

 5       PROVISION THAT WILL DISENFRANCHISE 6 MILLION PEOPLE,

 6       YOUR CLIENTS WAITED UNTIL NOVEMBER 28TH TO PROCEED,

 7       MAKING IT ALMOST IMPOSSIBLE TO COMPLY EVEN IF YOU HAD

 8       GOTTEN THE RELIEF YOU WANTED FROM THE COMMONWEALTH

 9       COURT, IT WOULD HAVE BEEN ALMOST IMPOSSIBLE TO COMPLY

10       WITH THE DECEMBER 13TH CUTOFF.

11                         MR. MAAZEL:     THIS IS, I THINK, A PROBLEM

12       REALLY CREATED -- I DON'T THINK IT IS CREATED BY THE

13       PLAINTIFFS IN THIS CASE.        I THINK IT'S A PROBLEM CREATED

14       BY THE STATUTORY SCHEME IN PENNSYLVANIA, BECAUSE -- AND

15       THE REALITY OF ALL OF THESE COUNTIES COUNTING VOTES LONG

16       AFTER THEY SHOULD, AND SO THE IDEA THAT WE ARE SUPPOSED

17       TO -- THAT VOTERS GO INTO COURT.

18                         THE COURT:     I MEAN I ASKED YOUR EXPERT

19       WITNESS, IS THERE ANYTHING YOU HAVE TESTIFIED TO THAT

20       YOU DIDN'T KNOW BEFORE NOVEMBER 8TH?        HE SAID, NO.    I

21       HAVE LOOKED THROUGH EVERYTHING YOU HAVE SUBMITTED.          ALL

22       OF THIS STUFF YOU WERE WELL AWARE OF WELL BEFORE THE

23       ELECTION.    YOU HAVE LEARNED NOTHING OTHER THAN THE FACT

24       THAT ONE CANDIDATE WON AND THREE CANDIDATES LOST.

25                         MR. MAAZEL:     I MEAN, CERTAINLY SOMETHING
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 1       THAT I KNOW AT LEAST, YOUR HONOR, THAT WE CERTAINLY DID

 2       NOT KNOW BEFORE THE ELECTION IS JUST HOW UNBELIEVABLY

 3       DIFFICULT IT IS FOR ORDINARY VOTERS TO BE ABLE TO MAKE

 4       SURE THEIR VOTES COUNT UNDER THIS ELECTION REGIME.

 5                         I DON'T THINK AN EFFORT LIKE THIS HAS

 6       ACTUALLY EVER TAKEN PLACE, AN ATTEMPTED STATEWIDE VOTER

 7       INITIATED RECOUNT.     I COULD BE WRONG BUT NOBODY HAS

 8       POINTED ME TO ONE AND I THINK THAT THE RECORD DEVELOPED

 9       THROUGH THAT EFFORT IS A VERY IMPORTANT PART OF THE

10       RECORD IN THIS CASE.      YOU KNOW, WE WOULD NOT HAVE KNOWN

11       ABOUT ALL OF THE SECRET SHIFTING DEADLINES IN THESE

12       COUNTIES.

13                         THE COURT:    IF I CREDIT THE DEFENDANTS'

14       EXPERT AND DISCREDIT YOURS, YOU ARE OUT-OF-COURT, AM I

15       RIGHT?

16                         MR. MAAZEL:    WELL, WE HAVE FIVE SO I

17       THINK YOU WOULD HAVE TO DISCREDIT ALL FIVE.

18                         THE COURT:    JUST TALKING ABOUT THE TWO

19       EXPERTS THAT ARE HERE TODAY.       IF I CREDIT THE

20       DEFENDANTS' EXPERT AND THAT MEANS I NECESSARILY

21       DISCREDIT YOUR EXPERT, YOU ARE OUT-OF-COURT, CORRECT?

22                         MR. MAAZEL:    I ACTUALLY DON'T AGREE WITH

23       THAT, YOUR HONOR.     WE WOULD HAVE A HARDER CASE BUT HERE

24       IS WHY I BELIEVE THAT --

25                         THE COURT:    WELL, A DIPLOMATIC ANSWER BUT
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 1       I REALLY DON'T SEE HOW, IF I FIND THAT THE POSSIBILITY

 2       OF HACKING THE PENNSYLVANIA ELECTION VOTING MACHINES IS

 3       RIGHT UP THERE WITH SEEING ELVIS AGAIN, WHICH IS KIND OF

 4       WHAT THE DEFENDANTS' EXPERT SAID.        IF I CREDIT THAT, HOW

 5       DO YOU HAVE A LIKELIHOOD OF SUCCESS ON THE MERITS?              HOW

 6       DO YOU MAKE OUT IMMEDIATE IRREPARABLE HARM?           HOW DO YOU

 7       SHOW THAT A BALANCE OF THE EQUITIES, SIX MILLION PEOPLE

 8       DIVESTED OF THEIR VOTES VERSUS A SPECULATION OF HACKING?

 9                         MR. MAAZEL:     NO QUESTION.     I AGREE WITH

10       YOUR HONOR.     I CONCEDE IT WOULD BE A HARDER CASE, MAYBE

11       EVEN A MUCH HARDER CASE.        BUT THAT SAID, WE WOULD STILL

12       HAVE THE REALITY OF VOTERS HAVING NO WAY TO VERIFY THEIR

13       OWN VOTES IN THESE DRE MACHINES WHICH IS -- THE GREAT

14       MAJORITY OF THE STATES DO NOT DO ANYTHING LIKE THAT, AND

15       THEN THEIR COMPLETE AND UTTER INABILITY TO HAVE ANY

16       METHOD IN PENNSYLVANIA TO MAKE SURE THEIR VOTES COUNTED

17       WHEN THEY CAN'T VERIFY IT IN ANY WAY THEMSELVES WITH A

18       PAPER BALLOT.

19                         NOW, THAT WOULD BE A HARDER CASE IN AND

20       OF ITSELF THAN THE CASE WE HAVE TODAY.           I DO CONCEDE

21       THAT BUT IT STILL IS AN ENORMOUS BURDEN PLACED UPON THE

22       PENNSYLVANIA VOTER TO BE ABLE TO MAKE SURE THEIR VOTES

23       COUNTED IN SOME MEANINGFUL WAY.        IT'S STILL, I

24       BELIEVE -- THERE WAS A HARDER CASE, WOULD VIOLATE WHAT

25       THE SIXTH CIRCUIT SAID A FEW DAYS AGO, WHICH IS IF YOU
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 1       ARE GOING TO GIVE VOTERS A RIGHT, YOU CAN'T BURDEN IT TO

 2       THE EXTENT THAT THEY ARE UNABLE TO EXERCISE THAT RIGHT.

 3       THAT IS EXACTLY THE STATUTORY SCHEME HERE AND THE

 4       REALITY ON THE GROUND.      I MEAN WHEN I READ THAT LINE IN

 5       THE SIXTH CIRCUIT, THAT TO A TEE DESCRIBES EXACTLY WHAT

 6       HAS HAPPENED IN PENNSYLVANIA.       AND THAT IS THE RECORD

 7       THAT WE HAVE DEVELOPED AND THAT IS WHY WE ULTIMATELY HAD

 8       TO GO TO COURT.     I WISH WE HAD COME A LITTLE EARLIER BUT

 9       THE RECORD HAD NOT BEEN DEVELOPED EARLIER.

10                         SO IT'S ALL -- THIS IS WHY I BELIEVE THE

11       THIRD CIRCUIT HAS SAID WE HAVE TO LOOK AT EVERYTHING IN

12       COMBINATION.    IF WE REMOVE THE PIECE OF MR. HALDERMAN,

13       THE COMBINATION IS WEAKER THAN WITH HIM, I DO CONCEDE

14       THAT, BUT THERE'S STILL A COMBINATION OF FACTORS THAT IS

15       AT LEAST AS BURDENSOME AS A $5 FILING FEE THAT THE 3RD

16       CIRCUIT SAID VERY CLEARLY VIOLATES THE EQUAL PROTECTION

17       CLAUSE.    AND I JUST WANT TO ADD THAT THERE IS NO

18       DISPUTE, I MEAN ONE THING THAT IS REMARKABLE HERE IS

19       THAT THERE IS REALLY NO DISPUTE THAT I HAVE HEARD IN THE

20       PAPERS OR IN TODAY'S ARGUMENT AS TO THE COMPLETE LACK OF

21       NOTICE TO VOTERS.     THERE IS NO DISPUTE AS TO THE

22       IMPOSSIBILITY OF VOTERS DOING ANYTHING CLOSE TO A

23       STATE-WIDE RECOUNT.      THERE IS NO DISPUTE ABOUT THAT.

24       THERE IS NO DISPUTE AS TO THE MASSIVE FEES --

25                         THE COURT:    IF THERE IS NO HACKING OF THE
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 1       VOTE, DO YOU STILL HAVE A CASE?

 2                         WITH ALL OF THOSE BURDENS, WITH THOSE

 3       MEDIOCRE MACHINES, AND THE BYZANTINE NATURE OF

 4       PENNSYLVANIA'S 67 COUNTIES AND 67 COUNTY COMMISSIONERS,

 5       EACH OF WHOM THINKS HE IS GENGHIS KHAN OR SHE IS GENGHIS

 6       KHAN, IF THERE IS NO HACKING, HOW DO YOU STILL HAVE A

 7       CASE?

 8                         MR. MAAZEL:    LET'S JUST START WITH

 9       MONTGOMERY COUNTY.

10                         MR. TABAS SAID THOSE ARE UNDER VOTES.        I

11       DO URGE YOUR HONOR TO LOOK AT EXHIBIT 46.         THERE WERE

12       ACTUALLY 420,000 UNDER VOTES MEANING PEOPLE WHO DID NOT

13       VOTE FOR EVERY SINGLE THING INCLUDING CONSTITUTIONAL

14       AMENDMENTS AND THE LIKE, BUT THERE WERE 4,087 -- BEFORE

15       I SAID 4,062.     ACTUALLY 4,087.

16                         THE COURT:    I FORGIVE YOU.

17                         MR. MAAZEL:    4,087 NO VOTES; NOT UNDER

18       VOTES.   NO VOTES.    THAT IS THE LAST PAGE OF EXHIBIT 46.

19       SO WE KNOW OR WE DON'T KNOW, WE CAN SAY ALMOST TO

20       100 PERCENT CERTAINTY, CERTAINLY MORE PROBABLE THAN NOT,

21       PROBABLY WAY BEYOND CLEAR AND CONVINCING EVIDENCE THAT

22       4,087 PEOPLE DID NOT JUST SHOW UP AND DECIDE NOT TO VOTE

23       FOR ANYBODY OR ANYTHING AT ALL.       THEY JUST WANTED TO BE

24       THERE.   THAT IS IN COMBINATION WITH THE FIVE OR SIX

25       AFFIDAVITS WE HAVE IN THE RECORD THAT ESTABLISHED THAT
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 1       PEOPLE WERE TRYING TO PICK CANDIDATES AND THE NO BUTTON

 2       KEPT SHOWING UP.     SO THAT IS EVIDENCE.        THAT IS

 3       DISTURBING, THE IDEA THAT OVER 4,000 PENNSYLVANIA VOTERS

 4       HAD BEEN DISENFRANCHISED AND THERE IS ACTUALLY NOTHING

 5       THEY CAN DO IN THE STATE SYSTEM TO DEAL WITH THAT.              THEY

 6       CAN'T TAKE A RECOUNT, THEY CAN'T RECANVASS.           NOTHING

 7       THAT IS MEANINGFUL.      IN AND OF ITSELF THAT IS, IN OUR

 8       VIEW, A CONSTITUTIONAL VIOLATION AND THOSE PEOPLE ARE

 9       BEING DISENFRANCHISED.      WE DON'T WANT TO DISENFRANCHISE

10       ALL OF PENNSYLVANIA, THAT IS NOT OUR GOAL HERE.            WE

11       WOULD LIKE TO GET THIS RELIEF.

12                         THE COURT:     WHAT CAN I DO FOR THOSE --

13       HOW MANY PEOPLE WAS IT, 4,000?

14                         MR. MAAZEL:     4,087.

15                         THE COURT:     WHAT CAN I DO FOR THEM?        THE

16       ELECTION HAS BEEN HELD.        WHAT IS IT THAT I CAN -- YOU

17       HAVE ASKED FOR A FORENSIC EXAMINATION OF THOSE MACHINES.

18       THE FORENSIC EXAMINATION SAYS YES, 4,000 VOTES WERE NOT

19       RECORDED?    WHAT IS IT THAT I DO?         WHAT IS IT THAT YOU

20       ARE ASKING ME TO DO THAT I CAN DO TO CORRECT THAT?

21                         MR. MAAZEL:     THAT FORENSIC EXAMINATION

22       MAY WELL SAY WE FOUND THE MALWARE THAT CHANGED VOTES

23       FROM X CANDIDATE.

24                         THE COURT:     NO, NO, NO.     THOSE 4,000.     I

25       CAN'T DO ANYTHING ABOUT THAT.        IF, IN FACT, VOTES HAVE
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 1       NOT BEEN RECORDED AND THERE IS NO RECORD AS YOU SAY,

 2       THEN THERE IS NO JUDICIAL REMEDY THAT I CAN THINK OF, IS

 3       THERE?

 4                         MR. MAAZEL:    I THINK THERE IS, YOUR

 5       HONOR.

 6                         THE COURT:    WHAT IS THAT?

 7                         MR. MAAZEL:    YOU ARE RIGHT THAT THERE IS

 8       NO PAPER BALLOT TO LOOK AT, WHICH IS A PROBLEM.          THAT

 9       MAKES THIS A SOMEWHAT DIFFERENT CASE FROM SOME OTHER

10       CASES BUT -- AND I'M NO COMPUTER EXPERT, BUT IF A

11       COMPUTER EXPERT LOOKS INSIDE THE CODE AND SEES, IF VOTE

12       FOR CERTAIN PERSON, THEN NO VOTE.        THEN IT'S CERTAINLY

13       POSSIBLE TO SAY, FOR A FACT FINDER SUCH AS YOUR HONOR TO

14       BE ABLE TO SAY, THOSE VOTES ACTUALLY SHOULD BE COUNTED

15       FOR CERTAIN PERSON.      IT'S THE ONE AND ONLY --

16                         THE COURT:    THAT IS NOT -- THAT IS A

17       PROCESS IN ADDITION TO THE QUICK LOOK THAT YOU ARE

18       PROPOSING, CORRECT?

19                         MR. MAAZEL:    IT'S SOMETHING THAT COULD BE

20       RESOLVED ON MONDAY.

21                         THE COURT:    WELL, WHAT COULD BE RESOLVED

22       IS THE -- WHAT YOU VIEW AS THE FORENSIC AUDIT OF SOME

23       NUMBER OF MACHINES.      WHETHER OR NOT SOMEBODY CAN DIVINE

24       WHAT A VOTER, THE PERSON A VOTED WANTED TO VOTE FOR WHEN

25       SHE GOT THE NO, IS AN ENTIRELY SEPARATE PROCESS,
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 1       CORRECT?

 2                         MR. MAAZEL:     IT'S RELATED BUT IT IS

 3       SEPARATE, YES.

 4                         THE COURT:     THAT WILL CERTAINLY TAKE US

 5       PAST DECEMBER 13TH, CORRECT?

 6                         MR. MAAZEL:     WELL, LET'S PUT IT THIS WAY.

 7                         THE COURT:     LET'S PUT IT MY WAY.    IT WILL

 8       CERTAINLY TAKE US PAST DECEMBER 13TH?

 9                         MR. MAAZEL:     I THINK IT'S POSSIBLE.     I

10       DON'T KNOW WHAT THE FORENSIC EXAMINATION WILL SHOW.              I

11       DON'T --

12                         THE COURT:     IF THE FORENSIC EXAMINATION

13       SHOWS A NEED FOR FURTHER EXAMINATION AND THE FORENSIC

14       EXAMINATION TAKES ONE TO TWO DAYS, AND I'M GIVING YOU

15       THE BENEFIT OF THE DOUBT, THAT IT BEGINS ON MONDAY

16       MORNING AFTER MY DECISION, ASSUMING THAT I RULE IN YOUR

17       FAVOR AND THE THIRD CIRCUIT DOES NOT STAY MY DECISION,

18       THAT IS DONE ON MONDAY.        IT HAS TO BE CERTIFIED ON

19       TUESDAY.    IT CAN'T BE CERTIFIED ON TUESDAY, CAN IT?

20                         MR. MAAZEL:     I THINK IF IT WERE MONDAY TO

21       TUESDAY, IT WOULD BE EXTREMELY DIFFICULT.         I WOULD LIKE

22       TO MAKE A POINT IN RESPONSE TO THAT, YOUR HONOR.

23                         THE COURT:     PLEASE.

24                         MR. MAAZEL:     WHICH IS, IF THERE IS A

25       FORENSIC EXAMINATION AND IT SHOWS THAT THERE WAS MALWARE
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 1       ON THE CENTRAL COMPUTER SYSTEMS OF SIX COUNTIES IN

 2       PENNSYLVANIA THAT AFFECTED WHO -- THE ACCURATE TALLY OF

 3       THE VOTE.    IF WE LEARN THAT THERE WAS THIS SORT OF

 4       HACKING AND FRAUD IN THE STATE, I THINK THERE WOULD BE

 5       SERIOUS QUESTIONS AT THAT POINT ABOUT WHETHER IT WOULD

 6       BE PROPER.    THEN THE QUESTION IS, WHO ARE WE

 7       DISENFRANCHISING?     ARE WE DISENFRANCHISING THE

 8       PENNSYLVANIA VOTERS WHO VOTED FOR ONE CANDIDATE OR THE

 9       OTHER?    IS THERE A SERIOUS QUESTION AS TO WHO THE

10       ELECTORS SHOULD BE?      WE SHOULD KNOW THAT.     I MEAN, IT

11       SEEMS TO ME THE ALTERNATIVE CAN'T BE TO DEPRIVE US OF

12       THAT INFORMATION, BECAUSE THAT WOULD DISENFRANCHISE THE

13       PEOPLE WHO ACTUALLY VOTED FOR A CERTAIN CANDIDATE AND SO

14       I JUST DON'T THINK THE -- THE ALTERNATIVE IS WORSE.

15                         THE COURT:     DARE I SAY YOU ARE OUT OF

16       TIME?    IF YOU CAN CONCLUDE, I WOULD BE VERY GRATEFUL.

17                         MR. MAAZEL:     OF COURSE.

18                         I WOULD JUST, IN CONCLUSION, SAY THAT THE

19       GREAT MAJORITY OF OUR RECORD IS UNDISPUTED.

20                         THIS IS A REGIME THAT IS UNFAIR TO

21       PENNSYLVANIA VOTERS.      IT REALLY SUBVERTS OUR DEMOCRACY

22       AND I WOULD RESPECTFULLY REQUEST THAT YOU GRANT THE

23       PRELIMINARY INJUNCTION.        THANK YOU, YOUR HONOR.

24                         THE COURT:     THANK YOU, MR. MAAZEL.

25                         MR. JOEL:     FIVE MINUTES.
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 1                         THE COURT:    ALL RIGHT.

 2                         MR. JOEL:    MIGHT EVEN TAKE LESS.

 3                         THE COURT:    WHAT IS THE COMMONWEALTH'S

 4       POSITION AS TO HOW LONG JUST THE HAND RECOUNT WOULD

 5       TAKE?

 6                         MR. JOEL:    DEPENDS ON THE NUMBER OF

 7       PRECINCTS AND I MEAN --

 8                         MS. UNGER:    OUR WITNESS WHO CAN TESTIFY

 9       TO THAT IS OUTSIDE.      WE CAN GET THE ANSWER WITHIN A

10       MINUTE.

11                         THE COURT:    I GUESS WHAT I'M ASKING IS,

12       CAN ANY RELIEF BE AFFORDED THAT IS BEING REQUESTED HERE

13       WITHOUT BUTTING UP AGAINST THE DECEMBER 13TH DATE?

14                         MR. JOEL:    IT'S OUR POSITION, IT REALLY

15       CAN'T.

16                         THE COURT:    THAT ANSWERS MY QUESTION.

17                         MR. JOEL:    I THINK THE ONLY -- I JUST

18       WANT TO MAKE A FEW VERY QUICK POINTS.          ONE, TO HIGHLIGHT

19       THE FACT THAT WHEN DR. HALDERMAN WAS ON THE STAND, HE

20       CONCEDED HACKING PROBABLY NOT.

21                         THE COURT:    IS YOUR EXPERT STILL HERE?

22                         MR. JOEL:    YES.

23                         THE COURT:    THERE HE IS.

24                         I WOULD LIKE TO HEAR -- UNLESS THE

25       PARTIES HAVE AN OBJECTION, I WOULD LIKE TO HEAR FROM
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 1       BOTH EXPERTS ON THE LENGTH OF TIME THAT WOULD BE

 2       NECESSARY TO GRANT VARIOUS FORMS OF RELIEF AND -- WHY

 3       DON'T WE TAKE A SHORT BREAK SO THE PARTIES CAN TALK TO

 4       THEIR WITNESSES BEFORE THEY CALL THEM, WHICH IS USUALLY

 5       A GOOD IDEA.

 6                         THE CLERK:    ALL RISE.

 7                         (BREAK TAKEN.)

 8                         THE CLERK:    ALL RISE.

 9                         THE COURT:    PLEASE BE SEATED.     I WOULD

10       LIKE TO HEAR FROM DR. HALDERMAN FIRST.         THERE IS NO NEED

11       TO SEQUESTER THE WITNESSES FOR THIS TESTIMONY.

12       DR. HALDERMAN, PLEASE TAKE THE STAND.

13                         MR. CELLI:    DID YOU WANT TO QUESTION?

14                         THE COURT:    I WILL QUESTION.

15       BY THE COURT:

16       Q.        PLEASE, YOU ARE STILL UNDER OATH, DOCTOR.

17       A.        YES, YOUR HONOR.

18                         THE COURT:    MR. MAAZEL, THE LEAST FORM OF

19       RELIEF YOU WANT IS A MANUAL RECOUNT OF WHAT?

20                         MR. MAAZEL:    A MANUAL RECOUNT OF ONE

21       PRECINCT PER OPTICAL SCAN COUNTY EXCEPT FOR CHESTER,

22       WHERE THEY ARE ALREADY DOING RECOUNTING.

23                         THE COURT:    SO HOW MANY HAND RECOUNTS

24       WOULD THAT BE?     HOW MANY OPTICAL SCAN COUNTIES ARE

25       THERE?
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 1                         MR. TABAS:    17.

 2       BY THE COURT:

 3       Q.        HOW LONG DO YOU THINK THAT WOULD TAKE, DOCTOR?

 4                         IS THAT WITHIN YOUR AREA OF EXPERTISE, A

 5       HAND RECOUNT OF OPTICAL SCAN COUNTIES?         IT DOES NOT

 6       SOUND LIKE IT.

 7       A.        NO, I DON'T KNOW.

 8       Q.        SO YOU DON'T KNOW?

 9       A.        NO, I DON'T KNOW.

10                         THE COURT:    THE OTHER FORM OF RELIEF YOU

11       ARE LOOKING FOR IS?

12                         MR. MAAZEL:    IS A FORENSIC EXAMINATION OF

13       THE CENTRAL COMPUTER SYSTEMS OF SIX COUNTIES.

14                         THE COURT:    ANY SIX IN PARTICULAR?

15                         MR. MAAZEL:    WELL, THE IDEA WAS -- I DO

16       HAVE A LIST HERE.

17                         IT WAS SIX COUNTIES, EACH REPRESENTING

18       THE SIX TYPE OF DRE MACHINES AND THE IDEA WAS TO PICK

19       THE BIGGEST COUNTY THAT USES THAT MACHINE.

20                         THE COURT:    WITH THAT UNFORTUNATELY VERY

21       VAGUE GUIDELINE, DOCTOR.

22                         MR. MAAZEL:    I DO HAVE THE LIST HERE, I

23       APOLOGIZE.

24       BY THE COURT:

25       Q.        DO YOU KNOW ONE PENNSYLVANIA COUNTY FROM
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 1       ANOTHER?

 2       A.         YES, I WAS BORN IN BUCKS COUNTY.

 3       Q.         CONGRATULATIONS.     GO AHEAD.

 4                         THE COURT:     PLEASE GIVE THE NAMES OF THE

 5       COUNTIES.

 6                         MR. MAAZEL:     THEY ARE PHILADELPHIA,

 7       ALLEGHENY, MONTGOMERY, LANCASTER, YORK AND WASHINGTON.

 8                         THE COURT:     AND YOU WANT TO DO WHAT?

 9                         MR. MAAZEL:     A FORENSIC EXAMINATION OF

10       THE CENTRAL COMPUTER SYSTEM IN EACH OF THOSE SIX.

11       BY THE COURT:

12       Q.         HOW LONG DO YOU THINK THAT WILL TAKE?

13       A.         WE ARE PREPARED TO START IMMEDIATELY OR IN THE

14       MORNING ANYWAY WITH SIX DIFFERENT TEAMS TO DO THAT.           I

15       BELIEVE THAT WE COULD COMPLETE BY MONDAY MORNING A

16       FORENSIC EXAMINATION THAT WOULD HAVE A SUBSTANTIAL

17       PROBABILITY OF REVEALING ANY ELECTION --

18       Q.         SO IF YOU BEGAN AT 11 O'CLOCK ON MONDAY, WHEN DO

19       YOU THINK YOU WOULD BE DONE --

20       A.         11 O'CLOCK ON MONDAY.     I THINK IF WE DIDN'T

21       SLEEP, IT WOULD -- WE COULD FINISH SOMETIME LATE ON

22       TUESDAY, BUT WE ARE PREPARED TO START EARLIER THAN THAT,

23       OF COURSE.

24                         THE COURT:     OKAY.   THANK YOU, DOCTOR.

25                         MR. JOEL:     DR. SHAMOS.
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 1                          THE COURT:     DR. SHAMOS.   YOU ARE STILL

 2       UNDER OATH.

 3                          THE WITNESS:     YES, YOUR HONOR.

 4       BY THE COURT:

 5       Q.        DO YOU FEEL COMPETENT TO OFFER AN EXPERT OPINION

 6       ON HOW LONG IT WOULD TAKE TO DO THE HAND RECOUNT OF ONE

 7       PRECINCT IN ALL 17 COUNTIES WHERE THEY IS ARE STILL

 8       MANUAL VOTING?

 9       A.        YES.    I PARTICIPATED IN HAND RECOUNT IN TEXAS.

10       Q.        HOW LONG DO YOU THINK THAT RECOUNT WOULD TAKE?

11       A.        OKAY.   SO DOING A HAND RECOUNT, THERE ARE TWO

12       PHASES.

13                          FIRST, THE RECRUITING OF THE PEOPLE WHO

14       ARE GOING TO BE DOING THE RECOUNT AND THEIR TRAINING,

15       TELLING THEM WHAT TO DO.

16                          AND THEN THERE IS THE PROCESS OF ACTUALLY

17       DOING IT, WHICH DEPENDS, OF COURSE, ON THE TOTAL NUMBER

18       OF BALLOTS THAT WERE CAST AND THE TOTAL NUMBER OF PEOPLE

19       THAT ARE AVAILABLE TO DO SUCH A RECOUNT.

20                          OF COURSE, THE PROBLEM WITH SUCH RECOUNTS

21       IS NO MATTER HOW MANY TIMES YOU DO THEM, YOU NEVER GET

22       THE SAME ANSWER TWICE.

23                          THE COURT:     CAN SOMEONE NAME THE 17

24       COUNTIES?

25                          CAN WE HAVE ANY AGREEMENT AMONG AND
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                                                                        125

 1       BETWEEN COUNSEL AS TO THE NUMBER OF BALLOTS THAT WOULD

 2       HAVE TO BE RECOUNTED BY HAND?

 3                         MR. CELLI:    I CAN.    I CAN NAME --

 4                         THE COURT:    I'M NOT SURE THAT OUR

 5       STENOGRAPHER CAN HEAR ANYTHING YOU ARE SAYING.

 6                         MR. CELLI:    EXHIBIT 1 TO THE

 7       DEFENDANTS' --

 8                         THE COURT:    ONCE MORE WITH FEELING,

 9       PLEASE.

10                         MR. CELLI:    EXHIBIT 1 TO THE DEFENDANTS'

11       PAPERS IS A MAP OF THE COMMONWEALTH WHICH SHOWS ALL OF

12       THE COUNTIES.

13                         THE COURT:    YES.

14                         MR. CELLI:    IT SAYS THAT THERE ARE 13

15       OPTICAL SCAN COUNTIES.

16                         THE COURT:    MR. TABAS SAYS 17.

17                         MR. TABAS:    I THOUGHT IT WAS 17.       I SAID

18       THAT BASED ON WHAT MR. MARKS HAD TOLD -- THE

19       COMMISSIONER HAD TOLD ME.

20                         THE COURT:    ARE WE DEALING WITH TENS OF

21       THOUSANDS OF VOTES?

22                         MR. CELLI:    NO.    ONE PRECINCT PER.     WE

23       ARE ACTUALLY IN AGREEMENT BECAUSE THERE ARE SOME

24       COUNTIES ACCORDING TO THE MAP THAT THE DEFENDANTS PUT IN

25       THAT HAVE BOTH DRE AND OPTICAL SCAN.
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 1                         THE COURT:     I JUST WANT TO KNOW HOW MANY

 2       BALLOTS WOULD HAVE TO BE RECOUNTED.

 3                         MR. HARVEY SAYS NO MORE THAN 1500.

 4                         MR. HARVEY:     TO DO ONE PRECINCT IN EACH

 5       COUNTY, YOUR HONOR, WOULD REQUIRE COUNTING NO MORE THAN

 6       1500 PAPER BALLOTS IN EACH COUNTY.

 7                         THE COURT:     WE ARE NOT TALKING ABOUT MORE

 8       THAN 20,000 BALLOTS AT MOST, ALL TOGETHER.

 9                         MR. HARVEY:     THEY ARE ALL TO BE COUNTED

10       IN DIFFERENT PLACES AND IN MY EXPERIENCE --

11                         THE COURT:     I'M SORRY, MR. HARVEY.    YOU

12       ARE NOT AN EXPERT.

13                         MR. HARVEY:     ALL RIGHT.

14       BY THE COURT:

15       Q.        DOCTOR...

16       A.        YOUR HONOR.

17       Q.        COUNTING BETWEEN 15 AND 20,000 BALLOTS IN

18       BETWEEN 13 TO 17 COUNTIES WHICH WE DON'T HAVE AGREEMENT,

19       HOW LONG WOULD THAT TAKE, HAND COUNT?

20       A.        THE WAY I'M LOOKING AT IT IS THAT IF YOU HAD

21       SEPARATE TEAMS IN EACH ONE OF THE COUNTIES THEY WOULD BE

22       WORKING SIMULTANEOUSLY.        IF YOU ARE JUST LOOKING AT THE

23       TOTAL CHRONOLOGICAL TIME I THINK YOU COULD PROBABLY

24       COUNT 1500 BALLOTS BY HAND IN A DAY, A LONG DAY.

25       Q.        A LONG DAY.
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 1                         SO IF THEY WERE PREPARED TO GET STARTED

 2       ON MONDAY MORNING --

 3                         THE COURT:    MR. MAAZEL, DO YOU HAVE 17

 4       TEAMS OF PEOPLE WHO HAVE BEEN TRAINED IN HAND COUNTING

 5       BALLOTS THAT ARE PREPARED TO GET STARTED FIRST THING

 6       MONDAY?

 7                         MR. MAAZEL:    I BELIEVE, YOUR HONOR,

 8       USUALLY IT IS THE COUNTY BOARD THAT ORGANIZES THOSE.

 9                         THE COURT:    SO WE DON'T HAVE ANYTHING

10       BECAUSE THE COUNTY BOARD --

11       BY THE COURT:

12       Q.        SO FIRST, THE COUNTY BOARD WOULD HAVE TO

13       ORGANIZE IT AND ONCE IT DID ORGANIZE IT AND THE COUNTING

14       STARTED, IT WOULD TAKE A FULL DAY?

15       A.        YES, YOUR HONOR.

16       Q.        IN YOUR EXPERIENCE, HOW LONG DOES IT TAKE IN

17       PENNSYLVANIA FOR THE COUNTY BOARDS TO SELECT PEOPLE TO

18       DO A HAND RECOUNT?

19       A.        I DON'T HAVE BACKGROUND IN THAT.

20                         THE COURT:    OKAY.   NOW, REMIND ME AGAIN,

21       MR. MAAZEL, THE FORENSIC AUDIT YOU WANT IS WHAT?

22                         MR. MAAZEL:    IT IS A FORENSIC AUDIT OF

23       THE CENTRAL ELECTION MANAGEMENT SYSTEM OF THESE

24       COUNTIES.    IT'S BASICALLY COPYING A HARD DRIVE.

25                         THE COURT:    OF HOW MANY COUNTIES?
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                                                                        128

 1                         MR. MAAZEL:     SIX.

 2                         THE COURT:     SIX COUNTIES.     AND YOU NAMED

 3       THE SIX INCLUDING PHILADELPHIA?

 4                         THE WITNESS:     YES, SIMULTANEOUSLY.

 5       BY THE COURT:

 6       Q.        HOW LONG WOULD SUCH A FORENSIC AUDIT TAKE IN

 7       YOUR EXPERT OPINION, DOCTOR?

 8       A.        WELL, I DON'T AGREE THAT THAT IS THE FORENSIC

 9       AUDIT.   THAT IS THE NECESSARY PREPARATION TO DO A

10       FORENSIC AUDIT, WHICH IS, YOU CAN'T TAKE THE VOTING

11       MACHINE ITSELF BECAUSE ONCE IT HAS BEEN OUT OF THE

12       CUSTODY OF THE COUNTY IT IS NOT SAFE FOR USE IN AN

13       ELECTION ANYMORE.     SO WHAT YOU DO IS YOU MAKE A COPY OF

14       THE HARD DRIVE THAT IS ON THE MACHINE.           THEN THAT HARD

15       DRIVE HAS TO BE SUBJECTED TO A FORENSIC EXAMINATION, AND

16       I DON'T KNOW WHAT THEY ARE ACTUALLY LOOKING FOR.           IF

17       THEY ARE LOOKING FOR THE PRESENCE OF CERTAIN MALWARE --

18       Q.        THEY ARE LOOKING FOR BAD ACTS, MISCONDUCT,

19       TAMPERING, HACKING.

20       A.        IT'S DIFFICULT FOR ME TO IMAGINE HOW THERE COULD

21       BE A FORENSIC EXAMINATION THAT WOULD REVEAL, FOR

22       EXAMPLE, THE VERY SCENARIO THAT THEY POSIT, WHICH IS

23       THIS MALWARE WHICH ERASES ITSELF AFTER IT HAS DONE ITS

24       BAD WORK.    THAT WOULD NOT BE REVEALED IN SUCH A FORENSIC

25       AUDIT.
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                                                                        129

 1       Q.         SO YOU ARE SAYING NO AMOUNT OF TIME?

 2       A.         NOT FOR THAT SCENARIO.

 3       Q.         WHAT SCENARIO?

 4       A.         THE SCENARIO --

 5       Q.         WHAT SCENARIO -- WHAT KIND OF AUDIT COULD BE

 6       CONDUCTED IN LESS THAN A DAY?       WHAT KIND OF FORENSIC

 7       AUDIT COULD BE CONDUCTED IN LESS THAN A DAY?

 8       A.         THE ONLY THING THAT I COULD SEE BEING DONE IN

 9       LESS THAN A DAY WOULD BE A BITWISE COMPARISON.          BIT FOR

10       BIT OF --

11       Q.         OF THE AMOUNT OF INFORMATION?

12       A.         -- OF WHAT THE SOFTWARE ON THE MACHINE SHOULD BE

13       VERSUS WHAT IT ACTUALLY IS.

14       Q.         THAT IS IT?

15       A.         BUT THE PROBLEM IS, THAT IS A PARTICULAR

16       PROGRAM.     THAT DOES NOT COUNT EVERYTHING GOING ON IN THE

17       OPERATING SYSTEM, ET CETERA, SO I'M NOT SURE WHAT WOULD

18       BE REVEALED BY SUCH A QUICK AUDIT.

19                         THE COURT:    OKAY.   THANK YOU, DOCTOR.

20       MR. JOEL, YOU HAVE FIVE MINUTES LEFT IF YOU CARE TO

21       SPEAK.

22                         MR. JOEL:    I'LL ACCEDE IT, YOUR HONOR.

23       THANK YOU.

24                         THE COURT:    I HAVE ORDERED THAT NO

25       ADDITIONAL PAPERS BE FILED BECAUSE THE LAST ONE OF THESE
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                                                                        130

 1       I HAD WHICH WAS A MONTH AGO PEOPLE WERE FILING THINGS UP

 2       UNTIL 1:30 IN THE MORNING THAT I HAD TO RULE.          AND SO IF

 3       YOU FEEL YOU HAVE TO FILE SOMETHING, I BELIEVE MY CLERK

 4       HAS MADE IT EASY FOR YOU TO CONTACT HIM, BEN, AND PLEASE

 5       CALL BEN, HE KNOWS HOW TO GET HOLD OF ME.          IF THERE IS

 6       SOMETHING YOU REALLY FEEL -- I REALLY WOULD LIKE TO GET

 7       THIS DONE BY MONDAY MORNING, WHICH IS GOING TO BE HARD

 8       IF YOU FILE NEW ARGUMENTS AND SO FORTH.         BUT IF YOU

 9       FEEL -- IF YOU FEEL YOU REALLY HAVE TO DO IT, PLEASE

10       CALL MY CLERK AND I WILL GIVE YOU A VERY, VERY PROMPT

11       RULING.

12                          ANYTHING FURTHER?

13                          MR. JOEL:     NO, YOUR HONOR, NOT FROM THE

14       COMMONWEALTH.

15                          MR. TABAS:    NO, YOUR HONOR.

16                          MR. MAAZEL:     NOT FROM THE PLAINTIFFS.

17       THANK YOU VERY MUCH, YOUR HONOR.

18                          THE COURT:    MY THANKS TO ALL COUNSEL.       I

19       KNOW JUST HOW HARD YOU HAVE ALL BEEN WORKING.          I HOPE

20       YOUR CLIENTS APPRECIATE ALL YOUR HARD WORK AS MUCH AS I

21       DO.   THANK YOU.

22                          THE CLERK:    ALL RISE.

23                          (COURT ADJOURNED 4:10 P.M.)

24

25
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                                                                        131

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 2

 3

 4

 5                   I CERTIFY THAT THE FOREGOING IS A CORRECT

 6       TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

 7       ABOVE-ENTITLED MATTER.

 8

 9       DATE                         OFFICIAL COURT REPORTER

10                                    SUZANNE R. WHITE

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                                                                        132

 1                           I   N   D    E    X

 2       WITNESS                         DIRECT    CROSS   REDIRECT   RECROSS

 3       J. ALEXANDER HALDERMAN

 4          BY MR. CELLI                  12         --         27      --

 5          BY MR. JOEL                  --         23          --     --

 6          BY MR. TABAS                 --         26          --     --

 7

 8       MICHAEL SHAMOS

 9          BY MR. JOEL                  43         --          --     --

10          BY MS. FRICK                 --         66          --     --

11

12       EXHIBITS MARKED                                   PAGE

13       D 6                                               65

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                       EXHIBIT 3
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                            Accessible, Reliable, Verifiable Technology

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                                  A Consensus Study Report of




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           40                                                                  SECURING THE VOTE




           FIGURE 3-4 Voting systems across the United States.
           SOURCE: Desilver, Drew, “On Election Day, Most Voters Use Electronic or Optical-
           Scan Ballots,” Pew Research Center, November 8, 2016. Pew Research Center cre-
           ated the figure using data from the Verified Voting Foundation.




                                            BOX 3-1
                         Overview of Vote Casting and Tabulation Methods

                Systems in Use in Federal Elections

                Hand-Marked “Optical” Scan Paper Ballot Systems. Voters mark paper ­ballots
                that are subsequently recorded electronically by scanning devices. On most
                scanned ballots, voters indicate their selections by filling in an oval or completing
                an arrow. Ballots may either be scanned on precinct-based optical scan systems
                in a polling place (precinct count) or collected in a ballot box to be scanned at a
                central location (central count). The original generation of optical ballot scanners
                used one row of optical sensors, one sensor per ballot column, to detect the
                ­voters’ marks. Newer ballot scanners, sometimes referred to as “digital scanners,”
                 store an electronic image of each ballot [a “cast vote record” (CVR)], which can be
                 used later if auditing of the election process is required.a The original generation




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           VOTING IN THE UNITED STATES                                                                41



                                             BOX 3-1 Continued

                of ballot scanners used infrared sensors to detect ballot marks, giving rise to the
                generic term “optical scanner.” Optical scanners are still used even though newer
                image-processing technologies are available.

                Direct Recording Electronic (DRE) Systems. Voters use an electronic interface
                to record their votes directly into a computer’s memory (e.g., onto a memory car­
                tridge or memory card). That computer counts the vote. A keyboard is typically
                provided to allow entry of write-in votes, though older models have a paper roll
                behind a small opening where voters record write-in votes using a pen.
                    The first generation of DREs used a push-button interface, while later systems
                use a touchscreen interface or a dial interface.b
                    Some DREs are equipped with a voter-verifiable paper audit trail (VVPAT) fea­
                ture that prints the voter’s selections on paper and allows voters to confirm their
                selections by inspecting this paper before their votes are cast. The paper record
                is preserved and, depending on state election codes, may serve as the ballot of
                record in the event of an audit or recount.

                Machine-Marked Paper Ballot Systems. A growing number of jurisdictions are
                using electronic “ballot-marking devices” (BMDs), which use electronic devices to
                mark paper ballots according to voters’ instructions. The paper ballots are usually
                counted by optical scanners.

                Hand Counted Paper Ballots. A small number of jurisdictions continue to manu­
                ally count paper ballots cast in polling places.

                Systems No Longer In Use In Federal Elections

                Punch Card Voting Systems. Those systems employed a card (or cards) and
                a small clipboard-sized device for recording votes. Voters marked their choice
                by punching holes in the cards with a punch device. After voting, the voter either
                placed the ballot in a ballot box for later tabulation or the ballot was fed into a
                vote-tabulating device at the precinct. No jurisdictions used punch card voting
                systems in federal elections in 2016.

                Mechanical Lever Voting Machines. First introduced in the 1890s, mechanical
                lever machines were used in many states during the 20th century. Voters would
                make choices by flipping levers and their selections were tabulated on machine
                counters similar to automobile odometers. As recently as 1996, mechanical lever
                machines were used by 20.7 percent of registered voters in the United States.
                Since 2010, no mechanical lever voting machines have been used in federal
                elections.


                  a Some scanners also store a digital photograph of the ballot.
                  b See Jones, Douglas W. and Barbara Simons, Broken Ballots: Will Your Vote Count?
                (Stanford: Center for Language and Information, 2012), pp. 91-101.




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                                                 BOX 3-2
                                      The Role of Paper in Elections

                     Until the widespread adoption of mechanical lever machines in the mid-20th
                century, hand-marked paper had been the most common medium upon which a
                voter cast a ballot. The cast paper ballot provided a physical record that could be
                examined in instances where a recount or other reconciliatory action was required.
                With the advent of mechanical lever machines, no record of a ­voter’s choices was
                permanently stored, either on paper or mechanically—the only ­effect of casting a
                vote was to increment mechanical counters that accumulated the choices made
                by voters on a particular machine. Mechanical lever machines were popular where
                they were used. However, these machines were prone to breakdowns that could
                go undetected until balloting had ended.
                     Before the passage of the Help America Vote Act (HAVA), it was common for
                jurisdictions with lever machines to adopt electronic systems when they consid­
                ered upgrading their voting systems. HAVA provided an impetus for jurisdictions
                that had previously used lever machines to adopt Direct Recording Electronic
                systems (DREs), either to provide accessible options for those with disabilities, or
                to replace paper-based systems altogether. The rapid growth in the prominence of
                DREs brought greater voice to concerns about their use, particularly their vulner­
                ability to software malfunctions and external security risks. And as with the lever
                machines that preceded them, without a paper record, it is not possible to conduct
                a convincing audit of the results of an election.
                     Many electronic voting systems utilize paper as part of their operation. As
                discussed in Box 3-1, voters may mark paper ballots that are subsequently
                ­recorded electronically by scanning devices. Alternatively, ballot-marking devices
                 may be used to mark paper ballots according to voters’ instructions. In the case
                 of DREs, there is no physical (i.e., paper) ballot. Instead, the ballot exists only in
                 electronic form.
                     Problems arise when a voter does not actually verify his or her ballot, espe­
                 cially when the ballot is being tabulated by a computer that has a software flaw or
                 is infected with malware (see Chapter 5). A ballot that is “voter marked” is by defi­
                 nition voter verified. Voters can verify that the selections on hand-marked ballots
                 or on paper ballots produced by BMDs reflect their intended choices before their
                 votes are tabulated. With DREs, voters may similarly verify their selections using
                 a voter-verifiable paper audit trail (VVPAT) (see Box 3-1)—provided that the DRE
                 is equipped with this feature. The information on a VVPAT may accurately present
                 a voter’s selections, but VVPATs exist independently of the record maintained in
                 the DRE’s computer memory. In most cases it is the electronic record, and not
                 the VVPAT, that is used for vote tabulation.a

                Paper Ballots Defined

                    Because records of ballots may take many forms, it is important to clearly
                define what is meant by “paper ballot.” For the purposes of this report, references
                to paper ballots refer to original records that are produced by hand or a ballot-
                marking device, which are human-readable in a manner that is easily accessible
                for inspection and review by the voter without any computer intermediary (i.e.,




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                voter-verifiable), countable by machine (such as a scanner) or by hand, and which
                may be recounted or audited by manual examination of the human-readable por­
                tion of the ballot.
                    A paper ballot–based voting system makes the paper ballot the official “­ballot
                of record” of the voter’s expressed intentions. Other representations (e.g., an
                electronic representation produced by a scanner) are derivative and are not voter-
                verifiable. The human-readable portion of the cast paper ballot provides the basis
                for audits and recounts.

                The Challenges of Paper Ballots

                    The use of hand-marked paper ballots can introduce voting errors. Voters may
                inadvertently make stray marks that can be misread by optical scanners. Voters
                using hand-marked paper ballots may accidentally skip a race or vote for multiple
                candidates in a race and thereby invalidate their vote for that particular race.b
                Counting paper ballots can be tedious, leading to vote-count errors.c
                    Paper ballots are not immune to fraud. Fraud may occur through ballot theft,
                destruction, or substitution, by ballot-box stuffing, or by the addition of marks to
                ballots after a voter finishes voting.d
                    Paper ballots can present logistical challenges when used in vote centers
                and in early voting, especially in densely populated, metropolitan areas. In vote
                centers and in early voting, every jurisdiction-specific ballot “style” that might con­
                ceivably be requested by a voter in a jurisdiction must be available at every voting
                site. In smaller jurisdictions, this functional requirement can be satisfied by having
                a physical inventory of every ballot style that might be requested at a site, through
                what is known as a “pick-and-pull” system. In larger jurisdictions that might have
                hundreds of ballot styles, maintaining a complete, secure inventory of ballot
                styles in every voting location may be logistically impossible or cost-prohibitive.
                One solution to this problem is a “ballot-on-demand” system, where appropriate
                ballots are printed on the spot for every voter. However, certain ballot-on-demand
                systems are costly and can put significant strain on the electrical systems of build­
                ings hosting these systems.e
                    Electronic voting systems introduce challenges in and of themselves. Such
                systems are, for example, more costly than systems that use paper exclusively.
                Technical support for such systems is often necessary and adds to their cost
                over time. Such systems may also be more prone to breakdowns, are subject
                to technological obsolescence, and as is discussed in Chapter 5, vulnerable to
                cyberattacks and other threats. Furthermore, electronic systems must be stored
                in secure locations when not in use.

                    a As noted in Box 3-1, in some states, when a VVPAT is produced by a DRE, the VVPAT

                may be used as the ballot of record for election contests and recounts.
                    Research suggests that DRE VVPATs tend not to be voter verified. This suggests that
                VVPATs may be of little value as a check on the accuracy of DREs. See, e.g., Everett, S. P.,
                “The Usability of Electronic Voting Machines and How Votes Can Be Changed Without
                ­Detection,” doctoral dissertation, Rice University, Houston, Texas and Campbell, Bryan A.
                 and Michael D. Byrne, “Now Do Voters Notice Review Screen Anomalies? A Look at Voting
                 ­System ­Usability,” Proceedings of EVT/WOTE, 2009.

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                                                  BOX 3-2 Continued

                   Research on the rate of voter verification of BMD ballots relative to the rate of verification
                of VVPATs or voter-marked paper ballots has been limited.
                   b Voters may also accidentally skip races when using DREs (see Chapter 4).
                   c For a discussion of the inherent weaknesses in human vote counting, see Goggin,

                ­Stephen N., Michael D. Byrne, and Juan E. Gilbert, “Post-election Auditing: Effects of Pro­
                 cedure and Ballot Type on Manual Counting Accuracy, Efficiency, and Auditor Satisfaction
                 and Confidence,” Election Law Journal: Rules, Politics, and Policy, 2012, Vol. 11, No. 1, pp.
                 36-51. A recount or audit can make use of limited software (e.g., spreadsheets) to assist in
                 the counting.
                   Dr. Gilbert is a member of the committee that authored the current report.
                   d Such fraud provided motivation for the adoption of mechanical lever voting machines in

                 the late 19th century.
                   e Power usage is determined by the type of printer required to produce the desired ballot.

                 In instances where a printer must create an entire blank ballot certified to meet particular
                 specifications using paper of a specific quality, be digitally readable, and be assigned a unique
                 serial number, the necessary printer may draw significantly more power than is typical for
                 printers used to print only voter selections on archival thermal paper.




           TABLE 3-1 Types of Voting Systems Used in the United States in 2016
           Voting System                                         Percent of U.S. Counties Using System
           Hand Counted Paper Ballot                              1.54%
           Optical Scan                                          62.78%
           Electronic (DRE or BMD)                               32.85%
           Mixed                                                  2.69%

           SOURCE: Brace, Kimball, President, Election Data Services, Inc., “The Election Process from a
           Data Perspective,” presentation to the Presidential Advisory Commission on Election Integrity,
           September 12, 2017, Manchester, NH, available at: https://www.electiondataservices.com/
           wp-content/uploads/2017/09/BracePresentation2PenseCommAmended.pdf.


           ally counted or voted with a mixture of systems (see Table 3-1). In many
           instances, marked ballots are submitted by mail and tabulated at a central
           location.
                HAVA requires that each polling place used in a federal election

                be accessible for individuals with disabilities, including nonvisual acces-
                sibility for the blind and visually impaired, in a manner that provides
                the same opportunity for access and participation (including privacy and
                independence) 29 as for other voters . . . through the use of at least one

             29 Participation also includes the ability to cause one’s own ballot selections to be recorded,

           verifying that one’s ballot selections are correctly recorded, and the casting of one’s self-verified
           ballot.




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     CITY COMMISSIONERS OFFICE
Lisa M. Deeley, Chairwoman
Anthony Clark, Commissioner
Al Schmidt, Vice Chair

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   Philadelphia City Commissioners Approve New Voter-Verifiable Paper Ballot Voting
                          System and New Electronic Poll Books
             Philadelphia meets Governor’s deadline and secures future elections

Philadelphia, PA – This morning at their regularly scheduled meeting the Philadelphia City
Commissioners voted to approve a new voter-verifiable paper ballot voting system to be
implemented in the November 2019 General Election. In April of 2018, the Department of State,
in conjunction with Governor Wolf, informed all 67 of Pennsylvania’s counties that they must
have a voter-verifiable paper record voting system selected no later than December 31, 2019, and
preferably in place for use in the November 2019 General Election. With their selection, this
morning, of the Election Systems & Software, LLC ExpressVote XL the City of Philadelphia has
met the Governor’s selection deadline.

“Today is a momentous day,” said City Commissioner Chair Lisa Deeley. “Today, we voted to
give the City’s voters a secure and resilient system with an auditable voter-verifiable paper-
ballot. We look forward to the next steps which are educating our poll workers and voters. I hope
everyone will come out to our public trainings.” Vice Chair, Commissioner Al Schmidt echoed
her comments saying that “It's critically important that we make voting easier and equally
accessible for all Philadelphians while also considering the need for a secure, resilient voting
system. Every voter in Philadelphia should be confident that their ballots are cast securely, and
their votes are counted accurately, and our new, auditable paper ballot system will help ensure
that.”

The ExpressVote XL is certified by both the federal Election Assistance Commission and the
Pennsylvania Department of State. All systems certified by the Department of State meet the
requirements of the security experts at the University of Pittsburgh and The Blue Ribbon
Commission On Pennsylvania’s Election Security. The ExpressVote XL will also produce a
paper ballot with human readable text, that can be verified by a voter before they cast their vote,
can be counted in the event of a recount, and can be audited as per the new risk limiting audit
procedures being developed by the state.
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In her remarks before the vote, Commissioner Deeley applauded activists who supported hand-
marked paper ballots for their passion and their feedback, which contributed to the process.
However, the Commissioners choose to stick with an all machine method of voting because of
voters’ preference for the current style of voting on full-faced machines, the short timeline to
retrain poll workers and voters, and the concerns of disability advocates that implementing hand-
marked paper ballots would treat voters with disabilities unequally by requiring them to use a
separate voting system.

The Commissioners also voted to select KNOWiNK, LLC as the vendor for the new electronic
poll books. This modernization of the check-in process will replace the old paper poll books,
speed up check-in time, and allow Philadelphia to adapt to any proposed changes in election law.
The electronic poll books will be implemented in the November 2019 General Election along
with the new voting system. The Commissioners will begin training the poll workers this
summer and begin public demonstrations of the new systems as soon as possible.


The Philadelphia City Commissioners are a three-member bipartisan board of elected officials
in charge of elections and voter registration for the City of Philadelphia. The three
Commissioners are Chairwoman Lisa Deeley (D), Anthony Clark (D), and Vice Chair Al
Schmidt (R).

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